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                      EXHIBIT 1
         (MCSO’s Thirty-Fifth Quarterly Compliance Report)
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               Maricopa County Sheriff’s Office
                     Paul Penzone, Sheriff




         COURT IMPLEMENTATION DIVISION



         Thirty-Fifth Quarterly Compliance
                       Report




        COVERING THE FOURTH QUARTER OF 2022
            October 1, 2022 – December 31, 2022
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Section 1: Introduction

This is the 35th Quarterly Report (Report) covering October 1, 2022 through December 31, 2022. It
reports on the Maricopa County Sheriff’s Office’s (MCSO or Office) compliance with the Hon. G.
Murray Snow’s October 2, 2013 Supplemental Permanent Injunction/Judgment Order (Doc. 606), as
amended (First Order), the Second Supplemental Permanent Injunction/Judgment Order (Doc. 1765),
as amended (Second Order), and the Third Supplemental Permanent Injunction/Judgement, as amended
(Third Order) (collectively, the Court’s Orders). MCSO submits this Report to comply with Paragraph
11 of the Court’s First Order.

The purpose of this Report is to describe and document the steps MCSO has taken to implement the
Court’s Orders, describe and document MCSO’s plans to correct any issues moving forward, and
provide responses to concerns raised in the Monitor’s 34th Quarterly Report covering the third quarter
of 2022 (July 1, 2022 – September 30, 2022) and filed with the Court on February 27, 2023. (Monitor’s
34th Quarterly Report).

MCSO has created many procedures and divisions to implement the Court’s Orders and achieve Full
and Effective Compliance. Specific accomplishments for this reporting period have contributed to
MCSO’s current and future progress.

This Report documents, by Paragraph, MCSO’s compliance with the First and Second Orders. The
Report identifies each Paragraph for which MCSO is “in compliance” for both Phase 1 and Phase 2, as
well as each Paragraph for which MCSO remains in Full and Effective Compliance. Paragraphs that
are rated as “not in compliance” or “deferred” are also listed along with information about MCSO’s
efforts to come into compliance. Finally, this Report identifies the Paragraphs for which MCSO asserts
Full and Effective Compliance this quarter.




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Section 2: Compliance Summary

This Report from MCSO includes compliance ratings from the First and Second Orders issued by the
Hon. G. Murray Snow. The Monitor rates MCSO compliance in two phases. Phase 1 compliance
assessment entails a consideration of “whether MCSO has developed and approved requisite policies
and procedures, and MCSO personnel have received documented training on their contents.” Twenty-
Seventh Report, Independent Monitor for MCSO, 5/14/21 at 4 (Doc. 2637). Phase 2 compliance is
“generally considered operational implementation” and must comply with the Court’s Orders’
requirements “more than 94% of the time or in more than 94% of the instances under review.” Id.

The Monitor’s 34th Quarterly Report assessed MCSO’s compliance with 99 Paragraphs of the First
Order, and 113 Paragraphs of the Second Order, for a total of 212 Paragraphs. The reporting period
for this Report covers the fourth quarter of 2022 (October 1, 2022, through December 31, 2022). Based
on the Monitor’s 34th Quarterly Report, when the fourth quarter of 2022 began, MCSO’s compliance
rating for the Court’s Orders were:

   •    First Order compliance rating:
            o Phase 1 compliance -- 99% (79 Paragraphs)
            o Phase 2 compliance -- 79% (74 Paragraphs)
   •    Second Order compliance rating:
            o Phase 1 compliance -- 100% (104 Paragraphs)
            o Phase 2 compliance -- 93% (106 Paragraphs)

Factoring the requirements of both of the Court’s Orders, MCSO began the quarter in Phase 1
compliance with 183 Paragraphs, a 99% overall rating, and in Phase 2 compliance with 180 Paragraphs,
an 87% overall rating.

MCSO has achieved Full and Effective Compliance with 148 Paragraphs of the Court’s Orders. This
means that MCSO has been in both Phase 1 and Phase 2 compliance with the requirements of these
Paragraphs for at least three consecutive years.

In this Report, MCSO asserts Full and Effective Compliance with 4 additional Paragraphs of the
Court’s Orders: Paragraphs 19, 66, 240, and 242.

The following table reflects MCSO’s compliance status with respect to each of the Paragraphs of the
Court’s First and Second Orders, along with the Paragraphs for which MCSO is asserting Full and
Effective Compliance.




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                                      MCSO Melendres Court Order Compliance Chart

Paragraph                                                                          Monitor’s 34th Quarterly Report
                                  Requirement
   No.
                                                                            Phase 1                               Phase 2

Section III. MCSO Implementation Unit and Internal Agency-wide Assessment

    9       Form a Court Order Implementation Unit                                    Full and Effective Compliance

   10       Collection and Maintenance of All Data and Records                        Full and Effective Compliance

   11       MCSO Quarterly Report                                                     Full and Effective Compliance

   12       MCSO Annual Internal Assessment - Information                             Full and Effective Compliance

   13       MCSO Annual Internal Assessment - Dates/Compliance                        Full and Effective Compliance

Section IV. Policies and Procedures

            Conduct Comprehensive Review of All Patrol Policies
   19                                                                       MCSO asserts Full and Effective Compliance
            and Procedures

            Create and Disseminate Policy Regarding Biased-Free
   21                                                                                 Full and Effective Compliance
            Policing

   22       Reinforce Discriminatory Policing is Unacceptable           In Compliance                          In Compliance

            Modify Code of Conduct Policy (CP-2): Prohibited Use
   23                                                                                 Full and Effective Compliance
            of County Property

            Ensure Operations are Not Motivated, Initiated, or Based
   24       on Race or Ethnicity                                                      Full and Effective Compliance


   25       Revise Policies to Ensure Bias-Free Traffic Enforcement     In Compliance                             Deferred

            Revise Policies to Ensure Bias-Free Investigatory
   26                                                                                 Full and Effective Compliance
            Detentions and Arrests

   27       Remove LEAR Policy from Policies and Procedures                           Full and Effective Compliance

   28       Revise Policies Regarding Immigration- Related Law                        Full and Effective Compliance

            All Policies and Procedures shall Define Terms Clearly,
   29       Comply with Applicable Law and Order Requirements,                        Full and Effective Compliance
            and Use Professional Standards

            Submit All Policies to Monitor within 90 Days of
   30       Effective Date; and Have Approval by Monitor Prior to                     Full and Effective Compliance
            Implementation

   31       Ensure Personnel Receive, Read, and Understand Policy                     Full and Effective Compliance

            All Personnel shall Report Violations of Policy; and
   32       Employees shall be Held Accountable for Policy              In Compliance                        Not in Compliance
            Violations

            Personnel Who Engage in Discriminatory Policing shall
   33                                                                   In Compliance                        Not in Compliance
            be Subject to Discipline




                                                                                                                                 3
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            On Annual Basis, Review Policy and Document It in
   34                                                                             Full and Effective Compliance
            Writing

Section V. Pre-Planned Operations

            Monitor shall Regularly Review Documents of any
   35       Specialized Units Enforcing Immigration-Related Laws                  Full and Effective Compliance
            to Ensure Accordance with Law and Court Order

            Ensure Significant Ops or Patrols are Race-Neutral in
   36       Fashion; Written Protocol shall be Provided to Monitor in             Full and Effective Compliance
            Advance of any Significant Op or Patrol

            Have Standard Template for Op Plans and Standard
   37       Instructions for Supervisors, Deputies, and Posse                     Full and Effective Compliance
            Members

            Create and Provide Monitor with Approved
   38       Documentation of Significant Op within 10 Days After                  Full and Effective Compliance
            Op

            Hold community outreach meeting within 40 days after
   39       any significant operations or patrol in the affected                  Full and Effective Compliance
            District(s)

            Notify Monitor and Plaintiffs within 24 hrs. of any
   40       Immigration-Related Traffic Enforcement Activity or                   Full and Effective Compliance
            Significant Op Arrest of 5 or more People

Section VI. Training

            Selection and Hiring of Instructors for Supervisor
   42                                                                   In Compliance                    Not in Compliance.
            Specific Training

            Training at Least 60% Live Training, 40% On- line
   43                                                                             Full and Effective Compliance
            Training, and Testing to Ensure Comprehension

            Training Schedule, Keeping Attendance, and Training
   44       Records                                                               Full and Effective Compliance


            Training may Incorporate Role-Playing Scenarios,
   45                                                                             Full and Effective Compliance
            Interactive Exercises, and Lectures

   46       Curriculum, Training Materials, and Proposed Instructors              Full and Effective Compliance

            Regularly Update Training (from Feedback and Changes
   47                                                                             Full and Effective Compliance
            in Law)

            Bias-Free Policing Training Requirements (12 hrs.
   48                                                                             Full and Effective Compliance
            Initially, then 6 hrs. Annually)

            Bias-Free Policing Training Shall Incorporate Current
   49       Developments in Federal and State Law and MCSO                        Full and Effective Compliance
            Policy

            Fourth Amendment Training (6 hrs. Initially, then 4 hrs.
   50                                                                             Full and Effective Compliance
            Annually)

            Fourth Amendment Training Shall Incorporate Current
   51       Developments in Federal and State Laws and MCSO                       Full and Effective Compliance
            Policy




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            Supervisor Responsibilities Training (6 hrs. Initially, then
   52                                                                                  Full and Effective Compliance
            4 hrs. Annually)

   53       Supervisor Responsibilities Training Curriculum                            Full and Effective Compliance

Section VII. Traffic Stop Documentation and Data Collection and Review

   54       Collection of Traffic Stop Data                                 In Compliance                     Not in Compliance

            Assign Unique ID for Each Incident/Stop, So Other
   55                                                                                  Full and Effective Compliance
            Documentation Can Link to Stop

   56       Maintaining Integrity and Accuracy of Traffic Stop Data         In Compliance                       In Compliance

            Ensure Recording of Stop Length Time and Providing
   57                                                                                  Full and Effective Compliance
            Signed Receipt for Each Stop

            Ensure all Databases Containing Individual-Specific Data
   58       Comply with Federal and State Privacy Standards;                           Full and Effective Compliance
            Develop Process to Restrict Database Access

            Providing Monitors and Plaintiffs’ Representative Full
   59                                                                                  Full and Effective Compliance
            Access to Collected Data

   60       Develop System for Electronic Data Entry by Deputies                       Full and Effective Compliance

            Installing Functional Video and Audio Recording
   61       Equipment (Body-Cameras)                                                   Full and Effective Compliance


            Activation and Use of Recording Equipment (Body-
   62                                                                                  Full and Effective Compliance
            Cameras)

            Retaining Traffic Stop Written Data and Camera
   63                                                                                  Full and Effective Compliance
            Recordings

            Protocol for Periodic Analysis of Traffic Stop Data and
   64                                                                      Not in Compliance                  Not in Compliance
            Data Gathered for Significant Ops

   65       Designate Group to Analyze Collected Data                       In Compliance                     Not in Compliance

            Conduct Annual, Agency-Wide Comprehensive Analysis
   66                                                                          MCSO asserts Full and Effective Compliance
            of Data

            Warning Signs or Indicia of Possible Racial Profiling or
   67                                                                       In Compliance                     Not in Compliance
            Other Misconduct

            Criteria for Analysis of Collected Patrol Data (Significant
   68                                                                                  Full and Effective Compliance
            Ops)

            Supervisor Review of Collected Data for Deputies under
   69                                                                       In Compliance                       In Compliance
            Their Command

            Response to/Interventions for Deputies or Units Involved
   70                                                                       In Compliance                     Not in Compliance
            in Misconduct

            Providing Monitor and Plaintiffs’ Representative Full
   71       Access to Supervisory and Agency Level Reviews of                          Full and Effective Compliance
            Collected Data

Section IX. Early Identification System (EIS)




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   72      Develop, Implement, and Maintain a Computerized EIS         In Compliance                    Not in Compliance

           Create Unit or Expand Role of MCSO IT to Develop,
   73                                                                            Full and Effective Compliance
           Implement, and Maintain EIS

           Develop and Implement Protocol for Capturing and
   74                                                                  In Compliance                      In Compliance
           Inputting Data

   75      EIS Shall Include a Computerized Relational Database        In Compliance                      In Compliance

           EIS Shall Include Appropriate Identifying Information for
           Each Involved Deputy (i.e., Name, Badge Number, Shift
   76                                                                            Full and Effective Compliance
           and Supervisor) and Civilian (e.g., Race and/or
           Ethnicity).

           Maintaining Computer Hardware and Software, All
   77                                                                            Full and Effective Compliance
           Personnel Have Ready and Secure Access

   78      Maintaining All Personally Identifiable Information                   Full and Effective Compliance

           EIS Computer Program and Computer Hardware Will be
   79      Operational, Fully Implemented, and be Used in              In Compliance                    Not in Compliance
           Accordance With Policies and Protocols

   80      EIS Education and Training for all Employees                          Full and Effective Compliance

           Develop and Implement Protocol for Using EIS and
   81                                                                  In Compliance                    Not in Compliance
           Information Obtained from It

Section X. Supervision and Evaluation of Officer Performance

   83      Provide Effective Supervision of Deputies                             Full and Effective Compliance

           Adequate Number of Supervisors (1 Field Supervisor to
   84                                                                            Full and Effective Compliance
           12 Deputies)

           Supervisors Discuss and Document Traffic Stops with
   85      Deputies                                                              Full and Effective Compliance


   86      Availability of On-Duty Field Supervisors                             Full and Effective Compliance

           Quality and Effectiveness of Commanders and
   87                                                                  In Compliance                    Not in Compliance
           Supervisors

           Supervisors in Specialized Units (Those Enforcing
   88      Immigration-Related Laws) Directly Supervise LE                       Full and Effective Compliance
           Activities of New Members

           Deputies Notify a Supervisor Before Initiating any
   89                                                                            Full and Effective Compliance
           Immigration Status Investigation and/or Arrest

           Deputies Submit Documentation of All Stops and
   90      Investigatory Detentions Conducted to Their Supervisor      In Compliance                      In Compliance
           by End of Shift

           Supervisors Document any Investigatory Stops and
   91      Detentions that Appear Unsupported by Reasonable            In Compliance                      In Compliance
           Suspicion or Violate Policy

           Supervisors Use EIS to Track Subordinate’s Violations or
   92                                                                  In Compliance                    Not in Compliance
           Deficiencies in Investigatory Stops and Detentions



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           Deputies Complete All Incident Reports Before End of
   93      Shift. Field Supervisors Review Incident Reports and                 Full and Effective Compliance
           Memorialize Their Review within 72 hrs. of an arrest


           Supervisor Document Any Arrests that are Unsupported
   94                                                                 In Compliance                      In Compliance
           by Probable Cause or Violate Policy

           Supervisors Use EIS to Track Subordinate’s Violations or
   95                                                                 In Compliance                    Not in Compliance
           Deficiencies in Arrests and the Corrective Actions Taken

           Command Review of All Supervisory Review Related to
   96      Arrests that are Unsupported by Probable Cause or          In Compliance                      In Compliance
           Violate Policy

   97      Commander and Supervisor Review of EIS Reports             In Compliance                    Not in Compliance

   98      System for Regular Employee Performance Evaluations        In Compliance                    Not in Compliance

           Review of All Compliant Investigations, Complaints,
           Discipline, Commendations, Awards, Civil and Admin.
   99                                                                 In Compliance                    Not in Compliance
           Claims and Lawsuits, Training History, Assignment and
           Rank History, and Past Supervisory Actions

           The Quality of Supervisory Reviews Shall be Taken Into
  100      Account in the Supervisor’s Own Performance                In Compliance                    Not in Compliance
           Evaluations

           MCSO Shall Develop and Implement Eligibility Criteria
  101      for Assignment to Specialized Units Enforcing                        Full and Effective Compliance
           Immigration-Related Laws.

Section XI. Misconduct and Complaints

           MCSO Shall Require all Personnel to Report Without
  102      Delay Alleged or Apparent Misconduct by Other MCSO                   Full and Effective Compliance
           Personnel to a Supervisor or Directly to IA

           MCSO Shall Develop a Plan for Conducting Regular,
           Targeted, and Random Integrity Audit Checks to Identify
  103                                                                 In Compliance                      In Compliance
           and Investigate Deputies Possibly Engaging in Improper
           Behavior

           MCSO Shall Require Deputies to Cooperate With
  104                                                                           Full and Effective Compliance
           Administrative Investigations

           Investigator Access to Collected Data, Records,
  105                                                                           Full and Effective Compliance
           Complaints, and Evaluations

  106      Disclosure of Records of Complaints and Investigations               Full and Effective Compliance

Section XII. Community Engagement

           As Part of its Community Outreach and Public
           Information Program, MCSO Shall Hold at Least One
  109      Public Meeting per Quarter to Coincide With the                N/A                                   N/A
           Quarterly Site Visits by the Monitor in a Location
           Convenient to the Plaintiffs’ Class

           At Public Meetings MCSO Representatives Are to Listen
           to Community Members’ Experiences and Concerns
  110      about MCSO Practices Implementing This Order                   N/A                                   N/A
           Including the Impact on Public Trust. MCSO
           Representatives Shall Make Reasonable Effort to Address


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            Such Concerns During the Meetings and Afterward as
            Well as Explain to Attendees How to File a Comment or
            Complaint



            English and Spanish-speaking MCSO Personnel shall
  111       attend these meetings and be available to answer                 N/A                                   N/A
            questions from the public

            At least 10 days before such meetings, MCSO shall
            widely publicize the meetings in English and Spanish
  112       after consulting with Plaintiffs’ representatives and            N/A                                   N/A
            Community Advisory Board regarding advertising
            methods

            MCSO shall select or hire a Community Liaison who is
            fluent in English and Spanish. The hours and contact
  113       information of MCSO Community Outreach Division                        Full and Effective Compliance
            (COD) shall be made available to the public including on
            MCSO website

            COD shall coordinate the district community meetings
            and provide administrative support for, coordinate and
            attend meetings of the Community Advisory Board and
  114       compile any Complaints, concerns and suggestions                       Full and Effective Compliance
            submitted to the COD. Communicate concerns received
            from the community with the Monitor and MCSO
            leadership

            MCSO and Plaintiffs’ representatives shall work with
            community representatives to create a Community
  115                                                                    In Compliance                      In Compliance
            Advisory Board (CAB) to facilitate regular dialogue
            between MCSO and the community

            CAB members must be selected by MCSO and Plaintiffs’
  116                                                                    In Compliance                         Deferred
            representatives.

            MCSO shall coordinate the meeting as dictated by the
  117       CAB members and provide administrative support for the           N/A                                   N/A
            CAB

            CAB members will relay or gather community concerns
  118       about MCSO practices that may violate the Order and              N/A                                   N/A
            transmit them to the COD for investigation and/or action

SECOND ORDER
Section XV. Misconduct Investigations, Discipline and Grievances

            Conduct comprehensive review all policies, procedures,
  165       manuals and written directives related to misconduct             N/A                            In Compliance
            investigations, employee discipline and grievances

            Ensure provision of policies pertaining to any and all
  167                                                                              Full and Effective Compliance
            reports of misconduct

            All forms of alleged reprisal, discouragement,
            intimidation, coercion or adverse action against any
  168                                                                              Full and Effective Compliance
            person reporting or attempting to report misconduct is
            strictly prohibited.

            Ensure policies identify no retaliation to an employee for
  169                                                                              Full and Effective Compliance
            reporting misconduct

  170       Ensures completed investigations of all Complaints                     Full and Effective Compliance



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      including third-party

      Ensures administrative investigations are not terminated
171   due to withdrawal, unavailability or unwillingness of                  Full and Effective Compliance
      complainant

      Provide instruction to employees that all relevant
172   evidence and information for investigations be submitted               Full and Effective Compliance
      and intention withholding shall result in discipline

      Ensure disciplinary checks are conducted by PSB prior to
173                                                                In Compliance                      In Compliance
      any promotion process

      Ensure disciplinary history is considered and documented
174                                                                          Full and Effective Compliance
      prior to hiring, promotion and transfers

      Ensure Commanders review disciplinary history who are
175                                                                In Compliance                      In Compliance
      transferred to their command in timely fashion

      Quality of IA investigations and Supervisors review of
176   investigations be taken into account in performance          In Compliance                      In Compliance
      evaluations

      Removal of name-clearing hearings and referenced as
177                                                                          Full and Effective Compliance
      pre-determination hearings

      Provide 40 hours of comprehensive training to all
178   Supervisors and PSB staff for conducting employee                      Full and Effective Compliance
      misconduct investigations

      Provide 8 hours annually of in-service to all Supervisors
179                                                                          Full and Effective Compliance
      and PSB staff for conducting misconduct investigations

      Provide training to all employees on MCSO’s new or
180   revised policies related to misconduct investigation,                  Full and Effective Compliance
      discipline and grievances

      Provide adequate training to all employees to properly
181   handle civilian Complaint intake and providing               In Compliance                      In Compliance
      information

      Provide adequate training to all Supervisors as their
182                                                                          Full and Effective Compliance
      obligations to properly handle civilian Complaints

      Standards will be clearly delineated in policies, training
184                                                                          Full and Effective Compliance
      and procedures. Samples must be included

      Any allegation of misconduct must be reported to PSB
185                                                                          Full and Effective Compliance
      upon receipt

      PSB must maintain a centralized electronic numbering
186                                                                          Full and Effective Compliance
      and tracking system for all allegations of misconduct

      PSB must maintain a complete file of all documents
      relating to any investigations, disciplinary proceedings,
187   pre-determination hearings, grievance proceeding and                   Full and Effective Compliance
      appeals to the Law Enforcement Merit System Council or
      a state court

      PSB will promptly assign IA investigator after initial
188                                                                          Full and Effective Compliance
      determination of the category of alleged offense

189   PSB shall investigate misconduct allegation of a serious               Full and Effective Compliance



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      nature, or that result in suspension, demotion, termination
      or indication apparent criminal conduct by employee

      Allegations of employee misconduct that are of a minor
190   nature may be administratively investigated by a trained                Full and Effective Compliance
      and qualified Supervisor in the employee’s District.

      Trained Supervisor must immediately contact PSB if it is
191   believed the principal may have committed misconduct of                 Full and Effective Compliance
      a serious or criminal nature

      PSB shall review investigations outside of the Bureau at
192                                                                           Full and Effective Compliance
      least semi-annually

      The most serious policy violation shall be used for
      determination of category of offense when multiple
193                                                                           Full and Effective Compliance
      separate policy violations are present in a single act of
      alleged misconduct

      PSM Commander ensures investigations comply with
      MCSO policy, requirement of this Order including those
194                                                                 In Compliance                    Not in Compliance
      related to training, investigators disciplinary backgrounds
      and conflicts of interest

      PSB shall include sufficient trained personnel to fulfill
195                                                                 In Compliance                    Not in Compliance
      requirements of Order within six months

      Commander of PSB or the Chief Deputy many refer
      misconduct investigations to another law enforcement
196   agency or retain qualified outside investigator to conduct              Full and Effective Compliance
      the investigation

      PSB will be headed by qualified Commander. If
197   designation is declined by Sheriff, the Court will                      Full and Effective Compliance
      designate a qualified candidate

      PSB shall be physically located is separate facility of
198   MCSO facilities and must be accessible to public and                    Full and Effective Compliance
      present a non-intimidating atmosphere to file Complaints

      Ensure qualifications for an internal affairs investigator
199   are clearly defined and candidates are eligible to conduct              Full and Effective Compliance
      investigations

      Investigations shall be conducted in a rigorous and
200   impartial manner without prejudging the facts, and                      Full and Effective Compliance
      completed in a through manner

      No preference shall be given for an employee’s statement
      over a non-employee statement, nor disregard a witness’s
201   statement solely because the witness has connection to                  Full and Effective Compliance
      the complainant or the employee or due to a criminal
      history of either party

      Investigate any evidence of potential misconduct
      uncovered during the course of the investigation
202                                                                           Full and Effective Compliance
      regardless whether the potential misconduct was part of
      the original allegation

      Despite a person being involved in an encounter with
      MCSO and pleading guilty or found guilty of offense, IA
203   investigators will not consider that information alone to               Full and Effective Compliance
      determine whether MCSO employee engaged in
      misconduct



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      Complete investigations within 85 calendar days of the
204   initiation of the investigation, or 60 calendar days if       In Compliance                    Not in Compliance
      within a Division

      PSB maintain database to track cases which generates
205                                                                 In Compliance                      In Compliance
      alerts when deadlines are not met

      At conclusion of each investigation, IA will prepare an
206   investigation report which includes elements from the 11                Full and Effective Compliance
      subsections of this paragraph

      When investigating the incident for policy, training,
      tactical or equipment concerns, the report must include
207                                                                 In Compliance                      In Compliance
      compliance with standards, use of tactics and indicate
      need for training and suggestion of policy changes

      Each allegation of misconduct shall explicitly identify
208                                                                           Full and Effective Compliance
      and recommend a disposition for each allegation

      Investigation forms completed by Supervisors outside of
209   PSB shall be sent through Chain of Command to Division        In Compliance                      In Compliance
      Commander for approval

      Investigation forms completed by PSB shall be sent to the
210                                                                           Full and Effective Compliance
      Commander

      Commander shall return report to investigator for
211                                                                 In Compliance                    Not in Compliance
      correction when inadequacies are noted

      IA investigator shall receive corrective or disciplinary
212   action for a deficient misconduct investigation. Failure to   In Compliance                      In Compliance
      improve is grounds for demotion or removal from PSB

      Minor misconduct investigations must be conducted by
213   Supervisor (not by line-level deputies) and file forwarded    In Compliance                      In Compliance
      to PSB

      Misconduct investigation can be assigned or re-assigned
214                                                                           Full and Effective Compliance
      at the discretion of the PSB Commander

      Investigations conducted by Supervisors (outside of PSB)
215   shall direct and ensure appropriate discipline and/or                   Full and Effective Compliance
      corrective action

      PSB Commander shall direct and ensure appropriate
216   discipline and/or corrective action for investigations        In compliance                      In Compliance
      conducted by PSB

      PSB shall conduct targeted and random reviews of
217                                                                           Full and Effective Compliance
      discipline imposed by Commanders for minor misconduct

      Maintain all administrative reports and files for record
218                                                                           Full and Effective Compliance
      keeping in accordance with applicable law

      Sheriff shall review MCSO disciplinary matrices and
220                                                                 In Compliance                      In Compliance
      ensure consistency discipline

      Sheriff shall mandate misconduct allegation is treated as a
221                                                                           Full and Effective Compliance
      separate offense for imposing discipline


222   Sheriff shall provide that Commander of PSB make                        Full and Effective Compliance
      preliminary determinations of the discipline and comment




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      in writing


      MCSO Command staff shall conduct a pre-determination
223   hearing if serious discipline should be imposed based on     Full and Effective Compliance
      the preliminary determination

      Pre-determination hearings will be audio and video
224   recorded in their entirety, and the recording shall be       Full and Effective Compliance
      maintained with the administrative investigation file

      Pre-determination hearings will be suspended and
225   returned to investigator if employee provides new or         Full and Effective Compliance
      additional evidence

      If designated member of MCSO command staff
      conducting the pre-determination hearing does not uphold
226                                                                Full and Effective Compliance
      charges and/or discipline recommended by PSB a written
      justification by that member is required

      MCSO shall issue policy providing the designated
      member conducting the pre-determination hearing with
227                                                                Full and Effective Compliance
      instructions to apply the disciplinary matrix and set
      guidelines when deviation is permitted

      Sheriff or designee has authority to rescind, revoke or
228   alter disciplinary decisions                                 Full and Effective Compliance


      When an IA investigator or Commander finds evidence of
      misconduct indicating apparent criminal conduct by
      employee the PSB Command must be immediately
229   notified, PSB will assume any admin misconduct               Full and Effective Compliance
      investigation outside PSB, Commander will provide
      evidence directly to the appropriate prosecuting authority
      when necessary

      PBS must first consult with the criminal investigator and
      the relevant prosecuting authority if a misconduct
      allegation is being investigated criminally, prior to a
230   compelled interview pursuant to Garrity v. New Jersey.       Full and Effective Compliance
      No admin investigation shall be held in abeyance unless
      authorized by Commander of PSB. Any deviations must
      be documented by PSB

      Sheriff shall ensure investigators conducting a criminal
231   investigation do not have access to any statement by the     Full and Effective Compliance
      principal that were compelled pursuant to Garrity

      PBS shall complete admin investigations regardless of the
      outcome of any criminal investigation. MCSO policies
      and procedures and the PSB Ops manual shall remind
232   members of PSB that administrative and criminal cases        Full and Effective Compliance
      are held to different standards of proof and the
      investigative processes differ

      Criminal investigations closed without referring it to a
233   prosecuting agency must be documented in writing and         Full and Effective Compliance
      provided to PSB

      Criminal investigations referred to a prosecuting agency
234   shall be reviewed by PSB to ensure quality and               Full and Effective Compliance
      completeness


235   PSB shall request explanation and document any               Full and Effective Compliance
      decisions by the prosecuting agency to decline or dismiss



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      the initiation of criminal charges



      Sheriff shall require PSB to maintain all criminal
236                                                                         Full and Effective Compliance
      investigation reports and files as applicable by law

      Monitor and CAB shall develop and implement a
      program to promote awareness throughout the County
237                                                                   N/A                                   N/A
      about the process for filing Complaints about MCSO
      employee conduct

      Sheriff shall require MCSO to accept all forms of civilian
238                                                                         Full and Effective Compliance
      Complaints and document in writing

      Clearly display placards (English and Spanish) describing
239   the Complaint process at MCSO headquarters and all                    Full and Effective Compliance
      district stations

      Sheriff shall require all deputies to carry Complaint forms
240                                                                 MCSO asserts Full and Effective Compliance
      in their MCSO vehicles

      Sheriff shall ensure that PSB is easily accessible to
241                                                                         Full and Effective Compliance
      member of public and available for walk-ins

      Make complaint forms widely available at locations
242   around the County: website, HQ lobby, Districts, MC           MCSO asserts Full and Effective Compliance
      offices and public locations

243   Establish a free 24-hour hotline for reporting Complaints             Full and Effective Compliance

      Ensure Complaint form does not contain language that
244   can be construed as to discourage the filing of a                     Full and Effective Compliance
      Complaint

      Complaint forms will be made available in English and
245                                                                         Full and Effective Compliance
      Spanish

      PSB will send periodic written updates to the complainant
246   during investigation                                                  Full and Effective Compliance


      Complainant may contact the PSB at any time to obtain
247                                                                         Full and Effective Compliance
      status of their complaint

      PSB will track allegations of biased policing as a separate
248                                                                         Full and Effective Compliance
      category of Complaints

      PSB will track allegations of unlawful investigatory
249   stops, searches, seizures or arrests as a separate category           Full and Effective Compliance
      of Complaints

      PSB will conduct regular assessments of Complaints to
250                                                                         Full and Effective Compliance
      identify potential problematic patterns and trends

      PSB shall produce a semi-annual public report on
251                                                                         Full and Effective Compliance
      misconduct investigations

      Make detailed summaries of completed IA investigations
252                                                                         Full and Effective Compliance
      readily available to the public

      BIO shall produce a semi-annual public audit report
253                                                                         Full and Effective Compliance
      regarding misconduct investigations




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           Initiate a testing program designed to assess civilian
  254                                                                                Full and Effective Compliance
           Complaint intake

           Testing program for investigation of civilian Complaints
  255                                                                                Full and Effective Compliance
           should not use fictitious complaints

           Testing program shall assess Complaint intake for
  256      Complaints made in person, telephonically, by mail,                       Full and Effective Compliance
           email or website

           Testing program shall include sufficient random and
  257                                                                                Full and Effective Compliance
           targeted testing to assess the Complaint intake process

           Testing program shall assess if employees promptly
  258      notify PSB of citizen Complaints with accurate and                        Full and Effective Compliance
           complete information

  259      Current or former employees cannot serve as testers                       Full and Effective Compliance

  260      Produce annual report on the testing program                    In Compliance                      In Compliance

SECOND ORDER
Section XVI. Community Outreach and Community Advisory Board

           Community Advisory Board may conduct a study to
  261      identify barriers to the filing of civilian Complaints              N/A                                   N/A
           against MCSO personnel

           The Boards shall be provided annual funding to support
  262                                                                          N/A                                   N/A
           activities

SECOND ORDER
Section XIV. Supervision and Staffing

           Sheriff to ensure all patrol deputies are assigned to clearly
  264                                                                                Full and Effective Compliance
           identified First-line Supervisor

           First-line Supervisors shall be responsible for closely and
  265                                                                      In Compliance                      In Compliance
           consistently supervising all

           Provide written explanation of deficiencies for number of
  266      Deputies assigned to First-line Supervisors (no more than                 Full and Effective Compliance
           10 Deputies)

           Supervisors shall be responsible for close and effective
  267      supervision and ensure staff complies with MCSO policy,         In Compliance                      In Compliance
           federal, state and local law, and this Court Order

           Approval by Monitor for any transfers of sworn personnel
  268                                                                                Full and Effective Compliance
           or Supervisors in or out of PSB, BIO or CID

SECOND ORDER
Section XVIII. Document Preservation and Production

           Promptly communicate any document preservation
  269                                                                      In Compliance                         Deferred
           notices to all personnel who have responsive documents

           Sheriff shall ensure a request for documents in the course
  270      of litigation is promptly communicated to all personnel         In Compliance                         Deferred
           and the need

  271      Sheriff shall ensure Compliance Division promulgates            In Compliance                      In Compliance



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            detailed protocols for the preservation and production of
            documents requested in litigation

            Ensure MCSO policy provides that all employees comply
  272       with document preservation and production requirements                    Full and Effective Compliance
            and may be subject to discipline if violated

SECOND ORDER
Section XIX. Additional Training

            Within two months of the entry of this Order, the Sheriff
            shall ensure that all employees are briefed and presented
            with the terms of the Order, along with relevant
  273                                                                                 Full and Effective Compliance
            background information about the Court’s May 13, 2016
            Findings of Fact (Doc. 1677) upon which this order is
            based

SECOND ORDER
Section XX. Complaints and Misconduct Investigation Relating to Members of the Plaintiff Class

            Monitor shall have the authority to direct and/or approve
            all aspects of the intake and investigation of Class
  276                                                                                 Full and Effective Compliance
            Remedial Matters and the assignment of these
            investigations

            Sheriff shall alert the Monitor in writing to matters that
  278       could be considered Class Remedial Matters and has the                    Full and Effective Compliance
            authority to independently identify such matters

            Monitor has complete authority to conduct review,
            research and investigation deemed necessary to determine
  279       if matters qualify as Class Remedial Matters and MCSO                     Full and Effective Compliance
            is dealing in a thorough, fair, consistent and unbiased
            manner

            Monitor shall provide written notice to the Court and
  280       Parties when he determines he has jurisdiction over a               N/A                                   N/A
            Class Remedial Measure

            Sheriff shall ensure MCSO receives and processes Class
            Remedial Matters consistently with the requirements of
  281       the orders of the Court, MCSO policies, and the manner         In Compliance                     Not in Compliance
            in which all other disciplinary matters are handled per
            policy

            Sheriff and/or appointee may exercise the authority given
            pursuant to this Order to direct and/or resolve such Class
  282                                                                                 Full and Effective Compliance
            Remedial Matters. The decisions and/or directives may be
            vacated or overridden by the Monitor

            Monitor shall review and approve all disciplinary
  283                                                                           N/A                                   N/A
            decisions on Class Remedial Measures

            MCSO must expeditiously implement the Monitor’s
  284       directions, investigations, hearings and disciplinary                     Full and Effective Compliance
            decisions

            Should Monitor decide to deviate from the policies set
            forth in the Order or the standard application of the
  285                                                                           N/A                                   N/A
            disciplinary matrix, the Monitor shall justify the decision
            in writing

  286       Monitor shall instruct PSB to initiate a confidential                     Full and Effective Compliance
            criminal investigation and oversee the matter or report to



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      the appropriate prosecuting agency


      Persons receiving discipline approved by Monitor shall
287   maintain any rights they have under Arizona law or                Full and Effective Compliance
      MCSO policy

      Monitor’s authority will cease when the elements of the
288                                                               N/A                            In Compliance
      two subsections of this paragraph have been met

      To make the determination required by subpart (b), the
      Court extends the scope of the Monitor’s authority to
289   inquire and report on all MCSO internal affairs             N/A                                   N/A
      investigations and not those merely that are related to
      Class Remedial Matters

      Monitor shall report to the Court on a quarterly basis
      whether MCSO has fairly, adequately, thoroughly and
291                                                               N/A                                   N/A
      expeditiously assessed, investigated, disciplined and
      made grievance decisions consistent with the Order

      Monitor is to be given full access to all MCSO IA
      investigation or matters that have been the subject of
292                                                                     Full and Effective Compliance
      investigation. Monitor shall comply with rights of
      principals under investigation

      Monitor shall append its findings on MCSO’s overall IA
293                                                               N/A                                   N/A
      investigations to the report produced to the Court

      Uninvestigated, untruthful statements made to the Court
      under oath by Chief Deputy Sheridan concerning the
      Montgomery investigation, the existence of the McKessy
300                                                               N/A                               Deferred
      investigation, the untruthful statements to Lt. Seagraves
      and other uninvestigated acts of his do not justify an
      independent investigation

      When discipline is imposed by the Independent
      Disciplinary Authority, the employee shall maintain his
      or her appeal rights following the imposition of
337                                                                     Full and Effective Compliance
      administrative discipline as specified by Arizona law and
      MCSO policy with the following exceptions with the two
      exceptions documented within the two subparagraphs




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Section 3: Implementation Unit Creation and Documentation Requests
General Comments regarding CID

MCSO has taken major steps to implement Section III of the Court’s First Order. In October 2013,
MCSO formed the Court Compliance and Implementation Division consistent with Paragraph 9 of the
Court’s First Order. In February 2015, MCSO changed the name of this division to the CID, which
stands for Court Implementation Division. CID coordinates site visits and other activities with each of
the Parties, as the Court’s Orders require.

CID, with the Sheriff’s approval, ensures the proper allocation of document production requests to the
appropriate MCSO units to achieve Full and Effective Compliance with the Court’s Orders. Thus, the
efforts to achieve compliance and to fulfill the Monitor’s requests involve the efforts of MCSO
divisions, bureaus, personnel and command staff, as well as personnel from the Maricopa County
Attorney’s Office (MCAO).

During this quarter, CID responded to the three required monthly document requests, the quarterly
document requests, and the January site visit document requests. In addition to the document requests,
CID facilitates the production of training materials, policies and procedures to the Monitor for review
and approval. As a reflection of MCSO’s efforts to achieve Full and Effective Compliance with the
Court’s Orders, CID, through MCSO counsel, produced approximately 86,319 pages of documents in
this quarter.

CID strives to continue to foster a positive working relationship with the Monitor and Parties. This
positive attitude continues to be reflected in MCSO’s ongoing collaboration with the Monitor and
Parties.

MCSO remains in Full and Effective Compliance with all Paragraphs in Section 3, Implementation
Unit Creation and Documentation Requests.


Paragraph 9. Defendants shall hire and retain or reassign current MCSO employees to form an
interdisciplinary unit with the skills and abilities necessary to facilitate implementation of this Order.
This unit shall be called the MCSO Implementation Unit and serve as a liaison between the Parties
and the Monitor and shall assist with the Defendants’ implementation of and compliance with this
Order. At a minimum, this unit shall: coordinate the Defendants’ compliance and implementation
activities; facilitate the provision of data, documents, materials, and access to the Defendants’
personnel to the Monitor and Plaintiffs representatives; ensure that all data, documents and records
are maintained as provided in this Order; and assist in assigning implementation and compliance-
related tasks to MCSO Personnel, as directed by the Sheriff or his designee . The unit will include a
single person to serve as a point of contact in communications with Plaintiffs, the Monitor and the
Court.




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MCSO remains in Full and Effective Compliance with Paragraph 9.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 10. MCSO shall collect and maintain all data and records necessary to: (1) implement this
order, and document implementation of and compliance with this Order, including data and records
necessary for the Monitor to conduct reliable outcome assessments, compliance reviews, and audits;
and (2) perform ongoing quality assurance in each of the areas addressed by this Order. At a minimum,
the foregoing data collection practices shall comport with current professional standards, with input
on those standards from the Monitor.

MCSO remains in Full and Effective Compliance with Paragraph 10.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 11. Beginning with the Monitor’s first quarterly report, the Defendants, working with the
unit assigned for implementation of the Order, shall file with the Court, with a copy to the Monitor and
Plaintiffs, a status report no later than 30 days before the Monitor’s quarterly report is due. The
Defendants’ report shall (i) delineate the steps taken by the Defendants during the reporting p eriod to
implement this Order; (ii) delineate the Defendants’ plans to correct any problems; and (iii) include
responses to any concerns raised in the Monitor’s previous quarterly report.

MCSO remains in Full and Effective Compliance with Paragraph 11.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 12. The Defendants, working with the unit assigned for implementation of the Order, shall
conduct a comprehensive internal assessment of their Policies and Procedures affecting Patrol
Operations regarding Discriminatory Policing and unlawful detentions in the field as well as overall
compliance with the Court’s orders and this Order on an annual basis. The comprehensive Patrol
Operations assessment shall include, but not be limited to, an analysis of collected traffic -stop and
high-profile or immigration-related operations data; written Policies and Procedures; Training, as set
forth in the Order; compliance with Policies and Procedures; Supervisor review; intake and
investigation of civilian Complaints; conduct of internal investigations; Discipline of officers; and
community relations. The first assessment shall be conducted within 18 0 days of the Effective Date.
Results of each assessment shall be provided to the Court, the Monitor, and Plaintiffs’ representatives.




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MCSO remains in Full and Effective Compliance with Paragraph 12.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 13. The internal assessments prepared by the Defendants will state for the Monito r and
Plaintiffs’ representatives the date upon which the Defendants believe they are first in compliance with
any subpart of this Order and the date on which the Defendants first assert they are in Full and Effective
Compliance with the Order and the reasons for that assertion. When the Defendants first assert
compliance with any subpart or Full and Effective Compliance with the Order, the Monitor shall within
30 days determine whether the Defendants are in compliance with the designated subpart(s) or in Full
and Effective Compliance with the Order. If either party contests the Monitor’s determination it may
file an objection with the Court, from which the Court will make the determination. Thereafter, in each
assessment, the Defendants will indicate with which subpart(s) of this Order it remains or has come
into full compliance and the reasons therefore. The Monitor shall within 30 days thereafter make a
determination as to whether the Defendants remain in Full and Effective Compliance with the Order
and the reasons therefore.

The Court may, at its option, order hearings on any such assessments to establish whether the
Defendants are in Full and Effective Compliance with the Order or in compliance with any subpart(s).

MCSO remains in Full and Effective Compliance with Paragraph 13.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 4: Policies and Procedures
General Comments Regarding Policies and Procedures

Consistent with Paragraph 18 requirements that MCSO deliver police services consistent with the
Constitution and the laws of the United States and Arizona, MCSO continually reviews its Office
Policies and Procedures. In fulfillment of its duties and obligations under federal and Arizona law,
MCSO is committed to ensuring equal protection under the law and bias-free policing. To ensure
compliance with the Court’s Orders, MCSO continues to comprehensively review all Patrol Operations
Policies and Procedures, consistent with Paragraph 19 of the Court’s Orders.

In addition to its annual review of all Critical Policies, consistent with Paragraph 34 requirements that
MCSO review each policy and procedure on an annual basis to ensure that the policy provides effective
direction to personnel and remains consistent with the Court’s Orders, MCSO Policy Development
Section continues with its annual review of all policies relevant to the Court’s Orders.

During this reporting period, the MCSO published eight (8) policies relevant to the Court Order:

 •   CP-5, Truthfulness
 •   CP-8, Preventing Racial and Other Bias-Based Profiling
 •   GC-12, Hiring and Promotional Procedures
 •   GC-17, Employee Disciplinary Procedures
 •   GG-1, Peace Officer Training Administration
 •   GG-2, Detention/Civilian Training Administration
 •   GH-2, Internal Investigations
 •   GJ-2, Critical Incident Investigations

The MCSO Policy Development Section worked on annual review revisions to the following
policies:

 •   CP-2, Code of Conduct (Annual Review)
 •   CP-5, Truthfulness (Annual Review)
 •   CP-8, Preventing Racial and Other Bias-Based Profiling (Annual Review)
 •   EB-1, Traffic Enforcement, Violator Contacts, and Citation Issuance (Annual Review)
 •   EB-2, Traffic Stop Data Collection (Annual Review)
 •   EB-7, Traffic Control and Services (Annual Review)
 •   ED-2, Covert Operations (Annual Review)
 •   GC-4, Employee Performance Appraisals (Annual Review)
 •   GC-4 (S), Employee Performance Management (Annual Review)
 •   GC-7, Transfer of Personnel (Annual Review)
 •   GC-11, Employee Probationary Periods (Annual Review)
 •   GC-12, Hiring and Promotional Procedures (Annual Review)
 •   GC-13, Awards (Annual Review)
 •   GC-17, Employee Disciplinary Procedures (Annual Review)

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 •   GE-3, Property Management and Evidence Control (Annual Review)
 •   GE-4, Use, Operation, and Assignment of Vehicles (Annual Review)
 •   GF-5, Incident Report Guidelines (Annual Review)
 •   GG-1, Peace Officer Training Administration (Annual Review)
 •   GG-2, Detention/Civilian Training Administration (Annual Review)
 •   GH-2, Internal Investigations (Annual Review)
 •   GH-5, Early Identification System (Annual Review)
 •   GJ-2, Critical Incident Response (Annual Review)
 •   GJ-3, Search and Seizure (Annual Review)
 •   GJ-5, Crime Scene Management (Annual Review)
 •   GJ-24, Community Relations and Youth Programs (Annual Review)
 •   GJ-26, Sheriff’s Reserve Deputy Program (Annual Review)
 •   GJ-27, Sheriff’s Posse Program (Annual Review)
 •   GJ-35, Body-Worn Cameras (Annual Review)
 •   GJ-36, Use of Digital Recording Devices (Non Body-Worn Cameras) (Annual Review)

MCSO Policies with the Community Advisory Board (CAB) for input/recommendations during
the reporting period:

 •   EA-3, Non-Traffic Contact
 •   EA-11, Arrest Procedures
 •   EB-1, Traffic Enforcement, Violator Contacts, and Citation Issuance

During this reporting period, no input or recommendations were received from the CAB.

Statement of Annual Review (SOAR) policies to the Monitors for approval:

 •   ED-2, Covert Operations

MCSO Policies submitted to the Monitoring Team for review:

 •   CP-5, Truthfulness
 •   GC-12, Hiring and Promotional Procedures
 •   GC-17, Employee Disciplinary Procedures
 •   GG-1, Peace Officer Training Administration
 •   GG-2, Detention/Civilian Training Administration

In addition, to expeditiously implement the Court’s directives, six (6) Administrative Broadcasts and
seven (7) Briefing Board that referenced Court Order related topics during this reporting period were
published. The Administrative Broadcasts and Briefing Boards are listed in the following table:




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                     MCSO Administrative Broadcasts/Briefing Boards
                                                                                         Date
A.B./B.B. #                                  Subject                                     Issued

AB 22-91        REMINDER – 2022 CPP Captain’s Meeting Briefing Implicit Bias            10/17/22


              REMINDER – Review and Acknowledgement requirements for Office
AB 22-94                                                                                11/09/22
                Policy CP-8, Preventing Racial and Other Bias-Based Profiling

AB 22-97                      Law Enforcement Rule 15 Disclosure                        11/22/22

                              2022 CPP Captain’s Meeting Briefing
AB 22-98                                                                                11/28/22
                               Fair and Impartial Decision-Making

                        UPDATE – 2022 CPP Captain’s Meeting Briefing
AB 22-99                                                                                11/28/22
                            Fair and Impartial Decision-Making


              FINAL REMINDER – Review and Acknowledgement requirements for
AB 22-101                                                                               12/08/22
              Office Policy CP-8, Preventing Racial and Other Bias-Based Profiling

                                    Immediate Policy Change
BB 22-52                                                                                10/03/22
                                 GJ-5, Crime Scene Management

                                        Policy Revision
BB 22-55                                                                                10/12/22
                     CP-8, Preventing Racial and Other Bias-Based Profiling

                                           Policy Revision
              GH-2, Internal Investigations, GJ-2, Critical Incident Response and the
BB 22-56                                                                                10/24/22
              Critical Incident Investigation Protocol, and GJ-11, Serious Diagnosed
                 Illness, Serious Physical Injury or Death of a Prisoner or Inmate

                                        Policy Revision
                  GC-12, Hiring & Promotional Procedures, GC-17, Employee
BB 22-58                                                                                11/16/22
              Disciplinary Procedures, GG-1, Peace Officer Training Administration,
                       & GG-2, Detention/Civilian Training Administration
                                         Policy Revision
BB 22-59                                                                                11/16/22
                                        CP-5, Truthfulness
                                  Immediate Policy Change
BB 22-63                                                                                12/05/22
                GC-20, Uniform Specifications & GJ-27, Sheriff’s Posse Program


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BB 22-64         Special Briefing Board—Information Every Employee Needs to Know             12/07/22


  MCSO Administrative Broadcasts

  MCSO Administrative Broadcast 22-91, published October 17, 2022, announced a reminder regarding
  the directive to complete 2022 CPP Captain’s Meeting Briefing Implicit Bias requirements. This
  announcement was specific to all sworn supervisors and all supervisors who supervise deputies, reserve
  deputies, and Deputy Services Aides (DSAs).

  MCSO Administrative Broadcast 22-94, published November 09, 2022, announced a reminder to
  complete review and acknowledgement requirements for Office Policy CP-8, Preventing Racial and
  Other Bias-Based Profiling. This announcement was specific to all Office employees and volunteers.

  MCSO Administrative Broadcast 22-97, published November 22, 2022, announced to all Office
  employees that MCSO is legally and ethically obligated to disclose exculpatory information related to
  Office employees pursuant to Brady v. Maryland and its progeny, to the MCAO.

  MCSO Administrative Broadcast 22-98, published November 28, 2022, announced the directive to
  complete 2022 CPP Captain’s Meeting Briefing Fair and Impartial Decision-Making requirements.
  This announcement was specific to all sworn supervisors and all supervisors who supervise deputies,
  reserve deputies, and DSAs.

  MCSO Administrative Broadcast 22-99, published November 28, 2022, announced an update to the
  associated TheHUB link utilized to complete 2022 CPP Captain’s Meeting Briefing Fair and Impartial
  Decision-Making requirements.

  MCSO Administrative Broadcast 22-101, published December 08, 2022, announced a Final Reminder
  – Review and Acknowledgement requirements for Office Policy CP-8, Preventing Racial and Other
  Bias-Based Profiling. This announcement completion requirement was specific to all Office
  employees and volunteers.

  Briefing Boards

  MCSO Briefing Board 22-52, published October 03, 2022, advised employees of an immediate policy
  change to Office Policy GJ-5, Crime Scene Management, directing employees of a new process for
  assigning serial numbers to evidence items collected during crime scene/investigative processing.

  MCSO Briefing Board 22-55, published October 12, 2022, advised employees of a policy revision to
  Office Policy CP-8, Preventing Racial and Other Bias-Based Profiling, following the annual revision
  period for 2022-23. Requirements included attestation of the review of the policy and related test
  questions and viewing of the Sheriff’s video.

  MCSO Briefing Board 22-56, published October 24, 2022, advised employees of a policy revision to
  Office Policies GH-2, Internal Investigations, GJ-2, Critical Incident Response and the Critical

                                                                                                     23
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Incident Investigation Protocol, and GJ-11, Serious Diagnosed Illness, Serious Physical Injury or
Death of a Prisoner or Inmate.

MCSO Briefing Board 22-58, published November 16, 2022, advised employees of policy revisions to
Office Policies GC-12, Hiring and Promotional Procedures, GC-17, Employee Disciplinary
Procedures, GG-1, Peace Officer Training Administration, and GG-2, Detention/Civilian Training
Administration.

MCSO Briefing Board 22-59, published November 16, 2022, advised employees of a policy revision
to Office Policy CP-5, Truthfulness.

MCSO Briefing Board 22-63, published December 05, 2022, advised employees of an immediate
policy change to Office Policies GC-20, Uniform Specifications and GJ-27, Sheriff’s Posse Program,
directing employees of a new posse uniform patches.

MCSO Briefing Board 22-64, published December 07, 2022, advised employees of the Special Briefing
Board—Information Every Employee Needs to Know, and required an attestation through TheHUB.

Consistent with the Court’s Orders, Paragraph 31 requirements regarding MCSO personnel’s receipt
and comprehension of the policies and procedures, MCSO implemented the E-Policy system in January
2015 which has now been transitioned into TheHUB effective January 2018. MCSO utilizes the system
to distribute and require attestation of all Briefing Boards and published policies. TheHUB system
memorializes and tracks employee compliance with the required reading of MCSO Policy and
Procedures, employee acknowledgement that he or she understands the subject policies and procedures,
and employee expression of his or her agreement to abide by the requirements of the policies and
procedures. MCSO provides the Critical, Detention, Enforcement, and General Policies through
TheHUB as a resource for all MCSO personnel.

In this quarter, MCSO used the TheHUB system to distribute and obtain attestation of sixteen (16)
policy revision publications, five (5) immediate policy changes, and one (1) Special Briefing Board.
This includes two (2) immediate policy change Briefing Boards related to the Court Order.


Paragraph 19. To further the goals in this Order, the MCSO shall conduct a comprehensive review of
all Patrol Operations Policies and Procedures and make appropriate amendments to ensure that they
reflect the Court’s permanent injunction and this Order.

MCSO asserts full and effective compliance with the requirements of Paragraph 19 in accordance
with Paragraph 13.

MCSO asserts that it has been in compliance with the requirements of Paragraph 19 for at least three
consecutive years. Phase 1 and Phase 2 compliance with Paragraph 242 was first achieved on March
30, 2018. MCSO achieved three consecutive years of Phase 1 and Phase 2 compliance with this
Paragraph on March 30, 2021.
Phase 1 compliance with the requirements of this Paragraph is demonstrated by GA-1 (Development
of Written Orders) most recently revised on January 12, 2022.
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Phase 2 compliance with the requirements of this Paragraph is demonstrated by the Monitor’s review
of MCSO policies, and the Monitor’s acknowledgement that MCSO came into this compliance in 2018
when it “published the last of the outstanding policies.” (Monitor’s 34th Quarterly Report (Doc. 2869)
at 18.)


Paragraph 21. The MCSO shall promulgate a new, department-wide policy or policies clearly
prohibiting Discriminatory Policing and racial profiling. The policy or policies shall, at a minimum:

       a. define racial profiling as the reliance on race or ethnicity to any degree in making
          law enforcement decisions, except in connection with a reliable and specific suspect
          description;
       b. prohibit the selective enforcement or non-enforcement of the law based on race or
          ethnicity;
       c. prohibit the selection or rejection of particular policing tactics or strategies or
          locations based to any degree on race or ethnicity;
       d. specify that the presence of reasonable suspicion or probable cause to believe an
          individual has violated a law does not necessarily mean that an officer’s action is
          race-neutral; and
       e. include a description of the agency’s Training requirements on the topic of racial
          profiling in Paragraphs 48–51, data collection requirements (including video and
          audio recording of stops as set forth elsewhere in this Order) in Paragraphs 54–63
          and oversight mechanisms to detect and prevent racial profiling, including
          disciplinary consequences for officers who engage in racial profiling.

MCSO remains in Full and Effective Compliance with Paragraph 21.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 22. MCSO Leadership and supervising Deputies and detention officers shall unequivocally
and consistently reinforce to subordinates that Discriminatory Policing is unacceptable.

MCSO is in Phase 1 and Phase 2 Compliance with Paragraph 22.

MCSO has been in compliance with Paragraph 22 since December 31, 2019.


Paragraph 23. Within 30 days of the Effective Date, MCSO shall modify its Code of Conduct to
prohibit MCSO Employees from utilizing County property, such as County e -mail, in a manner that
discriminates against, or denigrates, anyone on the basis of race, color, or nati onal origin.




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MCSO remains in Full and Effective Compliance with Paragraph 23.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 24. The MCSO shall ensure that its operations are not motivated by or initiated in response
to requests for law enforcement action based on race or ethnicity. In deciding to take any law
enforcement action, the MCSO shall not rely on any information receiv ed from the public, including
through any hotline, by mail, email, phone or in person, unless the information contains evidence of a
crime that is independently corroborated by the MCSO, such independent corroboration is documented
in writing, and reliance on the information is consistent with all MCSO policies.

MCSO remains in Full and Effective Compliance with Paragraph 24.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 25. The MCSO will revise its policy or policies relating to traffic enforcement to ensure
that those policies, at a minimum:

       a. prohibit racial profiling in the enforcement of traffic laws, including the selection of which
          vehicles to stop based to any degree on race or ethnicity, even where an officer has
          reasonable suspicion or probably cause to believe a violation is being or has been
          committed;
       b. provide Deputies with guidance on effective traffic enforcement, including the prioritization
          of traffic enforcement resources to promote public safety;
       c. prohibit the selection of particular communities, locations or geographic areas for targeted
          enforcement based to any degree on the racial or ethnic composition of the community;
       d. prohibit the selection of which motor vehicle occupants to question or investigate based to
          any degree on race or ethnicity;
       e. prohibit the use of particular tactics or procedures on a traffic stop based on race or
          ethnicity;
       f. require deputies at the beginning of each stop, before making contract with the vehicle, to
          contact dispatch and state the reason for the stop, unless Exigent Circumstances make it
          unsafe or impracticable for the deputy to contact dispatch;
       g. prohibit Deputies from extending the duration of any traffic stop longer than the time that
          is necessary to address the original purpose for the stop and/or to resolve any apparent
          criminal violation for which the Deputy has or acquires reasonable suspicion or probably
          cause to believe has been committed or is being committed;
       h. require the duration of each traffic stop to be recorded;
       i. provide Deputes with a list and/or description of forms of identification deemed acceptable
          for drivers and passengers (in circumstances where identification is required of them) who
          are unable to present a driver’s license or other state-issued identification; and
       j. instruct Deputies that they are not to ask for the Social Security number or car d of any
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           motorist who has provided a valid form of identification, unless it is needed to com plete a
           citation or report.

MCSO in in Phase 1 compliance with Paragraph 25. Phase 2 compliance is deferred.

The Monitor has deferred its assessment of Phase 2 compliance with this Paragraph until it deems
MCSO in compliance with Paragraph 67. However, the Monitor has already found MCSO in
compliance with each subparagraph of Paragraph 67. The Monitor nevertheless has declined to find
MCSO in compliance with Paragraph 67 until the TSMR pilot is successfully completed, and MCSO
continues to produce the TSMR analysis after the pilot ends. The Monitor relies on subparagraph e of
this Paragraph to link its compliance with Paragraph 67 and the TSMR.

In the previous quarter, the Monitor approved all TSMR guiding documents and the TSMR process
was finalized. In this quarter, the TSMR pilot was formally concluded and the TSMR process is now
continuing as part of MCSO’s day-to-day operations. MCSO maintains that it is in compliance with
Paragraph 25 regardless of the status of the TSMR, but now that the pilot has been concluded, MCSO
has addressed the final issue identified by the Monitor as preventing compliance with Paragraph 67.
This, in turn, means that the final reason for deferring Phase 2 assessment of Paragraph 25 h as been
resolved. As such, MCSO asserts that its compliance status for Phase 2 should be switched from
Deferred to In Compliance.

In this quarter, the first post-pilot TSMR reviews began. The following table shows the TSMR statistics
for this quarter:

    TSMR Report Program Stats 4th Quarter 2022
 Total # of flags                                                            43
 Total # of Flags by Benchmark
 Citation Rate                                                               21
 Stop Length                                                                 13
 Arrest Rate                                                                 6
 Seizure Rate                                                                0
 Search Rate                                                                 3
 Total # of Flags Discounted in Vetting                                      34
 Total # of Flags Discounted by Benchmark
 Citation Rate                                                               14
 Stop Length                                                                 13
 Arrest Rate                                                                 5
 Seizure Rate                                                                0
 Search Rate                                                                 2
 Total # of TSMR Reviews Completed                                           6
 Total # of Flags reviewed                                                   9
 Total # of Flags reviewed by Benchmark
 Citation Rate                                                                7
 Stop Length                                                                  0
 Arrest Rate                                                                  1

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Seizure Rate                                                                 0
Search Rate                                                                  1
Total # of Review Dispositions                                               6
Review Conclusion by Intervention Type
Full Intervention                                                            1
Intermediate                                                                 0
Memo                                                                         4
No Further Action                                                            1


Paragraph 26. The MCSO shall revise its policy or policies relating to Investigatory Detentions and
arrests to ensure that those policies, at a minimum:

       a. require that Deputies have reasonable suspicion that a person is engaged in, has committed,
          or is about to commit, a crime before initiating an investig atory seizure;
       b. require that Deputies have probable cause to believe that a person is engaged in, has
          committed, or is about to commit, a crime before initiating an arrest;
       c. provide Deputies with guidance on factors to be considered in deciding whether to cite and
          release an individual for a criminal violation or whether to make an arrest;
       d. require Deputies to notify Supervisors before effectuating an arrest following any
          immigration-related investigation or for an Immigration-Related Crime, or for any crime
          by a vehicle passenger related to lack of an identity document;
       e. prohibit the use of a person’s race or ethnicity as a factor in establishing reasonable
          suspicion or probable cause to believe a person has, is, or will commit a crime, except as
          part of a reliable and specific suspect description; and
       f. prohibit the use of quotas, whether formal or informal, for stops, citations, detentions, or
          arrests (though this requirement shall not be construed to prohibit the MCSO from
          reviewing Deputy activity for the purpose of assessing a Deputy’s overall effectiveness or
          whether the Deputy may be engaging in unconstitutional policing).

MCSO remains in Full and Effective Compliance with Paragraph 26.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 27. The MCSO shall remove discussion of its LEAR Policy from all agency written Policies
and Procedures, except that the agency may mention the LEAR Policy in order to clarify that it is
discontinued.

MCSO remains in Full and Effective Compliance with Paragraph 27.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


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Paragraph 28. The MCSO shall promulgate a new policy or policies, or will revise its existing policy
or policies, relating to the enforcement of Immigration-Related Laws to ensure that they, at a minimum:

       a. specify that unauthorized presence in the United States is not a crime and does not itself
          constitute reasonable suspicion or probable cause to believe that a person has committed
          or is committing any crime;
       b. prohibit officers from detaining any individual based on actu al or suspected “unlawful
          presence,” without something more;
       c. prohibit officers from initiating a pre-textual vehicle stop where an officer has reasonable
          suspicion or probable cause to believe a traffic or equipment violation has been or is being
          committed in order to determine whether the driver or passengers are unlawfully present;
       d. prohibit the Deputies from relying on race or apparent Latino ancestry to any degree to
          select whom to stop or to investigate for an Immigration -Related Crime (except in
          connection with a specific suspect description);
       e. prohibit Deputies from relying on a suspect’s speaking Spanish, or speaking English with
          an accent, or appearance as a day laborer as a factor in developing reasonable suspicion
          or probable cause to believe a person has committed or is committing any crime, or
          reasonable suspicion to believe that an individual is in the country without authorization;
       f. unless the officer has reasonable suspicion that the person is in the country unlawfully and
          probable cause to believe the individual has committed or is committing a crime, the MCSO
          shall prohibit officers from (a) questioning any individual as to his/her alienage or
          immigration status; (b) investigating an individual’s identity or searching the individual in
          order to develop evidence of unlawful status; or (c) detaining an individual while contacting
          ICE/CBP with an inquiry about immigration status or awaiting a response from ICE/CBP.
          In such cases, the officer must still comply with Paragraph 25(g) of this Order.
          Notwithstanding the foregoing, an officer may (a) briefly question an individual as to his/her
          alienage or immigration status; (b) contact ICE/CBP and await a response from federal
          authorities if the officer has reasonable suspicion to believe the person is in the country
          unlawfully and reasonable suspicion to believe the person is engaged in an Immigration-
          Related Crime for which unlawful immigration status is an element, so long as doing so
          does not unreasonably extend the stop in violation of Paragraph 25(g) of this Order;
       g. prohibit Deputies from transporting or delivering an individual to ICE/CBP custody from
          a traffic stop unless a request to do so has been voluntarily made by the individual; and
       h. require that, before any questioning as to alienage or immigration status or any contact
          with ICE/CBP is initiated, an officer checks with a Supervisor to ensure that the
          circumstances justify such an action under MCSO policy and receive approval to proceed.
          Officers must also document, in every such case, (a) the reason(s) for making the
          immigration-status inquiry or contacting ICE/CBP, (b) the time approval was received, (c)
          when ICE/CBP was contacted, (d) the time it took to receive a response from ICE/CBP, if
          applicable, and (e) whether the individual was then transferred to ICE/CBP custody.

MCSO remains in Full and Effective Compliance with Paragraph 28.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


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Paragraph 29. MCSO Policies and Procedures shall define terms clearly, comply with applicable law
and the requirements of this Order, and comport with current professional standards.

MCSO remains in Full and Effective Compliance with Paragraph 29.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 30. Unless otherwise noted, the MCSO shall submit all Policies and Procedures and
amendments to Policies and Procedures provided for by this Order to the Monitor for review within 90
days of the Effective Date pursuant to the process described in Section IV. These Policies and
Procedures shall be approved by the Monitor or the Court prior to their implementation.

MCSO remains in Full and Effective Compliance with Paragraph 30.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 31. Within 60 days after such approval, MCSO shall ensure that all relevant MCSO Patrol
Operation Personnel have received, read, and understand their responsibilities pursuant to the Policy
or Procedure. The MCSO shall ensure that personnel continue to be regularly notified of any new
Policies and Procedures or changes to Policies and Procedures. The Monitor shall assess and report
to the Court and the Parties on whether he/she believes relevant personnel are provided sufficient
notification of, and access to, and understand each policy or procedure as necessary to fulfill their
responsibilities.

MCSO remains in Full and Effective Compliance with Paragraph 31.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 32. The MCSO shall require that all Patrol Operation personnel report violations of policy;
that Supervisors of all ranks shall be held accountable for identifying and responding t o policy or
procedure violations by personnel under their command; and that personnel be held accountable for
policy and procedure violations. The MCSO shall apply policies uniformly.

MCSO is in Phase 1 compliance with Paragraph 32. Based on the Monitor’s 33rd Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO continues to object to the method of assessment utilized by the Monitor for compliance with
Paragraph 32 because it far exceeds the actual requirements of Paragraph 32, and instead imports
requirements from other Paragraphs. MCSO requests the assessment methodology for Paragraph 32

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be limited to the specific requirements of this Paragraph and not include requirements specifically
addressed in other Paragraphs.

Paragraph 32 requires that (1) patrol personnel report policy violations; (2) Supervisors are held
accountable for identifying and responding to violations; (3) personnel are held accountable for
violations; and (4) policies are applied uniformly. Yet the Monitor assesses compliance with this
Paragraph by scrutinizing completed misconduct investigations involving patrol Deputies, and
determining whether those investigations met the requirements of other Paragraphs that specifically
govern misconduct investigations. As a result of this approach, the Monitor’s methodology
inappropriately lumps the requirements of several Paragraphs together and applies the same analysis to
all of the Paragraphs, instead of addressing the specific requirements in each Paragraph individually.
A more appropriate method of assessment would be for the Monitor to assess the requirements in
Paragraph 32 alone, and not apply far-reaching assessments of the entire case file when assessing
Paragraph 32.

Finally, MCSO acknowledges the concerns raised by the Monitor regarding district internal
investigations and the associated challenges of completing these investigations in compliance with the
Court’s Orders. MCSO leadership recognizes there are serious problems that need to be solved with
district investigations for those investigations to be properly completed. Beginning March 1, 2022, the
assignment of new internal investigations outside of PSB was suspended. During this quarter, under
the authority of the Court’s Third Order, the Monitor began assigning new investigations to the districts
for investigations. These new investigative assignments began after November 8, 2022, and are in
addition to the previously assigned investigations the Districts have not yet completed. MCSO
disagrees with the Monitor’s decision to assign new cases to the Districts for investigation , but it will
make every effort to successfully complete those cases as assigned by the Monitor.


Paragraph 33. MCSO Personnel who engage in Discriminatory Policing in any context will be
subjected to administrative Discipline and, where appropriate, referred for criminal prosecution.
MCSO shall provide clear guidelines, in writing, regarding the disciplinary consequences for
personnel who engage in Discriminatory Policing.

MCSO is in Phase 1 compliance with Paragraph 33. Based on the Monitor’s 33rd Quarterly
Report, MCSO is not in Phase 2 compliance.

Of the three cases the Monitor reviewed for compliance with Paragraph 33 during the last quarter, all
three investigations were properly investigated, and the Monitor Team agreed with the findings. Only
one case complied with the timeline requirements. MCSO continues to work to address timeline issues.


Paragraph 34. MCSO shall review each policy and procedure on an annual basis to ensure that the
policy or procedure provides effective direction to MCSO Personnel and remains consistent with this
Order, current law and professional standards. The MCSO shall document such annual review in
writing. MCSO also shall review Policies and Procedures as necessary upon notice of a policy
deficiency during audits or reviews. MCSO shall revise any deficient policy as soon as practicable.

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MCSO remains in Full and Effective Compliance with Paragraph 34.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 5: Pre-Planned Operations

General comments regarding Pre-Planned Operations:

MCSO did not conduct any Significant Operations during this reporting period.

The requirements of conducting Pre-Planned Operations as outlined in these Paragraphs have been
fully adopted by MCSO in Policy GJ-33, the Special Investigations Division (SID) Operations Manual,
and the CID Operations Manual. MCSO has demonstrated through practice and implementation of
policy and operations manuals that it is committed to conducting Significant Operations in accordance
with these recognized and adopted procedures.

MCSO remains in Full and Effective Compliance with all Paragraphs in Section 5, Pre-Planned
Operations.


Paragraph 35. The Monitor shall regularly review the mission statement, policies and operations
documents of any Specialized Unit within the MCSO that enforces Immigration -Related Laws to ensure
that such unit(s) is/are operating in accordance with the Constitution, the laws of the United States and
State of Arizona, and this Order.

MCSO remains in Full and Effective Compliance with Paragraph 35.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 36. The MCSO shall ensure that any Significant Operations or Patrols are initiated and
carried out in a race-neutral fashion. For any Significant Operation or Patrol involving 10 or more
MCSO personnel, excluding Posse Members, the MCSO shall develop a written protocol including a
statement of the operational motivations and objectives, parameters for supporting documentation that
shall be collected, operations plans, and provide instructions to supervisors, deputies and posse
members. That written protocol shall be provided to the Monitor in advance of any Significant
Operation or Patrol.

MCSO remains in Full and Effective Compliance with Paragraph 36.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 37. The MCSO shall submit a standard template for operations plans and standard
instructions for supervisors, deputies and posse members applicable to all Significan t Operations or
Patrols to the Monitor for review pursuant to the process described in Section IV within 90 days of the
Effective Date. In Exigent Circumstances, the MCSO may conduct Significant Operations or Patrols

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during the interim period, but such patrols shall be conducted in a manner that is in compliance with
the requirement of this Order. Any Significant Operations or Patrols thereafter must be in accordance
with the approved template and instructions.

MCSO remains in Full and Effective Compliance with Paragraph 37.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


(Note: Amendments to Paragraphs 38 and 39 were ordered on August 03, 2017. See Doc. 2100.)

Paragraph 38. If the MCSO conducts any Significant Operations or Patrols involving 10 or more
MCSO Personnel excluding posse members, it shall create the following documentation and provide it
to the Monitor and Plaintiffs within 30 days after the operation:

       a. documentation of the specific justification/reason for the operation, certified as drafted
          prior to the operation (this documentation must include analysis of relevant, reliable, and
          comparative crime data);
       b. information that triggered the operation and/or selection of the particular site for the
          operation;
       c. documentation of the steps taken to corroborate any information or intelligence received
          from non-law enforcement personnel;
       d. documentation of command staff review and approval of the operation and operations
          plans;
       e. a listing of specific operational objectives for the patrol;
       f. documentation of specific operational objectives and instructions as communicated to
          participating MCSO Personnel;
       g. any operations plans, other instructions, guidance or post-operation feedback or debriefing
          provided to participating MCSO Personnel;
       h. a post-operation analysis of the patrol, including a detailed report of any significant events
          that occurred during the patrol;
       i. arrest lists, officer participation logs and records for the patrol; and
       j. data about each contact made during the operation, including whether it resulted in a
          citation or arrest.

MCSO remains in Full and Effective Compliance with Paragraph 38.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 39. The MCSO shall hold a community outreach meeting no more than 40 days a fter any
Significant Operations or Patrols in the affected District(s). MCSO shall work with the Community
Advisory Board to ensure that the community outreach meeting adequately communicates information


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regarding the objectives and results of the operation or patrol. The community outreach meeting shall
be advertised and conducted in English and Spanish.

MCSO remains in Full and Effective Compliance with Paragraph 39.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 40. The MCSO shall notify the Monitor and Plaintiffs within 24 hours of any immig ration
related traffic enforcement activity or Significant Operation involving the arrest of 5 or more people
unless such disclosure would interfere with an on-going criminal investigation in which case the
notification shall be provided under seal to the Court, which may determine that disclosure to the
Monitor and Plaintiffs would not interfere with an on-going criminal investigation. In any event, as
soon as disclosure would no longer interfere with an on -going criminal investigation, MCSO shall
provide the notification to the Monitor and Plaintiffs. To the extent that it is not already covered above
by Paragraph 38, the Monitor and Plaintiffs may request any documentation related to such activity
as they deem reasonably necessary to ensure compliance with the Court’s orders.

MCSO remains in Full and Effective Compliance with Paragraph 40.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 6: Training

General Comments Regarding Training

In this quarter, MCSO Training Division continued work on providing relevant and meaningful training
that meets the requirements of the Court’s Orders. MCSO Training developed a reference guide to
assist the Monitor, Parties, and others to view all the different Court Order-Related Training as a holistic
training regimen. It is included as Appendix 1 to this Report.

In this quarter, MCSO Training Division published the following Briefing Boards on TheHUB covering
the following MCSO Policies:

 •   Brf   2251   - Policy Publication DJ-3
 •   Brf   2252   - Policy Change GJ-5
 •   Brf   2253   - Policy Publication DH-9, DP-1
 •   Brf   2254   - Policy Publication GD-21
 •   Brf   2255   - Policy Publication CP-8
 •   Brf   2256   - Policy Publication GH-2, GJ-2, GJ-11
 •   Brf   2257   - Policy Publication EA-17
 •   Brf   2258   - Policy Publication GC-12, GC-17, GG-1, GG-2
 •   Brf   2259   - Policy Publication CP-5
 •   Brf   2260   - Policy Change EA-17
 •   Brf   2261   - Policy Publication EJ-2
 •   Brf   2262   - Policy Publication GC-3
 •   Brf   2263   - Policy Change GC-20 GJ-27
 •   Brf   2264   - Special Briefing Board - Information Every Employee Needs to Know
 •   Brf   2265   - Policy Change DO-1

Constitutional Policing Plan:

 •   CPP Roll Call Briefing on Cultural Competency was disseminated in the previous quarter with a
     due date of 12/31/22. MCSO Training Division monitored completion compliance.
 •   CPP Captain’s Meeting on Implicit Bias was also disseminated in the previous quarter with a due
     date of 10/31/22. Completion compliance was also monitored.
 •   CPP Enhanced Training Gila Bend for 2022 was previewed by the Monitor Team and Parties on
     10/11/22 and forwarded for review and approval on 10/12/22. This training was approved on
     11/30/2022.

ACT classes continued into October, with one make-up class 10/31/22.

All 2023 video library and talking points were approved on 10/01/22, which brings the number of
videos in the training video library related to Court Ordered Topics to 39.

SRELE Instructors were approved on 10/10/22 and Train-The-Trainer was held on 10/14/22 with all
sessions of SRELE, completed by 11/03/22.

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Instructors for EEPM Phase 2 were approved on 10/10/22 and Train-The-Trainer was held on 10/14/22,
all sessions completed by 11/03/22.

2022 PSB-8 External went through revisions and updates by the Training Division CORT Unit which
were completed by 10/07/22 and submitted for approval on 10/12/22. Following further edits, the
materials for PSB-8 External were submitted a second time on 11/09/2022, with a confirmation review
submitted on 11/30/2022. Approval was received on 12/05/2022.

Office Policies GG-1 Peace Officer Training Administration, and GG-2 Detention-Civilian Training
Administration were sent to the Court Implementation Division for dissemination to the Monitoring
Team for review and approval following updates to procedures regarding Professional Standard Bureau
checks on Field Training Officers. The policies were received as approved on 11/01/2022.


Paragraph 42. The persons presenting this Training in each area shall be competent instructors with
significant experience and expertise in the area. Those presenting Training on legal matters shall also
hold a law degree from an accredited law school and be admitted to a Bar of any state and/or the
District of Columbia.

MCSO is in Phase 1 compliance with Paragraph 42. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO acknowledges the concerns raised by the Monitor regarding compliance with the requirements
of GG-1: Peace Officer Training Administration as it pertains to Field Training Officer (FTO)
designations. Addressing these issues is a high priority for MCSO and the Training Division is
evaluating how best to ensure compliance with the requirements of policy and the Court’s Orders. In
this quarter, MCSO updated language in policies GG-1 and GG-2 relating to how PSB checks are
conducted on FTOs. This new language moves from a check performed within 14 days of FTO
designation to a quarterly check system. Those policies were submitted to the Monitor, approved and
published in this quarter. MCSO anticipates that this policy change will enable MCSO to correct the
previous compliance problems relevant to this Paragraph.

In this quarter, Training did seven instructor observations of classes.


Paragraph 43. The Training shall include at least 60% live training (i.e., with a live instructor), which
includes an interactive component, and no more than 40% on -line training. The Training shall also
include testing and/or writings that indicate that MCSO Personnel taking the Training comprehend the
material taught whether via live training or via on-line training.

MCSO remains in Full and Effective Compliance with Paragraph 43.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).




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Paragraph 44. Within 90 days of the Effective Date, MCSO shall set out a schedule for delivering all
Training required by this Order. Plaintiffs’ Representative and the Monitor shall be provided with the
schedule of all Trainings and will be permitted to observe all live trainings and all online training.
Attendees shall sign in at each live session. MCSO shall keep an up-to-date list of the live and on-line
Training sessions and hours attended or viewed by each officer and Supervisor and make that available
to the Monitor and Plaintiffs.

MCSO remains in Full and Effective Compliance with Paragraph 44.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820 -1).


Paragraph 45. The Training may incorporate adult-learning methods that incorporate roleplaying
scenarios, interactive exercises, as well as traditional lecture formats.

MCSO remains in Full and Effective Compliance with Paragraph 45.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 46. The curriculum and any materials and information on the proposed instructors for the
Training provided for by this Order shall be provided to th e Monitor within 90 days of the Effective
Date for review pursuant to the process described in Section IV. The Monitor and Plaintiffs may
provide resources that the MCSO can consult to develop the content of the Training, including names
of suggested instructors.

MCSO remains in Full and Effective Compliance with Paragraph 46.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 47. MCSO shall regularly update the Training to keep up with developments in the law
and to take into account feedback from the Monitor, the Court, Plaintiffs and MCSO Personnel.

MCSO remains in Full and Effective Compliance with Paragraph 47.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 48. The MCSO shall provide all sworn Deputies, including Supervisors and chiefs, as well
as all posse members, with 12 hours of comprehensive and interdisciplinary Training on bias -free


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policing within 240 days of the Effective Date, or for new Deputies or posse members, within 90 days
of the start of their service, and at least 6 hours annually thereafter .

MCSO remains in Full and Effective Compliance with Paragraph 48.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764-1).


Paragraph 49. The Training shall incorporate the most current developments in federal and Arizona
law and MCSO policy, and shall address or include, at a minimum:

       a. definitions of racial profiling and Discriminatory Policing;
       b. examples of the type of conduct that would constitute Discriminatory Policing as well as
          examples of the types of indicators Deputies may properly rely upon;
       c. the protection of civil rights as a central part of the police mission and as essential to
          effective policing;
       d. an emphasis on ethics, professionalism and the protection of civil rights as a central part
          of the police mission and as essential to effective policing;
       e. constitutional and other legal requirements related to equal protection, unlawful
          discrimination, and restrictions on the enforcement of Immigration -Related Laws, including
          the requirements of this Order;
       f. MCSO policies related to Discriminatory Policing, the enforcement of Immigration-
          Related Laws and traffic enforcement, and to the extent past instructions to personnel on
          these topics were incorrect, a correction of any misconceptions about the law or MCSO
          policies;
       g. MCSO’s protocol and requirements for ensuring that any significant pre-planned
          operations or patrols are initiated and carried out in a race -neutral fashion;
       h. police and community perspectives related to Discriminatory Policing;
       i. the existence of arbitrary classifications, stereotypes, and implicit bias, and the impact that
          these may have on the decision-making and behavior of a Deputy;
       j. methods and strategies for identifying stereotypes and implicit bias in Deputy decision-
          making;
       k. methods and strategies for ensuring effective policing, including reliance solely on non-
          discriminatory factors at key decision points;
       l. methods and strategies to reduce misunderstanding, resolve and/or de -escalate conflict,
          and avoid Complaints due to perceived police bias or discrimination;
       m. cultural awareness and how to communicate with individuals in commonly encountered
          scenarios;
       n. problem-oriented policing tactics and other methods for improving public safety and crime
          prevention through community engagement;
       o. the benefits of actively engaging community organizations, including those serving youth
          and immigrant communities;
       p. the MCSO process for investigating Complaints of possible misconduct and the disciplinary
          consequences for personnel found to have violated MCSO policy;
       q. background information on the Melendres v. Arpaio litigation, as well as a summary and
          explanation of the Court’s May 24, 2013 Findings of Fact and Conclusions of Law in
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          Melendres v. Arpaio, the parameters of the Court’s permanent injunction, and the
          requirements of this Order; and
       r. Instruction on the data collection protocols and reporting requirements of this Orde r.

MCSO remains in Full and Effective Compliance with Paragraph 49.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 50. In addition to the Training on bias-free policing, the MCSO shall provide all sworn
personnel, including Supervisors and chiefs, as well as all posse members, with 6 hours of Training on
the Fourth Amendment, including on detentions, arrests and the enforc ement of Immigration-Related
Laws within 180 days of the effective date of this Order, or for new Deputies or posse members, within
90 days of the start of their service. MCSO shall provide all Deputies with 4 hours of Training each
year thereafter.

MCSO remains in Full and Effective Compliance with Paragraph 50.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 51. The Training shall incorporate the most current developments in federal and Arizona
law and MCSO policy, and shall address or include, at a minimum:

       a. an explanation of the difference between various police contacts according to the level of
          police intrusion and the requisite level of suspicion; the difference between reasonable
          suspicion and mere speculation; and the difference between voluntary consent and mere
          acquiescence to police authority;
       b. guidance on the facts and circumstances that should be considered in initiating, expanding
          or terminating an Investigatory Stop or detention;
       c. guidance on the circumstances under which an Investigatory Detention can become an
          arrest requiring probable cause;
       d. constitutional and other legal requirements related to stops, detentions and arrests, and the
          enforcement of Immigration-Related Laws, including the requirements of this Order;
       e. MCSO policies related to stops, detentions and arrests, and the enforcement of
          Immigration-Related Laws, and the extent to which past instructions to personnel on these
          topics were incorrect, a correction of any misconceptions about the law or EMCSO policies;
       f. the circumstances under which a passenger may be questioned or asked for identification;
       g. the forms of identification that will be deemed acceptable if a driver or passenger (in
          circumstances where identification is required of them) is unable to present an Arizona
          driver’s license;
       h. the circumstances under which an officer may initiate a vehicle sto p in order to investigate
          a load vehicle;
       i. the circumstances under which a Deputy may question any individual as to his/her alienage
          or immigration status, investigate an individual’s identity or search the individual in order

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            to develop evidence of unlawful status, contact ICE/CBP, await a response from ICE/CBP
            and/or deliver an individual to ICE/CBP custody;
       j.   a discussion of the factors that may properly be considered in establishing reasonable
            suspicion or probable cause to believe that a vehicle or an individual is involved in an
            immigration-related state crime, such as a violation of the Arizona Human Smuggling
            Statute, as drawn from legal precedent and updated as necessary; the factors shall not
            include actual or apparent race or ethnicity, speaking Spanish, speaking English with an
            accent, or appearance as a Hispanic day laborer;
       k.   a discussion of the factors that may properly be considered in establishing reasonable
            suspicion or probable cause that an individual is in the country unlawfully, as d rawn from
            legal precedent and updated as necessary; the factors shall not include actual or apparent
            race or ethnicity, speaking Spanish, speaking English with an accent, or appearance as a
            day laborer;
       l.   an emphasis on the rule that use of race or ethnicity to any degree, except in the case of a
            reliable, specific suspect description, is prohibited;
       m.   the MCSO process for investigating Complaints of possible misconduct and the disciplinary
            consequences for personnel found to have violated MCSO policy;
       n.   provide all trainees a copy of the Court’s May 24, 2013 Findings of Fact and Conclusions
            of Law in Melendres v. Arpaio and this Order, as well as a summary and explanation of the
            same that is drafted by counsel for Plaintiffs or Defendants and reviewed by the Monitor or
            the Court; and
       o.   Instruction on the data collection protocols and reporting requirements of this Order,
            particularly reporting requirements for any contact with ICE/CBP.

MCSO remains in Full and Effective Compliance with Paragraph 51.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 52. MCSO shall provide Supervisors with comprehensive and interdisciplinary Training
on supervision strategies and supervisory responsibilities under the Order. MCSO shall provide an
initial mandatory supervisor training of no less than 6 hours, which shall be completed prior to
assuming supervisory responsibilities or, for current MCSO Supervisors, within 180 days of the
Effective Date of this Order. In addition to this initial Supervisor Training, MCSO shall require each
Supervisor to complete at least 4 hours of Supervisor-specific Training annually thereafter. As needed,
Supervisors shall also receive Training and updates as required by changes in pertinent developments
in the law of equal protection, Fourth Amendment, the enforcement of Immigration -Related Laws, and
other areas, as well as Training in new skills.

MCSO remains in Full and Effective Compliance with Paragraph 52.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 28th Quarterly Report (Doc. 2665 -1).



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Paragraph 53. The Supervisor-specific Training shall address or include, at a minimum:

      a. techniques for effectively guiding and directing Deputies, and promoting effective and
         constitutional police practices in conformity with the Policies and Procedures in
         Paragraphs 18-34 and the Fourth and Fourteenth Amendment Training in Paragraphs 48-
         51;
      b. how to conduct regular reviews of subordinates;
      c. operation of Supervisory tools such as EIS;
      d. evaluation of written reports, including how to identify conclusory, “canned, ” or
         perfunctory language that is not supported by specific facts;
      e. how to analyze collected traffic stop data, audio and visual recordings, and patrol data to
         look for warning signs or indicia of possible racial profiling or unlawful conduct;
      f. how to plan significant operations and patrols to ensure that they are race-neutral and how
         to supervise Deputies engaged in such operations;
      g. incorporating integrity-related data into COMSTAT reporting;
      h. how to respond to calls from Deputies requesting permission to pro ceed with an
         investigation of an individual’s immigration status, including contacting ICE/CBP;
      i. how to respond to the scene of a traffic stop when a civilian would like to make a Complaint
         against a Deputy;
      j. how to respond to and investigate allegations of Deputy misconduct generally;
      k. evaluating Deputy performance as part of the regular employee performance evaluation;
         and
      l. building community partnerships and guiding Deputies to do the Training for Personnel
         Conducting Misconduct Investigations.

MCSO remains in Full and Effective Compliance with Paragraph 53.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 28th Quarterly Report (Doc. 2665 -1).




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Section 7: Traffic Stop Documentation and Data Collection
General Comments regarding Traffic Stop Documentation and Data Collection

The documentation and collection of traffic stop data is the foundation of much of the analysis and
follow up that is done under the Court’s Orders to identify, prevent, and correct potentially biased
policing. MCSO has a complex and thorough system for capturing traffic stop data for the uses
prescribed in the Court’s Orders, checking the quality of data that is collected and cleaning the data as
necessary to use it for analysis. MCSO has also established a research unit within BIO that has greatly
enhanced its in-house analytical capabilities. The traffic stop data is used for routine Supervisor
reviews, as well as monthly, quarterly, and annual reports as required by the Court’s Orders. A list of
traffic stop studies completed through the end of this quarter is included in Appendix 2 to this Report.


Paragraph 54. Within 180 days of the Effective Date, MCSO shall develop a system to ensure that
Deputies collect data on all vehicle stops, whether or not they result in the issuance of a citation or
arrest. This system shall require Deputies to document, at a minimum:

       a. the name, badge/serial number, and unit of each Deputy and posse member involved;
       b. the date, time and location of the stop, recorded in a format that can be subject to
          geocoding;
       c. the license plate state and number of the subject vehicle;
       d. the total number of occupants in the vehicle;
       e. the Deputy’s subjective perceived race, ethnicity and gender of the driver and any
          passengers, based on the officer’s subjective impression (no inquiry into an occupant’s
          ethnicity or gender is required or permitted);
       f. the name of any individual upon whom the Deputy runs a license or warrant c heck
          (including subject’s surname;
       g. an indication of whether the Deputy otherwise contacted any passengers, the nature of the
          contact, and the reasons for such contact;
       h. the reason for the stop, recorded prior to contact with the occupants of the stopped vehicle,
          including a description of the traffic or equipment violation observed, if any, and any
          indicators of criminal activity developed before or during the stop;
       i. time the stop began; any available data from the E-Ticketing system regarding the time any
          citation was issued; time a release was made without citation; the time any arrest was made;
          and the time the stop/detention was concluded either by citation, release, or transport of a
          person to jail or elsewhere or Deputy’s departure from the sc ene;
       j. whether any inquiry as to immigration status was conducted and whether ICE/CBP was
          contacted, and if so, the facts supporting the inquiry or contact with ICE/CBP, the time
          Supervisor approval was sought, the time ICE/CBP was contacted, the time it too k to
          complete the immigration status investigation or receive a response from ICE/CBP, and
          whether ICE/CBP ultimately took custody of the individual;
       k. whether any individual was asked to consent to a search (and the response), whether a
          probable cause search was performed on any individual, or whether a pat-and-frisk search
          was performed on any individual;


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       l. whether any contraband or evidence was seized from any individual, and nature of the
          contraband or evidence; and
       m. the final disposition of the stop, including whether a citation was issued or an arrest was
          made or a release was made without citation.

MCSO is in Phase 1 compliance with Paragraph 54. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

There are 13 subparagraph requirements for Paragraph 54, a through m. In the Monitor’s most recent
quarterly report, he rated MCSO as “Not in Compliance” for Subparagraphs 54.g and l.

Paragraph 54.g requires an indication of whether the Deputy otherwise contacted any passengers, the
nature of the contact, and the reasons for such contact. MCSO has taken additional steps, described in
its 30th Quarterly Report, to improve compliance with the requirements regarding the use of the Vehicle
Stop Contact Form (VSCF) to document passenger contacts and provide related receipts. Additionally,
MCSO is exploring the development of a SharePoint reporting mechanism for Patrol Divisions to verify
that passengers contacted during traffic stops were issued the appropria te documentation.

In January 2022, the Audit and Inspections Unit (AIU) began conducting monthly inspections related
to compliance with Paragraph 54.g. Those inspection results are published on the MCSO/BIO website.
The compliance rating for the fourth quarter 2022 based on the AIU inspections exceeded 94%, with a
compliance rating of 100% in October, 98.63% in November, and 100% in December.

Paragraph 54.l addresses the seizure of contraband. This is also now the subject of a monthly inspection
by AIU. MCSO’s efforts have led to a substantial increase in compliance—as assessed by the Monitor,
MCSO’s compliance rating for this Subparagraph improved from 73% in the last quarter of 2021 to
92% in the first quarter of 2022. According to the Monitor, in the third quarter of 2022, MCSO’s
compliance rating improved to 93%. MCSO’s inspection reports for this quarter show a compliance
rating of 95.15% in October, 96.18% in November, and 96.69% in December.


Paragraph 55. MCSO shall assign a unique ID for each incident/stop so that any other documentation
(e.g., citations, incident reports, two forms) can be linked back to the stop.

MCSO remains in Full and Effective Compliance with Paragraph 55.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 56. The traffic stop data collection system shall be subject to regular audits a nd quality
control checks. MCSO shall develop a protocol for maintaining the integrity and accuracy of the traffic
stop data, to be reviewed by the Monitor pursuant to the process described in Section IV.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 56.


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MCSO has been in compliance with this Paragraph since September 30, 2021.


Paragraph 57. MCSO shall explore the possibility of relying on the CAD and/or MDT systems to check
if all stops are being recorded and relying on on -person recording equipment to check whether
Deputies are accurately reporting stop length. In addition, MCSO shall implement a system for
Deputies to provide motorists with a copy of non-sensitive data recorded for each stop (such as a
receipt) with instructions for how to report any inaccuracies the motorist believes are in the data, which
can then be analyzed as part of any audit. The receipt will be provided to motorists even if the stop
does not result in a citation or arrest.

MCSO remains in Full and Effective Compliance with Paragraph 57.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 58. The MCSO shall ensure that all databases containing individual-specific data comply
with federal and state privacy standards governing personally identifiable information. MCSO shall
develop a process to restrict database access to authorized, identified users who are accessing the
information for a legitimate and identified purpose as defined by the Parties. If the Parties cannot
agree, the Court shall make the determination.

MCSO remains in Full and Effective Compliance with Paragraph 58.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 59. Notwithstanding the foregoing, the MCSO shall provide full access to the collected
data to the Monitor and Plaintiffs’ representatives, who shall keep any personal identifying information
confidential. Every 180 days, MCSO shall provide the traffic stop data collected up to that date to the
Monitor and Plaintiffs’ representatives in electronic form. If proprietary software is necessary to view
and analyze the data, MCSO shall provide a copy of the same. If the Monitor or the Parties wish to
submit data with personal identifying information to the Court, they shall provide the personally
identifying information under seal.

MCSO remains in Full and Effective Compliance with Paragraph 59.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 60. Within one year of the Effective Date, the MCSO shall develop a system by which
Deputies can input traffic stop data electronically. Such electronic data system shall have the
capability to generate summary reports and analyses, and to conduct searches and queries. MCSO

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will explore whether such data collection capability is possible through the agency’s existing CAD and
MDT systems, or a combination of the CAD and MDT systems with a new data collection system. Data
need not all be collected in a single database; however, it should be collected in a format that can be
efficiently analyzed together. Before developing an electronic system, the MCSO may collect data
manually but must ensure that such data can be entered into the electronic system in a timely and
accurate fashion as soon as practicable.

MCSO remains in Full and Effective Compliance with Paragraph 60.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 61. The MCSO will issue functional video and audio recording equipment to all patrol
deputies and sergeants who make traffic stops, and shall commence regular operation and maintenance
of such video and audio recording equipment. Such issuance must be complete within 120 days of the
approval of the policies and procedures for the operation, maintenance, and data storage for such on-
person body cameras and approval of the purchase of such equipment and related contracts by the
Maricopa County Board of Supervisors. Subject to Maricopa County code and the State of Arizona’s
procurement law, The Court shall choose the vendor for the video and audio recording equipment if
the Parties and the Monitor cannot agree on one.

MCSO remains in Full and Effective Compliance with Paragraph 61.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 62. Deputies shall turn on any video and audio recording equipment as soon as the decision
to initiate the stop is made and continue recording through the end of the stop. MCSO shall repair or
replace all non-functioning video or audio recording equipment, as necessary for reliable functioning.
Deputies who fail to activate and to use their recording equipment according to MCSO policy or notify
MCSO that their equipment is nonfunctioning within a reasonable time shall be subject to Discipline.

MCSO remains in Full and Effective Compliance with Paragraph 62.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional informa tion,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848-1).


Paragraph 63. MCSO shall retain traffic stop written data for a minimum of 5 years after it is created,
and shall retain in-car camera recordings for a minimum of 3 years unless a case involving the traffic
stop remains under investigation by the MCSO or the Monitor, or is the subject of a Notice of Claim,
civil litigation or criminal investigation, for a longer period, in which case the MCSO shall maintain
such data or recordings for at least one year after the final disposition of the matter, including appeals.
MCSO shall develop a formal policy, to be reviewed by the Monitor and the Parties pursuant to the

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process described in Section IV and subject to the District Court, to govern proper use of the on -person
cameras; accountability measures to ensure compliance with the Court’s orders, including mandatory
activation of video cameras for traffic stops; review of the camera recordings; responses to public
records requests in accordance with the Order and governing law; and privacy protections. The MCSO
shall submit such proposed policy for review by the Monitor and Plaintiff’s counsel within 60 days of
the Court’s issuance of an order approving the use of on-body cameras as set forth in this stipulation.
The MCSO shall submit a request for funding to the Maricopa County Board of Supervisors within 45
days of the approval by the Court or the Monitor of such policy and the equipment and vendor(s) for
such on- body cameras.

MCSO remains in Full and Effective Compliance with Paragraph 63.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 64. Within 180 days of the Effective Date, MCSO shall develop a protocol for periodic
analysis of the traffic stop data described above in Paragraphs 54 to 59 (“collected traffic stop data”)
and data gathered for any Significant Operation as described in this Order (“collected patrol data”)
to look for warning signs or indicia or possible racial profiling or other improper conduct under this
Order.

Based on the Monitor’s 33rd Quarterly Report, MCSO is not in Phase 1 or Phase 2 compliance
with Paragraph 64.

Phase 1: The TSAU Operations Manual has been finalized and approved. MCSO notes that the
Monitor’s 33rd Quarterly Report refers to the EIU Operations Manual. As explained in MCSO’s 3 1st
Quarterly Report, while the EIU Operations Manual and the TSAU Operations Manual used to be a
single manual, they have since been separated into two separate manuals. Regardless, in this quarter,
the Monitor approved the TSAU Operations Manual and the TSMR guiding documents, the TSAU
SRELE training component, and the Post-Pilot TSMR training. As such, MCSO asserts that it is in
Phase 1 compliance with this Paragraph.

Phase 2: MCSO’s analysis of traffic stop data continues to be a priority. To date, MCSO has produced
seven (7) Traffic Stop Annual Analysis Reports, nine (9) Quarterly Reports, and has been implementing
the TSMR pilot since April 2021. In this quarter, MCSO completed its ninth Traffic Stop Quarterly
Report which analyzed special assignments. This quarter, MCSO also concluded the TSMR pilot and
continued to conduct the TSMR outside the pilot program. The Monitor has indicated that Phase 2
compliance requires that MCSO demonstrate ongoing use of the methodologies established for Phase 1.
MCSO asserts that it is in Phase 2 compliance with this Paragraph.


Paragraph 65. MCSO shall designate a group with the MCSO Implementation Unit, or other MCSO
Personnel working under the supervision of a Lieutenant or higher-ranked officer, to analyze the
collected data on a monthly, quarterly and annual basis, and report their findings to the Monitor and
the Parties. This review group shall analyze the data to look for possible individual-level, unit-level

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or systemic problems. Review group members shall not review or analyze collected traffic stop data
or collected patrol data relating to their own activities.

MCSO is in Phase 1 compliance with Paragraph 65. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO has the designated units committed to the analysis of traffic stop data as required by this
Paragraph. It also supplements its in-house capabilities with a consultant, CNA. MCSO has completed
seven (7) Traffic Stop Annual Reports, nine (9) Traffic Stop Quarterly Reports (the latest results of the
latest TSQR were published in December 2022), and has been preparing the Traffic Stop Monthly
Reports since April 2021 and completing the Deputy-level follow up that the TSMR process requires.
Using these different reports, MCSO has been developing and implementing strategies for follow up at
the individual, district, and office level and identif ying areas for further analysis. As it has been
implementing the TSMR, MCSO has continued to work with the Monitoring Team and the Parties to
explore potential improvements to the TSMR methodology.

Following its TSAR 7, MCSO held an office-wide briefing on the findings and published the report to
the MCSO-BIO website for public access. MCSO also published its results from TSQR 9, which
examined special assignments to better understand how they contribute to office-wide disparities.

MCSO has been using a statistical methodology to identify Deputy behavior at odds with its peers since
the TSMR pilot began in April 2021. The methodology remained consistent through this quarter.
Throughout the process, MCSO has used a methodology designed to identify outlier Deputies based
on traffic stop outcomes and driver race and ethnicity. MCSO is performing the work required by this
Paragraph.

The Monitor indicated that MCSO would achieve Phase 2 compliance with this Paragraph when “the
TSMR process moves from its pilot phase to fully operational, including the finalization of appropriate
guiding documents.” Monitor’s 34th Quarterly Report (Doc. 2869) at 79. In this quarter, the TSMR
pilot was formally concluded and the TSMR process is now continuing as part pf MCSO’s day to day
operations. As such, MCSO asserts that it is now in Phase 2 compliance with this Paragraph.


Paragraph 66. MCSO shall conduct one agency-wide comprehensive analysis of the data per year,
which shall incorporate analytical benchmarks previously reviewed by the Monitor pursuant to the
process described in Section IV. The benchmarks may be derived from the EIS or IA-PRO system,
subject to Monitor approval. The MCSO may hire or contract with an outside entity to conduct this
analysis. The yearly comprehensive analysis shall be made available to the public and at no cost to
the Monitor and Plaintiffs.

MCSO asserts full and effective compliance with the requirements of Paragraph 66 in accordance
with Paragraph 13.

MCSO asserts that it has been in compliance with the requirements of Paragraph 66 for at least three
consecutive years. Phase 1 and Phase 2 compliance with Paragraph 66 was first achieved on December


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31, 2019. MCSO achieved three consecutive years of Phase 1 and Phase 2 compliance with this
Paragraph on December 31, 2022.

Phase 1 compliance with the requirements of this Paragraph is demon strated by EB-2 (Traffic Stop
Data Collection), most recently revised on June 15, 2021; GH-4 (Bureau of Internal Oversight Audits
and Inspections), most recently revised on February 24, 2021; and GH-5 (Early Identification System),
most recently revised on December 21, 2021.

Phase 2 compliance with the requirements of this Paragraph is demonstrated by the Monitor’s review
of MCSO’s seven TSARs.


Paragraph 67. In this context, warning signs or indicia of possible racial profiling or other misconduct
include, but are not limited to:

       a. racial and ethnic disparities in deputies’, units’ or the agency’s traffic stop patterns,
          including disparities or increases in stops for minor traffic violations, arrests following a
          traffic stop, and immigration status inquiries, that cannot be explained by statistical
          modeling of race neutral factors or characteristics of deputies’ duties, or racial or ethnic
          disparities in traffic stop patterns when compared with data of deputies’ peers;
       b. evidence of extended traffic stops or increased inquiries/investigations where investigations
          involve a Latino driver or passengers;
       c. a citation rate for traffic stops that is an outlier when compared to data of a Deputy’s peers,
          or a low rate of seizure of contraband or arrests following searches and investigations;
       d. indications that deputies, units or the agency is not complying with the data collection
          requirements of this Order; and
       e. other indications of racial or ethnic bias in the exercise of official duties.

MCSO is in Phase 1 compliance with Paragraph 67. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

The Monitor has found MCSO in compliance with each subparagraph of Paragraph 67. However, it
has nevertheless withheld finding MCSO in Phase 2 compliance until MCSO “demonstrates a
consistent use of” the benchmarks relevant to this Paragraph “in both the TSAR and the TSMR.”
Monitor’s 32nd Quarterly Report (Doc. 2802 ) at 82. MCSO has satisfied this requirement. As detailed
elsewhere, MCSO has produced seven (7) TSARs, and the TSMR process has been successfully
conducted since April 2021. Further, in the previous quarter, the Monitor approved the TSAU
Operations Manual and TSMR guiding documents, the TSAU SRELE training component, and the
Post-Pilot TSMR training. In this quarter, the TSMR pilot was complete, and MCSO has integrated
the TSMR into its regular activities. MCSO has demonstrated a consistent use of the benchmarks
described. As such, MCSO asserts that it is in Phase 2 compliance with this Paragraph.


Paragraph 68. When reviewing collected patrol data, MCSO shall examine at least the following:

       a. the justification for the Significant Operation, the process for site selection, and the
          procedures followed during the planning and implementation of the Significant Operation;
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       b. the effectiveness of the Significant Operation as measured against the specific operational
          objectives for the Significant Operation, including a review of crime data before and after
          the operation;
       c. the tactics employed during the Significant Operation and whether they yielded the desired
          results;
       d. the number and rate of stops, Investigatory Detentions and arrests, and the documented
          reasons supporting those stops, detentions and arrests, overall and broken down by Deputy,
          geographic area, and the actual or perceived race and/or ethnicity and the surname
          information captured or provided by the persons stopped, detained or arrested;
       e. the resource needs and allocation during the Significant Operation; and
       f. any Complaints lodged against MCSO Personnel following a Significant Operation.

MCSO remains in Full and Effective Compliance with Paragraph 68.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 69. In addition to the agency-wide analysis of collected traffic stop and patrol data, MCSO
Supervisors shall also conduct a review of the collected data for the Deputies under his or her command
on a monthly basis to determine whether there are warning signs or indicia of possible racial profiling,
unlawful detentions and arrests, or improper enforcement of Immigration-Related Laws by a Deputy.
Each Supervisor will also report his or her conclusions based on such review on a monthly basis to a
designated commander in the MCSO Implementation Unit.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 69.

AIU establishes various systems for audits and inspections and other processes to help ensure
compliance with this Paragraph. As part of this effort, the AIU created a methodology for a Bio Action
Form (BAF) Tracking Study Inspection. The goal of the study is to identify trends found within the
AIU inspections, then recommend possible solutions for the Office, the divisions, and specific
Supervisors. During the first quarter of 2022, AIU received approval on the BAF Tracking Study
Inspection methodology. In this quarter, the BAF study was finalized and will be published in the
fourth quarter of 2022.

Supervisors are conducting the reviews and documentation that this Paragraph require s. Although
efforts to improve accountability are ongoing, the relevant data establishes that MCSO is complying
with the requirements of this Paragraph.


Paragraph 70. If any one of the foregoing reviews and analyses of the traffic stop data indicates that
a particular Deputy or unit may be engaging in racial profiling, unlawful searches or seizures, or
unlawful immigration enforcement, or that there may be systemic problems regarding any of the
foregoing, MCSO shall take reasonable steps to investig ate and closely monitor the situation.
Interventions may include but are not limited to counseling, Training, Supervisor ride -a-longs,
ordering changes in practice or procedure, changing duty assignments, Discipline, or of other
supervised, monitored, and documented action plans and strategies designed to modify activity. If the
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MCSO or the Monitor concludes that systemic problems of racial profiling, unlawful searches or
seizures, or unlawful immigration enforcement exist, the MCSO shall take appropriate steps at the
agency level, in addition to initiating corrective and/or disciplinary measures against the appropriate
Supervisor(s) or Command Staff. All interventions shall be documented in writing.

MCSO is in Phase 1 compliance with Paragraph 70. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO continues to implement the Constitutional Policing Plan (CPP) and continues its effort to
comply with Paragraph 70. The CPP was developed as an institutional bias remediation program to
implement Paragraph 70. The Court approved the CPP in 2019, and it consists of nine goals, two of
which (Goals 7 and 8) have previously been recognized as completed.

More generally, Paragraph 70 requires that MCSO address individual problems and broader systemic
problems with racial profiling, unlawful searches and seizures, or unlawful immigration enforcement.
The TSARs have consistently shown disparate traffic stop outcomes based on race, but the TSMRs,
TSARs, TSQRs and other accountability measures that are in place have not identified racial profiling,
systemic problems with unlawful searches and seizures, or unlawful immigration enforcement. MCSO
continues to analyze traffic stop data to better understand the nature and causes of the disparate
outcomes and identify and implement strategies to reduce those disparities. The TSARS and TSQRs
include recommendations for future traffic stop studies, modifications to forms, data collection and
methodologies for traffic stop studies, briefings and trainings within MCSO on issues identified in the
traffic stop studies, and community education and outreach. The TSMRs provide the opportunity to
address issues related to specific deputies that are identified in those monthly analyses. The ongoing
traffic stop studies and related follow up based on those studies should bring MCSO into compliance
with Paragraph 70’s requirements.

Likewise, MCSO’s ongoing work on CPP goals 1 through 6 and 9 should bring MCSO into compliance
with those goals. A review of the status of those CPP goals is below.

Goal 1 of the CPP involves implementing an effective Early Intervention System with supervisor
discussions. Some of this work is also related to Goal 6, which addresses improving traffic stop data
collection and analysis. The major work related to Goals 1 and 6 has involved the continued
implementation of TSMR process. The TSMR pilot has been completed, and the first post-pilot TSMR
reviews were conducted in this quarter. In the TSMR, every month, traffic stops for the previous 12
months are reviewed based on an approved statistical analysis. This statistical analysis identifies
specific deputies for a detailed review and, when appropriate, supervisory interventions to address
specific problems. The TSMR process is one part of MCSO’s comprehensive effort to prevent
potentially biased policing.

MCSO has also continued to produce the TSAR and TSQRs. As described above, the TSQRs and
TSARs include recommendations for follow up which is an important part of the work MCSO does to
use the information generated by the traffic studies.




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As part of Goal 1, a district liaison program was established to facilitate communications between the
districts and BIO. These liaisons have been used on an ongoing basis since 2019.

With the TSMR pilot completed, the work identified in Goal 1 is all part of MCSO’s ongoing
operations. While MCSO continues the ongoing work required by this Goal, it asserts that it is in
compliance with Goal 1.

Goal 2 involves evaluating Supervisor performance through an EPA process. In this quarter, MCSO
implemented the new performance management application to facilitate sworn employee performance
appraisals under GC-4(S), Employee Performance Management. System configuration related to
employee and position integrations become operational in conjunction with the County’s Workday
implementation in September 2022. After activating the data integrations, efforts in this quarter
focused on application support and monitoring the integration effectiveness. Integration development
of the final integration using data from the BlueTeam application, used by MCSO to record employee
performance data and other information, continued during the quarter. Prior configuration and testing
confirmed further application development is required in order to make supervisor notes readily
accessible to supervisors within the performance application. Simultaneously, MCSO staff finished the
development of training materials and delivered just-in-time phase 2 performance management training
to sworn supervisors on use of the new application to effectively manage and appraise employee
performance. By December 2022, training had concluded, which allowed supervisors to transition to
completing performance appraisals in the new application.
Now that MCSO has completed the training and transition to the new application, MCSO asserts that
it is in compliance with Goal 2. Further compliance issues related to the use of the new application
should be addressed in the specific Paragraphs that govern the use of EPAs, rather than this CPP goal.
MCSO will continue to improve the quality of EPAs.

Goal 3 addresses the delivery of enhanced implicit bias training. During this quarter, MCSO previewed
its training program focusing on the Town of Gila Bend in District 2 with the Monitoring team. The
Monitor approved that training in November 2022.

MCSO has been consistently providing the trainings required by Goal 3, and it will continue to do so.
Because of its work over the past several years to provide the trainings required by Goal 3, MCSO
asserts that it is in compliance with Goal 3.

Goal 4 addresses enhanced fair and impartial decision-making training. The Fair and Impartial
Decision-Making training is part of the 2022 ACT. The training was deployed in June, and one make-
up class was held in this quarter. Throughout this quarter, MCSO also worked to ensure that staff were
completing the cultural competency roll call briefing before the end of the year.

Finally, the videos and talking points for the 2023 additions to the Video Library were submitted on
August 25. Only a few came back with comments, and those were addressed and resubmitted. All
2023 video library and talking points were approved on 10/1/22, which brought the number of videos
in the training video library related to Court ordered topics to 39.




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MCSO has been consistently providing the trainings required by Goal 4, and it will continue to do so.
Because of its work over the past several years to provide the trainings required by Goal 4, MCSO
asserts that it is in compliance with Goal 4.

Goal 5 addresses enhanced training on cultural competency and community perspectives on policing.
The 2022 program focused on the Gila Bend community, provides enhanced implicit bias training
under Goal 3 and cultural competency training under Goal 5. The Monitor approved this training in
November 2022.

MCSO continues to evaluate ways to increase participation in the Community Survey. MCSO posted
a video (in both English and Spanish) to its social media pages that advertises the Community Survey
and describes what drivers should expect during a traffic stop.

MCSO’s ongoing training fulfills its responsibilities under Goal 5. It will continue its work related to
the community survey.

Goal 6 addresses improving traffic stop data collection and analysis. The relevant work for Goal 6
includes EIS alert development, TSMR refinement and implementation, and the TSQRs. All of this
work was ongoing throughout this quarter. During this quarter, MCSO completed TSQR 9, which
examined special assignments. A list of traffic stop studies completed through the end of this quarter
is included in Appendix 2.

With the completion of the TSMR pilot, the monthly, quarterly and annual traffic stop studies are part
of the ongoing work of MCSO. MCSO also continues to refine and improve its data collection through
this ongoing work. MCSO asserts that it is now in compliance with Goal 6.

As previously noted, MCSO has fully completed Goals 7 (encouraging and commending employees’
performance and service to the community) and 8 (studying the peer intervention program).

Goal 9 concerns building a workforce that provides constitutional and community -oriented policing
and reflects the community MCSO serves.

MCSO held a career fair in December with 25 participants in attendance. In addition to the local
market, MCSO worked with the contracted vendor to place advertising in the California market,
specifically targeting cities where prisons were recently closed.

The initial phase of a new text messaging platform has been implemented and is in use by recruiting
and administrative support teams to engage with applicants. The next phase will include an integration
with our applicant tracking system (Workday) to pull in phone numbers directly from employment
applications. MCSO is also exploring costs associated with the ability to launch specific texting
campaigns (e.g. Text “MCSO JOBS” to 1234).

During the last quarter, the minimum salary for a Detention Officer was increased to $24.05/Hr
($50,000 annually). Additionally, all current Detention Officers received a market adjustment of
approximately 2.5%, on average. Additionally, in December, a 5% critical staffing differential was
implemented for all Detention Officers through at least June 2023, as funding permits.


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MCSO continued its efforts to explore Eye Detect as a potential tool to replace the polygraph exam for
Detention Officer candidates, given its reliability and efficiency. The vendor conducted an on-site
demonstration for command staff and a decision was made to further explore the tool. A free 2-day
“test drive” of the tool will be done in the first quarter of 2023 that will allow MCSO to put a pool of
Detention Officer candidates through the Eye Detect process. Additionally, these candidates will also
complete a polygraph exam, which will allow us to compare results and efficacy.

Graphics have been finalized for the email recruiting campaign, targeting former Detention Officers
(approximately 400) and security professionals (approximately 25,000+) who h ave been registered
through the State of Arizona. MCSO’s plan is to disseminate the first phase of email communications
in January.

Billboards were initiated in mid-December, specifically targeting areas where potential lateral
candidates will see the recruiting signs traveling to/from work. A trailer with our banner has been
placed at the entrance of our shooting range in Buckeye, which is also the main highway towards one
of the larger AZ prisons. Recruitment banners are also being posted at a handful of MCSO sites.
MCSO is currently exploring additional mediums to include ads/sponsorships on news radio, mobile
sports apps, outdoor/transit, digital rolling ads, etc. Additionally, MCSO is in the process of hiring a
Social Media Recruiter that will be primarily focused on creating/managing various social media
accounts, posting videos, engagement, etc. specific to recruitment.

MCSO acknowledges and understands the seriousness of the staffing issues, particularly in Custody
Services. These are problems faced by law enforcement and detention agencies across the country.
MCSO is taking comprehensive steps, as described above, to attempt to address these challenges.

Although Goal 9 is a critical part of the ongoing work of MCSO, it does not measure compliance with
Paragraph 70.


Paragraph 71. In addition to the underlying collected data, the Monitor and Plaintiffs’ representatives
shall have access to the results of all Supervisor and agency level reviews of the traffic stop and patrol
data.

MCSO remains in Full and Effective Compliance with Paragraph 71.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 8: Early Identification System (EIS)

General Comment regarding BIO and BIO Inspections

The inspection process is a valuable and successful tool in achieving and maintaining compliance with
various Office Policies and stipulations of the Court’s Orders.

These general comments represent BIO’s inspection activities for the period of October 1, 2022 through
December 31, 2022. BIO completed 49 inspection reports, broken down as follows:

 •   Three Incident Report inspections
 •   Two Facility Property and Evidence inspections
 •   Three Civilian Supervisory Note inspections
 •   Three Detention Supervisory Note inspections
 •   Three Sworn Supervisory Note inspections
 •   Three Traffic Stop Data inspections
 •   One Quarterly Employee Email inspection
 •   One Quarterly CAD/Alpha Paging inspection
 •   One Quarterly Patrol Shift Roster inspection
 •   Three TraCS Review of Traffic Stops inspections
 •   Two TraCS Discussions of Traffic Stops inspections
 •   Three Patrol Activity Log inspections
 •   Three Misconduct Investigations inspections
 •   Three Complaint Intake Testing inspections
 •   One Quarterly EIS Alerts inspection
 •   Three Post-Stop Ethnicity inspections
 •   Three CPP-Captain’s Meeting Implicit Bias Briefing inspections
 •   One Targeted Integrity inspection
 •   Three Passenger Contact inspections
 •   Three Search inspections
 •   One CP-8 inspection

The following paragraphs represent compliance rates and brief progress assessments for the inspections
in this quarter:

Incident Reports: The fourth quarter of 2022 overall compliance rate was 99%. This was the same
score as the third quarter of 2022. The months of October and November were 99% and December had
a 98% compliance rate.

Facility/Property and Evidence: The overall compliance rate for the fourth quarter of 2022 was 100%.
Facility inspections were halted in March 2020 due to Covid-19 and were restarted in the fourth quarter.

Supervisory Notes-Civilian: This inspection had an overall compliance rate of 97% fo r the fourth
quarter of 2022. The compliance rates of October were 98%, November 94%, and December was 99%.

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Supervisory Note-Sworn (Patrol): The overall compliance rate for the fourth quarter of 2022 was
99%. This was the same score from the third quarter of 2022. The compliance rate of October was
100%, November 98% and December was 98%.

Supervisory Notes-Detention: The overall compliance rate for the fourth quarter of 2022 was 98%.
This was a 3% increase from the third quarter of 2022. The compliance rates of October were 97%,
November 100% and December was 96%.

Traffic Stop Data Collection: The overall compliance rate for the fourth quarter of 2022 was 99%.
This was the same score as the third quarter of 2022.

Quarterly Employee Email: The quarterly employee email compliance rate for the fourth quarter of
2022 was 99%.

Quarterly CAD/Alpha Paging: This inspection had an overall compliance rate of 100% for the fourth
quarter of 2022. This was the same score as the third quarter of 2022.

Quarterly Patrol Shift Rosters: The overall compliance rate for the fourth quarter of 2022 was 100%.
This was the same score from the third quarter of 2022. The MCSO has continued to adhere to the
proper span of control for Deputy-to-Sergeant patrol squad ratios.

Reviewed Traffic Stop Data: The fourth quarter of 2022 overall compliance rate for the Reviewed
Traffic Stop Data inspections was 98%. This was a 1% decrease from the third quarter of 2022. The
compliance rates of October were 99%, November 97% and December was 97%.

Discussed Traffic Stop Data: The fourth quarter of 2022 overall compliance rate for the Discussed
Traffic Stop Data inspections was 100%. This was a 1% increase from the third quarter of 2022. The
compliance rates of October were 99%, November was 100% and N/A for December.

Patrol Activity Logs: The fourth quarter of 2022 overall compliance rate for the Patrol Activity Log
inspection was 98%. The compliance rates of October were 100%, November 99% and December was
96%.

Misconduct Investigations: The fourth quarter of 2022 overall compliance rate for the Misconduct
Investigations inspection was 100%. This was a 1% increase from the third quarter of 2022. The
compliance rates of October were 100%, November 100% and December was 100%.

Complaint Intake Testing: The overall compliance rate for the fourth quarter of 2022 was 99%. This
was a 7% increase from the third quarter of 2022. The compliance rates of October were 100%,
November 97% and December was 100%.

Quarterly EIS Alerts: The overall compliance rate for the fourth quarter of 2022 was 100%. This was
the same as the third quarter of 2022.

Post-Stop Ethnicity: The overall compliance rate for the fourth Quarter of 2022 was 100%. This was
an 8% increase from the third quarter of 2022. The compliance rates of October were 100%, November

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  100% and December was 100%.

  Constitutional Policing Plan (CPP) Briefing: In October 2022, AIU conducted a briefing note
  inspection for the CPP follow up MCSO Administrative Broadcast 2022-85 and 2022-91 that required
  DSA, Reserve, and Sworn personnel to view the CPP video “Captain’s Meeting Implicit Bias Briefing
  attestations” through the HUB. The compliance rate for October was 96%. No inspections were
  completed during the month of November 2022. In December 2022, the Bureau of Internal Oversight’s
  (BIO) AIU conducted two CPP inspections: 1) on a briefing note inspection for th e CPP to ensure that
  CPP Roll Call briefings were being conducted, which resulted in a compliance rate of 99%; and 2) on
  a briefing note inspection for the CPP to ensure that the CPP Fair and Impartial Decision Making
  (FIDM) briefings are being discussed and completed, which resulted in a compliance rate of 97%. The
  overall compliance rate for December inspections was 98%. The overall compliance rate for the fourth
  quarter of 2022 was 97%.

  Targeted Integrity Inspection Report: The AIU completed a Targeted Integrity inspection which
  began fourth quarter and completed during the first quarter of 2023. The inspection examined traffic
  stop data from BWC videos, VSCFs, and Warnings/Citations produced by the Deputy Sheriff for the
  time period of 6/1/2021 to 05/31/2022. The determination by AIU regarding the disposition of this
  targeted inspection was a PROCEDURAL PASS. The overall compliance rate for the fourth quarter
  of 2022 was 100%.

  Passenger Contact Inspection: The overall compliance rate for the fourth quarter of 2022 was 100%.
  This was a 1% increase from the third quarter of 2022. The compliance rates of October were 100%,
  November 100%, and December was 100%.

  Search Inspection: The overall compliance rate for the fourth quarter of 2022 was 97%. This was a
  1% decrease from the third quarter of 2022. The compliance rates of October were 94%, November
  100%, and December was 97%.

  CP-8 Inspection: The overall compliance rate for the fourth quarter of 2022 was 99%.

  The following table indicates the inspection monthly compliance rates and the overall compliance rates
  for the fourth quarter of 2022:

Table 2: Monthly Inspections Compliance Rates
 Bureau of Internal Oversight — Monthly Inspections Compliance Rates

                                                                                        Overall
             2022 Inspections                   October    November       December     Compliance
                                                                                         Rate
 IR Inspection                                   99%          99%           98%            99%
 Facility and Property Inspection                 N/A         100%          100%           100%
 Supervisor Note Civilian                        98%          94%           99%            97%
 Supervisor Note Sworn                           100%         99%           98%            99%
 Supervisor Note Detention                       97%          100%          96%            98%

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Traffic Stop Data                               99%           99%           99%            99%
Quarterly Employee Emails                        N/A           N/A          99%            99%
Quarterly CAD/Alpha Paging                       N/A           N/A          100%           100%
Quarterly Patrol Shift Roster                    N/A           N/A          100%           100%
TraCS Reviewed                                  99%           97%           97%            98%
TraCS Discussed                                 99%           100%           N/A           100%
Patrol Activity Logs                            100%          99%           96%            98%
Misconduct Investigations                       100%          100%          99%            99%
Complaint Intake Testing                        100%          97%           100%           99%
Quarterly EIS Alerts                             N/A           N/A          100%           100%
Post Stop Ethnicity                             100%          100%          100%           100%
Constitutional Policing Plan Briefing           96%            N/A          98%            97%
Targeted Integrity Inspection                    N/A          100%           N/A           100%
Passenger Contact Inspection                    100%          100%          100%           100%
Search Inspection                               94%           100%          97%            97%
CP-8 Inspection                                  N/A           N/A          99%            99%

 General Comments Regarding EIS

 MCSO EIS has evolved since its inception and has become one of the most robust EISs in the country.
 The EIS tracks or utilizes 79 different incident types and uses IAPRO, Blue Team, and EIPro
 applications to provide tools and information necessary for Supervisors to support effective
 supervision.

 The EIU maintains the EIS system on a day-to-day basis for identification of employee behaviors that
 may require intervention. The EIU also facilitates training related to the EIS, builds and tracks action
 plans, manages the EIS alert process, and offers assistance to field personnel to support effective
 supervision and achieve full compliance.

 In this quarter, the IAPRO system generated 205 alerts. EIU’s evaluation of these alerts led to the
 creation and distribution of 58 EIS Alerts to supervisors for review. Once EIS alerts are returned from
 the field, the Alert Review Committee (ARC) verifies that alerts and interventions were properly
 documented. This adds additional time to the overall alert process but has improved the quality of alert
 documentation. EIU staff continue to work on alert tracking and assist supervisors to improve
 timeframe compliance. EIU has developed internal processes to track alerts in the field for compliance
 with the 30-day timeframe. The goal is to improve compliance with the EIS alert inspections. For this
 quarter, compliance rates for the EIS alert inspections were 100%. Overall compliance for 2022 is
 97%. In addition to timeframe compliance, BIO began analysis of interventions with the Quarterly EIS
 Alert Inspection. The results will be published by AIU with the fourth quarter EIS Alert Inspection
 during the first quarter of 2023.

 The Threshold Analysis project is underway and EIU and RRU staff continue to evaluate various
 thresholds. During this quarter, thresholds for Vehicle Accident, Vehicle Pursuits, and External
 Complaints are being analyzed and updated with current data. EIU plans to submit proposed threshold
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updates in the first quarter of 2023. The Operations Manual remains under development with plans to
submit updates to EIU sections in the first quarter of 2023.

In addition to alert processing and listed projects, EIU personnel are tasked with ensuring and
maintaining the proper use of the EIS. This includes quality assurance of data being entered into EIS
via Blue Team. For this quarter, EIU staff processed, and quality assured the following entries:

                               Oct/Dec
Incident type                  2022
Academy Notes                            31
Action Plan                               0
Award Recipient                          36
Briefing Notes                          188
Coaching                                 24
Commendation                            146
Data Validation                          51
Discretionary Alert                       0
Employee reported activity               94
Firearm discharge                         2
Forced entry                              2
Higher Award Nomination                   0
IR Memorialization                        2
Line Level Inspection                   445
MCAO Further Notice                      57
MCAO Turndown Notice                    134
Minor Award Nomination                   26
Performance Asmnt Measure               133
Supervisor Notes                      12052
Training Referral                         0
Use of force                            121
Vehicle accident                         39
Vehicle pursuit                           3
Total:                                13586


Paragraph 72. MCSO shall work with the Monitor, with input from the Parties, to develop, implement
and maintain a computerized EIS to support the effective supervision and management of MCSO
Deputies and employees, including the identification of and response to potentially problematic
behaviors, including racial profiling, unlawful detentions and arrests, and improper enforcement of
Immigration-Related Laws within one year of the Effective Date. MCSO will regularly use EIS data to
promote lawful, ethical and professional police practices; and to evaluate the performance of MCSO
Patrol Operations Employees across all ranks, units and shifts.




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MCSO is in Phase 1 compliance with Paragraph 72. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

In the previous quarter, EIU staff submitted Section 302 of the EIU Operations Manual and received
comments back from the Monitoring Team and Parties. In this quarter, the first inspection under the
EIS Alert Inspection Methodology was completed. The Threshold Analysis Project is underway.

BIO staff also published the BAF Tracking Study. The work on the NTCF project proceeds.

Traffic Stop Monthly Reports have been piloted since April 2021. These monthly reports identify
disparate outcomes in traffic stop activity based on race and ethnicity over the course of the previous
12 months of data. Flags are tracked in the EIS system and MCSO is monitoring, investigating, and
intervening on Deputies when necessary. All relevant TSMR guiding documents were finalized and
approved by the Monitor in the previous quarter, and the TSMR formally moved out of the pilot
program in this quarter.

MCSO is using the EIS as intended by this Paragraph and continues to make improvements. When the
NTCF project is completed and implemented, as well as final updates to the EIU Operations Manual,
MCSO believes it should be in compliance with this Paragraph.


Paragraph 73. Within 180 days of the Effective Date, MCSO shall either create a unit, which shall
include at least one full-time-equivalent qualified information technology specialist, or otherwise
expand the already existing role of the MCSO information technology specialist to facilitate the
development, implementation, and maintenance of the EIS. MCSO shall ensure that there is sufficient
additional staff to facilitate EIS data input and provide Training and assistance to EIS users. This unit
may be housed within Internal Affairs (“IA”).

MCSO remains in Full and Effective Compliance with Paragraph 73.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 74. MCSO shall develop and implement a protocol setting out the fields for historical data,
deadlines for inputting data related to current and new information, and the individuals responsible
for capturing and inputting data.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 74.

MCSO has been in compliance with this Paragraph since March 30, 2019.

The Monitor’s 29th, 30th, 31st, 32nd, 33rd, and 34th Quarterly Reports noted that the data for initial
runs of the TSMR process included roughly 500 stops with incorrect geographic data. This occurred
in instances where a Deputy’s GPS unit was either disconnected or not recognized by MCSO’s GIS
Maproll. To address the problem and prevent it from happening again, BIO implemented monthly

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procedures to identify and correct inaccurate GPS readings before each TSMR report is run. This is a
manual process completed by TSAU and Research Unit Staff that involves the manual lookup of the
GPS coordinates described in the Location Field of the Vehicle Stop Contact Form. As these
corrections are made, they are saved in a table that can be joined to the next data extract so it wil l
automatically update the corrected x and y coordinates into future extracts (including TSAR, TSMR
and TSQR Extracts). This process keeps the number that must be corrected each month to a
manageable number—roughly 40 to 100 stops each month. Additionally, MCSO’s technology and
radio staff are constantly working with MCSO’s cellular vendors to improve connectivity and minimize
the “dead zones” for the GPS antennae and replacing broken equipment.


Paragraph 75. The EIS shall include a computerized relational database, which shall be used to
collect, maintain, integrate, and retrieve:

       a. all misconduct Complaints or allegations (and their dispositions), excluding those made by
          inmates relating to conditions of confinement or conduct of detention officers (i.e., any
          complaint or allegation relating to a traffic stop shall be collected and subject to this
          Paragraph even if made by an inmate);
       b. all internal investigations of alleged or suspected misconduct;
       c. data compiled under the traffic stop data collection and the patrol data collection
          mechanisms;
       d. all criminal proceedings initiated, as well as all civil or administrative claims filed with,
          and all civil lawsuits served upon, the County and/or its Deputies or agents, resulting from
          MCSO Patrol Operations or the actions of MCSO Patrol Operation Personnel;
       e. all arrests;
       f. all arrests in which the arresting Deputy fails to articulate probable cause in the arrest
          report, or where an MCSO Supervisor, court or prosecutor later determines the arrest was
          not supported by probable cause to believe a crime had been committed, as required by
          law;
       g. all arrests in which the individual was released from custody without formal charges being
          sought;
       h. all Investigatory Stops, detentions, and/or searches, includin g those found by the Monitor,
          an MCSO supervisor, court or prosecutor to be unsupported by reasonable suspicion of or
          probable cause to believe a crime had been committed, as required by law;
       i. all instances in which MCSO is informed by a prosecuting authority or a court that a
          decision to decline prosecution or to dismiss charges, and if available, the reason for such
          decision;
       j. all disciplinary action taken against employees;
       k. all non-disciplinary corrective action required of employees;
       l. all awards and commendations received by employees;
       m. Training history for each employee; and
       n. bi-monthly Supervisory observations of each employee.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 75.


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MCSO has been in compliance with this Paragraph since March 30, 2019.


Paragraph 76. The EIS shall include appropriate identifying information for each involved Deputy
(i.e., name, badge number, shift and Supervisor) and civilian (e.g., race and/or ethnicity).

MCSO remains in Full and Effective Compliance with Paragraph 76.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 77. MCSO shall maintain computer hardware, including servers, terminals and other
necessary equipment, in sufficient amount and in good working order to permit personnel, including
Supervisors and commanders, ready and secure access to the EIS system to permit timely input and
review of EIS data as necessary to comply with the requirements of this Order.

MCSO remains in Full and Effective Compliance with Paragraph 77.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 78. MCSO shall maintain all personally identifiable information about a Deputy included
in the EIS for at least five years following the Deputy’s separation from the agency. Information
necessary for aggregate statistical analysis will be maintained indefinitely in the EIS. On an ongoing
basis, MCSO shall enter information into the EIS in a timely, accurate, and complete manner, and shall
maintain the data in a secure and confidential manner. No individual within MCSO shall have access
to individually identifiable information that is maintained only within EIS and is about a deputy not
within that individual’s direct command, except as necessary for investigative, technological, or
auditing purposes.

MCSO remains in Full and Effective Compliance with Paragraph 78.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 79. The EIS computer program and computer hardware will be operational, fully
implemented, and be used in accordance with policies and protocols that incorporate the requirements
of this Order within one year of the Effective Date. Prior to full implementation of the new EIS, MCSO
will continue to use existing databases and resources to the fullest extent possible, to identify patterns
of conduct by employees or groups of Deputies.




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MCSO is in Phase 1 compliance with Paragraph 79. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

The Monitor’s 34th Quarterly Report identified two projects that MCSO needs to complete to be in
compliance with this Paragraph: (1) complete and publish the results of new methodologies for the
TSMR and (2) “create an analytical plan for the [NTCFs].” Monitor’s 34th Quarterly Report (Doc.
2869 at) at 112. Progress is being made on both projects. All TSMR guiding documentation was
approved by the Monitor during the third quarter of 2022 and published during this quarter. Thus, the
TSMR pilot was completed, and the TSMR continues as part of MCSO’s day-to-day operations.
MCSO believes its ongoing TSMR implementation satisfies the requirements in Paragraph 79 . It is
working to complete the work on the NTCFs that the Monitor has identified for compliance with this
Paragraph. MCSO continues to use the EIS as required by this Paragraph.


Paragraph 80. MCSO will provide education and training to all employees, including Deputies,
Supervisors and commanders regarding EIS prior to its implementation as appropriate to facilitate
proper understanding and use of the system. MCSO Supervisors shall be trained in and required to
use EIS to ensure that each Supervisor has a complete and current understanding of the employees
under the Supervisor’s command. Commanders and Supervisors shall be educated and trained in
evaluating and making appropriate comparisons in order to identify any significant individual or group
patterns. Following the initial implementation of the EIS, and as experience and the availability of
new technology may warrant, MCSO may propose to add, subtract, or modify data tables and fields,
modify the list of documents scanned or electronically attached, and add, subtract, or modify
standardized reports and queries. MCSO shall submit all such proposals for review by the Monitor
pursuant to the process described in Section IV.

MCSO remains in Full and Effective Compliance with Paragraph 80.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 33 rd Quarterly Report (Doc. 2820-1).


Paragraph 81. MCSO shall develop and implement a protocol for using the EIS and information
obtained from it. The protocol for using the EIS shall address data storage, data retrieval, reporting,
data analysis, pattern identification, identifying Deputies for intervention, Superv isory use,
Supervisory/agency intervention, documentation and audit. Additional required protocol elements
include:

       a. comparative data analysis, including peer group analysis, to identify patterns of activity by
           individual Deputies and groups of Deputies;
       b. identification of warning signs or other indicia of possible misconduct, including, but not
           necessarily limited, to:
          i. failure to follow any of the documentation requirements mandated pursuant to this
              Order;
          ii. racial and ethnic disparities in the Deputy’s traffic stop patterns, including disparities
              or increases in stops for minor traffic violations, arrests following a traffic stop, and

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                 immigration status inquiries, that cannot be explained by statistical modeling of race
                 neutral factors or characteristics of Deputies’ specific duties, or racial or ethnic
                 disparities in traffic stop patterns when compared with data of a Deputy’s peers;
            iii. evidence of extended traffic stops or increased inquiries/investigations where
                 investigations involve a Latino driver or passengers;
            iv. a citation rate for traffic stops that is an outlier when compared to data of a Deputy’s
                 peers, or a low rate of seizure of contraband or arrests following searches and
                 investigations;
            v. complaints by members of the public or other officers; and
            vi. other indications of racial or ethnic bias in the exercise of official duties;
       c.    MCSO commander and Supervisor review, on a regular basis, but not less than bimonthly,
             of EIS reports regarding each officer under the commander or Supervisor’s direct command
             and, at least quarterly, broader, pattern-based reports;
       d.    a requirement that MCSO commanders and Supervisors initiate, implement, and assess the
             effectiveness of interventions for individual Deputies, Supervisors, and units, based on
             assessment of the information contained in the EIS;
       e.    identification of a range of intervention options to facilitate an effective response to
             suspected or identified problems. In any cases where a Supervisor believes a Deputy may
             be engaging in racial profiling, unlawful detentions or arrests, or improper enforcement of
             Immigration-Related Laws or the early warning protocol is triggered, the MCSO shall
             notify the Monitor and Plaintiffs and take reasonable steps to investigate and closely
             monitor the situation, and take corrective action to remedy the issue. Interventions may
             include but are not limited to counseling, Training, Supervisor ride -alongs, ordering
             changes in practice or procedure, changing duty assignments, Discipline, or other
             supervised, monitored, and documented action plans and strategies designed to modify
             activity. All interventions will be documented in writing and entered into the automated
             system;
       f.    a statement that the decision to order an intervention for an employee or group using EIS
             data shall include peer group analysis, including consideration of the nature of the
             employee’s assignment, and not solely on the number or percentages of incidents in any
             category of information recorded in the EIS;
       g.    a process for prompt review by MCSO commanders and Supervisors of the EIS records of
             all Deputies upon transfer to their supervision or command;
       h.    an evaluation of whether MCSO commanders and Supervisors are appropriately using the
             EIS to enhance effective and ethical policing and reduce risk; and
       i.    mechanisms to ensure monitored and secure access to the EIS to ensure the integrity, proper
             use, and appropriate confidentiality of the data.

MCSO is in Phase 1 compliance with Paragraph 81. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO is making progress toward Phase 2 compliance, notably with the completion of the TSMR pilot,
as recognized by the Monitor, in this quarter. Additionally, MCSO has continued the publication of
TSQRs since the second quarter of 2020. MCSO continues to work to achieve compliance with the
requirements of this Paragraph. AIU and EIU continue to work with divisions to try and increase
compliance as well as address deficiencies through BAFs. For additional information on the

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development of the BAF Study, please see the comments for Paragraph 72. The NTCF one-time study
of the current NTCF information is proceeding.




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Section 9: Supervision and Evaluation of Officer Performance
On September 5, 2017, MCSO instituted the Chain of Command program which delineates the
reporting structure for every employee in the Office. The program is used to align every employee
with their current Supervisor so that necessary and/or required documentation is routed/captured by the
required systems that currently link into the program. Additionally, MCSO Training Division
continues to deliver training to newly promoted employees to ensure they have the training and skills
necessary to be successful.


Paragraph 83. MCSO Supervisors shall provide the effective supervision necessary to direct and guide
Deputies. Effective supervision requires that Supervisors: respond to the scene of certain arrests;
review each field interview card and incident report; confirm the accuracy and completeness of
Deputies’ daily activity reports; respond to each Complaint of misconduct; ensure Deputies are
working actively to engage the community and increase public trust and safety; provide counseling,
redirection, support to Deputies as needed, and are held accountable for performing each of these
duties.

MCSO remains in Full and Effective Compliance with Paragraph 83.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 33 rd Quarterly Report (Doc. 2820-1).


Paragraph 84. Within 120 days of the Effective Date, all patrol Deputies shall be assigned to a single,
consistent, clearly identified Supervisor. First-line field Supervisors shall be assigned to supervise no
more than twelve Deputies.

MCSO remains in Full and Effective Compliance with Paragraph 84.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29 th Quarterly Report (Doc. 2703-1).


Paragraph 85. First-line field Supervisors shall be required to discuss individually the stops made by
each Deputy they supervise with the respective Deputies no less than one time per m onth in order to
ensure compliance with this Order. This discussion should include, at a minimum, whether the Deputy
detained any individuals stopped during the preceding month, the reason for any such detention, and
a discussion of any stops that at any point involved any immigration issues.

MCSO remains in Full and Effective Compliance with Paragraph 85.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29 th Quarterly Report (Doc. 2703-1).



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Paragraph 86. On-duty field Supervisors shall be available throughout their shift to provide adequate
on-scene field supervision to Deputies under their direct command and, as needed, to provide
Supervisory assistance to other units. Supervisors shall be assigned to and shall actually work the
same days and hours as the Deputies they are assigned to supervise, absent exceptional circumstances.

MCSO remains in Full and Effective Compliance with Paragraph 86.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 87. MCSO shall hold Commanders and Supervisors directly accountable for the quality
and effectiveness of their supervision, including whether commanders and Supervisors identify and
effectively respond to misconduct, as part of their performance evaluations and through non -
disciplinary corrective action, or through the initiation of formal investigation and the disciplinary
process, as appropriate.

MCSO is in Phase 1 compliance with Paragraph 87. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

In this quarter, MCSO continued its work implementing a new performance management application
that will facilitate sworn employee performance appraisals under the new GC-4(S), Employee
Performance Management policy approved in late 2021. Additional information regarding this
quarter’s work relating to the system’s implementation is described in Paragraph 70’s description of
Goal 2 of the CPP.

MCSO anticipates that the new EPA system will improve MCSO’s compliance rating for this Paragraph
as MCSO continues to explore ways to further improve the quality of the EPAs.


Paragraph 88. To ensure compliance with the terms of this Order, first-line Supervisors in any
Specialized Units enforcing Immigration-Related Laws shall directly supervise the law enforcement
activities of new members of the unit for one week by accompanying them in the field, and directly
supervise the in-the-field-activities of all members of the unit for at least two weeks every year.

MCSO remains in Full and Effective Compliance with Paragraph 88.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 89. A Deputy shall notify a Supervisor before initiating any immigration status
investigation, as discussed in Paragraph 28. Deputies shall also notify Supervisors before effectuating
an arrest following any immigration-related investigation or for an Immigration Related Crime, or for
any crime related to identity fraud or lack of an identity document. The responding Supervisor shall
approve or disapprove the Deputy’s investigation or arrest recommendation based on the available
information and conformance with MCSO policy. The Supervisor shall take appropriate action to
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address any deficiencies in Deputies’ investigation or arrest recommendations, including releasing the
subject, recommending non-disciplinary corrective action for the involved Deputy, and/or referring the
incident for administrative investigation.

MCSO remains in Full and Effective Compliance with Paragraph 89.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 90. MCSO Deputies shall submit documentation of all stops and Investigatory Detentions
conducted to their Supervisors by the end of the shift in which the action occurred. Absent exceptional
circumstances, within 72 hours of receiving such documentation, a Supervisor shall independently
review the information. Supervisors shall review reports and forms for Boilerplate or conclusory
language, inconsistent information, lack of articulation of the legal basis for the action, or other indicia
that the information in the reports or forms is not authentic or correct. Appropriate disciplinary action
should be taken where Deputies routinely employ Boilerplate or conclusory language.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 90.

MCSO has been in compliance with this Paragraph since September 30, 2017.


Paragraph 91. As part of the Supervisory review, the Supervisor shall document any Investigatory
Stops and detentions that appear unsupported by reasonable suspicion or are otherwise in violation of
MCSO policy or stops or detentions that indicate a need for corrective action or review of agency
policy, strategy, tactics, or Training. The Supervisor shall take appropriate action to address all
violations or deficiencies in Investigatory Stops or detentions, including recommending non -
disciplinary corrective action for the involved Deputy, and/or referring the incident for administrative
or criminal investigation.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 91.

MCSO has been in compliance with this Paragraph since March 31, 2020.


Paragraph 92. Supervisors shall use EIS to track each subordinate’s violations or deficiencies in
Investigatory Stops or detentions and the corrective actions taken, in order to identify Deputies needing
repeated corrective action. Supervisors shall notify IA. The Supervisor shall ensure that each violation
or deficiency is documented in the Deputy’s performance evaluations. The quality and completeness
of these Supervisory reviews shall be taken into account in the Supervisor’s own performance
evaluations. MCSO shall take appropriate corrective or disciplinary action against Supervisors who
fail to conduct complete, thorough, and accurate reviews of Deputies’ stops and Investigatory
Detentions.



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MCSO is in Phase 1 compliance with Paragraph 92. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

As discussed in Paragraph 87 and in Paragraph 70’s discussion of Goal 2 of the CPP, MCSO is
implementing its new performance management application that will facilitate sworn employee
performance appraisals under the new GC-4(S), Employee Performance Management policy approved
in late 2021.

MCSO anticipates that this new EPA system will improve MCSO’s compliance rating for this
Paragraph as MCSO continues to explore ways to further improve the quality of the EPAs.


Paragraph 93. Absent extraordinary circumstances, MCSO Deputies shall complete all incident
reports before the end of shift. MCSO field Supervisors shall review incident reports and shall
memorialize their review of incident reports within 72 hours of an arrest, absent exceptional
circumstances.

MCSO remains in Full and Effective Compliance with Paragraph 93.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 94. As part of the Supervisory review, the Supervisor shall document any arrests that are
unsupported by probable cause or are otherwise in violation of MCSO policy, or that indicate a need
for corrective action or review of agency policy, strategy, tactics, or Training. The Supervisor shall
take appropriate action to address violations or deficiencies in making arrests, including notification
of prosecuting authorities, recommending non-disciplinary corrective action for the involved Deputy,
and/or referring the incident for administrative or criminal investigation.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 94.

MCSO has been in compliance with this Paragraph since September 30, 2021.


Paragraph 95. Supervisors shall use EIS to track each subordinate’s violations or deficiencies in the
arrests and the corrective actions taken, in order to identify Deputies needing repeated corrective
action. The Supervisor shall ensure that each violation or deficiency is noted in the De puty’s
performance evaluations. The quality of these supervisory reviews shall be taken into account in the
Supervisor’s own performance evaluations, promotions, or internal transfers. MCSO shall take
appropriate corrective or disciplinary action against Supervisors who fail to conduct reviews of
adequate and consistent quality.

MCSO is in Phase 1 compliance with Paragraph 95. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.


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As discussed in Paragraph 87 and in Paragraph 70’s discussion of Goal 2 of the CPP, MCSO is
implementing its new performance management application that will facilitate sworn employee
performance appraisals under the new GC-4(S), Employee Performance Management policy approved
in late 2021.

MCSO anticipates that this new EPA system will improve MCSO’s compliance rating for this
Paragraph as MCSO continues to explore ways to further improve the quality of the EPAs.


Paragraph 96. A command-level official shall review, in writing, all Supervisory reviews related to
arrests that are unsupported by probable cause or are otherwise in violation of M CSO policy, or that
indicate a need for corrective action or review of agency policy, strategy, tactics, or Training. The
commander’s review shall be completed within 14 days of receiving the document reporting the event.
The commander shall evaluate the corrective action and recommendations in the Supervisor’s written
report and ensure that all appropriate corrective action is taken.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 96.

MCSO continues to stress the importance of this Paragraph’s requirements through various methods,
including training for all Supervisors/Commanders and in communication with Division Commanders.
MCSO has been identifying and addressing these matters directly with involved Patrol Supervisors and
Commanders. MCSO is encouraged by the effectiveness of its internal review processes in BIO and is
committed to continued improvement in the identification and appropriate resolution of these matters
at the district/division level.

The Monitor assesses compliance with this Paragraph based on its review of MCSO Incident Report
Memorializations, which the Monitor refers to as Incident Memorialization Forms (IMFs). Very few
IMFs are generated each quarter. In fact, in the second quarter of 2022, the Monitor deferred
compliance because there were no IMFs submitted to evaluate. Because of the low numbers for this
Paragraph’s assessment, MCSO continues to encourage a transition to a longer review period for IMFs.

The Monitor’s report for the third quarter of 2022 concluded that 7 of 11 IMFs that the Monitor
reviewed for that reporting period complied with the Order’s requirements. Based on the Monitor’s
description of the IMFs reviewed for that report, however, MCSO believes that 8 of the 11 IMFs
reviewed were compliant.


Paragraph 97. MCSO Commanders and Supervisors shall periodically review the EIS reports and
information, and initiate, implement, or assess the effectiveness of interventions for individual
Deputies, Supervisors, and units based on that review. The obligations of MCSO Commanders and
Supervisors in that regard are described above in Paragraphs 81(c)–(h).

MCSO is in Phase 1 compliance with Paragraph 97. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.



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To support compliance efforts, MCSO continues to audit Supervisor Notes for the reviews of EIS
profiles. In the Monitor’s most recent quarterly report, the compliance rate for this paragraph was
97.92%, up from 91.79% the previous quarter. Despite the high compliance percentage, the Monitor
indicated that MCSO was not in compliance with this Paragraph because the “reviews of broader
pattern-based reports as required by paragraph 81.c., and assessments of interventions as required by
this Paragraph[] have not been sufficiently documented to meet compliance with this Paragraph. ” (Doc
2869 at 148.) MCSO is working to address the Monitor’s outstanding concerns.


Paragraph 98. MCSO, in consultation with the Monitor, shall create a system for regular employee
performance evaluations that, among other things, track each officer’s past performance to determine
whether the officer has demonstrated a pattern of behavior prohibited by MCSO policy or this Order.

MCSO is in Phase 1 compliance with Paragraph 98. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

As discussed in Paragraph 87 and in Paragraph 70’s discussion of Goal 2 of the CPP, MCSO is
implementing its new performance management application that will facilitate sworn employee
performance appraisals under the new GC-4(S), Employee Performance Management policy approved
in late 2021.

MCSO anticipates that this new EPA system will improve MCSO’s compliance rating for this
Paragraph as MCSO continues to explore ways to further improve the quality of the EPAs.


Paragraph 99. The review shall take into consideration all past Complaint investigations; the results
of all investigations; Discipline, if any, resulting from the investigation; citizen Complaints and
commendation; awards civil or administrative claims and lawsuits related to MCSO operations;
Training history; assignment and rank history; and past Supervisory actions taken pur suant to the early
warning protocol.

MCSO is in Phase 1 compliance with Paragraph 99. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance with Paragraph 99.

In the third quarter of 2021, the Monitor determined that MCSO was no longer in compliance with this
Paragraph. Prior to this, MCSO had been in compliance with Paragraph 99 since March 30, 2019. In
the third quarter of 2022, 33 of 37 EPA’s reviewed met this Paragraph’s requirements, for a rating of
89.19%.

As is true of the other paragraphs that involve a review of EPAs, MCSO anticipates that the new EPA
system will improve compliance with this Paragraph. MCSO will follow up on specific deficiencies
that the Monitor identifies in an effort to improve quality.


Paragraph 100. The quality of Supervisory reviews shall be taken into account in the Supervisor’s
own performance evaluations.

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MCSO is in Phase 1 compliance with Paragraph 100. Based on the Monitor’s 33rd Quarterly
Report, MCSO is not in Phase 2 compliance.

As described in the other Paragraphs concerning EPAs, MCSO anticipates that the implementation of
the new performance management application will improve compliance. MCSO continues to review
the implementation of the EPA system and the issues identified by the Monitor to attempt to improve
compliance.


Paragraph 101. Within 180 days of the Effective Date, MCSO shall develop and implement eligibility
criteria for assignment to Specialized Units enforcing Immigration -Related Laws.

MCSO remains in Full and Effective Compliance with Paragraph 101.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 10: Misconduct and Complaints
This Section establishes basic requirements for reporting, auditing, tracking Complaints, the duty to
cooperate with investigations, and other requirements related to misconduct and related investigations.


Paragraph 102. MCSO shall require all personnel to report without delay alleged or apparent
misconduct by other MCSO Personnel to a Supervisor or directly to IA that reasonably appears to
constitute: (i) a violation of MCSO policy or this Order; (ii) an intentional failure to complete data
collection or other paperwork requirements required by MCSO po licy or this Order; (iii) an act of
retaliation for complying with any MCSO policy; (iv) or an intentional provision of false information
in an administrative investigation or any official report, log or electronic transmittal of information.
Failure to voluntarily report or document apparent misconduct described in this Paragraph shall be
an offense subject to Discipline.

MCSO remains in Full and Effective Compliance with Paragraph 102.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 103. Within one year of the Effective Date, MCSO shall develop a plan for conducting
regular, targeted, and random integrity audit checks to identify and investigate Deputies possibly
engaging in improper behavior, including: Discriminatory Policing; unlawful detentions and arrests;
improper enforcement of Immigration-Related Laws; and failure to report misconduct.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 103.

AIU currently conducts regular, targeted, and random integrity audit checks. The regular and random
integrity checks are done through monthly and quarterly inspections. The Targeted Integrity Test
methodology was approved in August 2020. The Monitoring Team has noted that Paragraph 103 does
not set frequency standards for the Integrity test. AIU is committed to identifying areas for the Targeted
Integrity Tests on a continual basis. Each Targeted Integrity Test ranges in scope and the number of
work hours required to complete the test, resulting in the possibility of final reports not being completed
each quarter or the possibility of multiple reports being completed in a quarter.

MCSO has been in compliance with this Paragraph since December 31, 2020.


Paragraph 104. Subject to applicable laws, MCSO shall require Deputies to cooperate with
administrative investigations, including appearing for an interview when requested by an investigator
and providing all requested documents and evidence. Supervisors shall be notified when a Deputy
under their supervision is summoned as part of an administrative investigation and shall facilitate the
Deputy’s appearance, absent extraordinary and documented circumstances.



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MCSO remains in Full and Effective Compliance with Paragraph 104.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 105. Investigators shall have access to, and take into account as appropriate, the collected
traffic stop and patrol data, Training records, Discipline history, and any past Complaints and
performance evaluations of involved officers.

MCSO remains in Full and Effective Compliance with Paragraph 105.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 106. Records of Complaints and investigations shall be maintained and made available,
un-redacted, to the Monitor and Plaintiffs’ representatives upon request. The Monitor and Plaintiffs’
representatives shall maintain the confidentiality of any information th erein that is not public record.
Disclosure of records of pending investigations shall be consistent with state law.

MCSO remains in Full and Effective Compliance with Paragraph 106.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 11: Community Engagement

MCSO remains engaged in delivering quality community engagement. MCSO acts to attain and sustain
community engagement through the development of community partnerships with community
members, local businesses, established faith-based groups and non-profit organizations. To further
community engagement activity, the Office organized the Community Outreach Division (COrD).
COrD has been instrumental in promoting and participating in events that unite MCSO personnel with
community members in comfortable, non-law enforcement environments.

MCSO Quarterly Reports record community policing activities performed by MCSO Patrol Deputies
across the county. For the quarterly period beginning July 1, 2022, through September 30, 2022, MCSO
registered 99 events, with public attendance reaching 40,620. During this same period, MCSO recorded
612 occasions of community policing utilizing the Computer Aided Dispatch System; those
engagements totaled over 1,303 staff hours and are primarily attributed to the community policing
activities of Patrol Deputies. COrD has continually worked to bring MCSO and the community
together with existing programs along with developing new relationships and programs in the
community.

Through the above-mentioned collaborations, MCSO participated in several community events. The
events listed below are just a sample of the events and programs MCSO participated in this quarter.

October 2022 marked the return of MCSO Community Academy for 2022. On October 1st, about 13
participants had the opportunity to view the Office by attending classes and live demos of some of
MCSO’s Divisions. This included a class on drug education, an aviation display, a tour of food factory,
our civil overview class, a presentation by our Victim’s Assistance and Notification Unit, as well as
our Cybercrimes Unit. The following week on October 8th, the participants had a unique opportunity
by attending our training facility and participating in Officer Training Scenarios. This allowed them to
engage with MCSO staff and expose them to different scenarios an officer might encounter within the
jail or on the street as a deputy. The participants completed a mock cell search, an inmate headcount,
and a traffic stop. Later that day, we hosted a small graduation where the Sheriff attended and answered
any questions they had and congratulated them on their participation. Considering this was our first
Academy post-COVID, the turnout was great, and Community Outreach received praise from attending
participants.

On October 14th, MCSO was invited to attend a strategic planning meeting regarding violence in the
Town of Guadalupe. The event has formed the basis of continued partnership between MCSO and the
Town of Guadalupe to collaborate by implementing programs for the youth.

October 15, 2022, The Community Outreach Team, along with Pre-Employment Services hosted an
informational and resource table for over 300 youth from around Arizona at the Opportunities for Youth
1st Annual Career Fair at Phoenix College. This event was a collaboration of many local and state law
enforcement agencies, for-profit and nonprofit organizations, and various employers who displayed
recruitment opportunities for the youth. Attending this event showed a positive impact that MCSO can
have in recruiting talent from a variety of different community opportunities.



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On October 24th and 25th, the Community Outreach Team along with K9 Division participated in Red
Ribbon Week which raises awareness of the dangers of drugs and aims to prevent children from falling
victim to the destruction they cause. MCSO Community Outreach team visited Frank Elementary in
Guadalupe where the students pledged to say “NO” to dru gs and attended a Red Ribbon event at
Sentinel and Mobile Elementary. The students enjoyed K9 demos, touring the MCSO Booking Van,
and meeting deputies. MCSO’s mounted united participated in additional Red Ribbon week programs
at Taft Elementary in Mesa. MCSO proudly works with the community to keep kids drug-free.

On October 28th, MCSO recognized Mr. Lorenzo Cabrera for the work he has done in his community
and its impact on MCSO’s job duties. MCSO held a luncheon and spoke to the outstanding
achievement, dedication, and efforts of Lorenzo. It was a nice event and reflected the excellence in
law enforcement and community policing.

On October 28th, MCSO participated at the Discover U Elementary School in Youngtown, offering a
presentation on the Mounted Unit. There are approximately 180 students at the school. MCSO is
participating and getting more involved with Discover U to try to make an impact with students who
live in a marginalized community. MCSO participate in another Discover U event—the Fall Festival—
on November 17.

On October 30th, MCSO participated in the annual Red Mountain Community Church Fall Festival
Trunk-or-Treat with a marked vehicle handing out candy and mingling with the community. This event
on an average brings in about 500 community members. Events like this are important as the
community, especially children, can interact with MCSO in a friendly, relaxed way.

On October 11th and November 10th, the Community Outreach Team assisted District 2 and Lake
Patrol with the one-year anniversary of Fallen Deputy Johnny Ruiz and Lieutenant Chad Brackman.
Although these events were not public, they were shared on social media for the community to see.
Frequently, the Community Outreach Team focuses on the people we serve, however it is important to
note the events held internally, especially honoring those who lost their lives. During these
presentations, Sheriff Penzone presented the Ruiz Family the Purple Heart award as well as Chief
Letourneau presenting the Brackman Family the Purple Heart Award for their ultimate sacrifice.

In November, MCSO hosted a Spanish-language version of its Community Academy. Attendance was
comprised mostly of staff from the Guatemalan Consulate, a relationship MCSO has been striving to
build. The event was well-received and Consulate staff reported that the experience was of great value
and improved their understanding of law enforcement in the United States.

On November 9th, MCSO held a vaping presentation at New River Elementary School. We held an
assembly for about 100 students and spread awareness about vaping. The students were asking
questions and were really involved in this presentation. We were able to give advice and connect to
the students of this community.

November 12th, MCSO assisted a local nonprofit organization, Family Resource Center Appreciation
- Martin Luther King Jr. Center, Phoenix, in providing fingerprint services, along with other valuable
resources to community members in marginalized communities. The event provided services to over
25 participants and their families. This opportunity shows that MCSO is reaching out and providing

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resources and services in a variety of communities in and around Maricopa County. This strategic
partnership will lead to other opportunities that will show MCSO works collaboratively with
community members from different ethnicities, various economic and educational levels.

On November 14th, MCSO walked with Brighton Charter School students in honor of Ruby Bridges
for their annual Ruby Bridges Walk to School Day event. The walk focuses on bringing together
communities and building safe and inclusive schools for all. It’s a day we honor Ruby and encourage
kids to think about how they’d like to change the world for the better.

On November 19th, MCSO participated in a Neighborhood Watch Meeting in Youngtown with about
15 people in attendance. The purpose for this meeting was to talk about crime prevention. MCSO
stays involved with Neighborhood Watch meetings throughout the county to be aware of crimes, trends
and to find solutions to problems the communities might be having.

On November 21st, MCSO was invited to Frank Elementary in Guadalupe. Bob’s Bike, a non-profit
organization, donated a bike for every child in kindergarten, with Phoenix Children’s Hospital donating
helmets. Mrs. Jacob (principal) invited MCSO to assist with the disbursement of the bikes and helmets
along with teaching the kids how to ride a bike. MCSO employees were able to interact with kids while
creating “core” memories.

MCSO was deeply involved in community events for the month of December. One of the many events
MCSO attended was the X-Stem conference in Mesa on December 8th. The purpose of this conference
was to show teens in the area how math and science are involved within our Office. MCSO’s Crime
Lab was in attendance as well as our bomb squad. Crime Lab set up stations with fingerprinting
placards and tools in which they retrieve delicate evidence from the scene. Our bomb squad displayed
their bomb disarming robots and gave an overall explanation of how that unit trains.

On December 3rd, 4th & 10th Community Outreach and the whole MCSO participated on the AZ
LEOS Shop with a Cop event. Thanks to AZ LEOS’s programs, MCSO was able to take over 80 kids
shopping. The children were chosen from schools within our Districts such as Mesa (District I) &
Aguila/Youngtown (District III). If not for this program, most of these children would have had a very
passive and uneventful holiday season, as money and resources are low for their families.

On December 6th, MCSO held its first fentanyl presentation at Gavilan Peak Middle School. We held
this presentation for 100 7th grade students, and on December 8th, MCSO held the same presentation
for 100 8th grade students. This presentation was important to not only spread awareness to students
but to teachers as well. We held a Q&A at the end, and MCSO was able to have open-ended
conversations with students.

On December 6th, MCSO met with the Korean Consulate and approximately 10 Korean Community
leaders in Phoenix. In the past couple of years, the Korean Consulate has traveled to Arizona from
California to meet with the Outreach Team to keep a good relationship and for any possible future jail
visit requests or community concerns involving Korean Nationals.

The Southwest Family Advocacy Center (SWFAC) advised MCSO they needed assistance for an
upcoming Christmas event. The request from SWFAC was to help wrap presents for children attending
the Winter Wonderland Christmas Event. The Community Outreach Team emailed all posse members

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and 5 posse members responded to the request. SWFAC employees, MCSO employees, and the Posse
wrapped hundreds of presents. After the presents were wrapped and organized, everyone helped
decorate the SWFAC to bring cheer to children that were victims of sexual assault. The Winter
Wonderland event was successful thanks to the help of employees and volunteers of the organization.

Annually, the 4th Ave Jail organizes an event that makes a positive impact on a very special community.
All the jails in Maricopa County get together and donate toys to the Valleywise Health Medical Center.
A few days prior to Christmas, employees deliver the toys to Valleywise. Collectively, they ensure all
hospitalized children facing a difficult time each receive a toy. To lighten the atmosphere, employees
participate and dress up as holiday and Disney characters to spread cheer. People that are not dressed
in costumes are dressed sharply in their Class A uniform. Children seeing staff members in uniform
provides a positive experience with MCSO, even at a difficult time in their life . This year, the
Community Outreach Team assisted the 4th Avenue Jail by transporting over 2,000 toys to the hospital
and personally delivering toys to each hospital room. The happiness in the children and loved one’s
faces was testimony that MCSO is making a difference in their lives.

MCSO also participated in a partnership with the United States Marine Corps Reserves Toys for Tots
Program, Phoenix, during the first two weeks of December. MCSO was instrumental in gathering,
organizing, and distributing over 50,000 toys to families, nonprofit organizations, schools, and
hospitals. The program served over 20,000 families throughout Maricopa County during the holiday
season. The goal is to assist the local communities in providing a tangible sign of ho pe to disadvantaged
children at Christmas. This collaboration shows the community that law enforcement can be positive
and proactive in serving the various marginalized communities that MCSO serves.

On December 17th, The Community Outreach Team offered a presentation on traffic safety and what
to do if stopped by the police to the TSMC Corporation (Taiwan Semiconductor Manufacturing
Company). The presentation was held in Anthem. There were approximately 100 people (employees)
in attendance, with a translator on site for the benefit of non-English speaking attendees. There are
over 1000+ employees who are currently moving temporarily to Arizona from overseas to work for the
company. MCSO is helping these new residents by providing safety presentations. TSMC has already
requested more presentations to be done by MCSO in the future.

December 23rd, District 3, Training Division staff, Community Outreach, and Sun City Posse members
participated in a toy drive at Aguila Elementary School along with the Aguila Fire Department. Santa
Claus made his appearance by helicopter to surprise the students. Toys were distributed and bikes were
raffled to the children. The children had an amazing time singing Christmas songs and taking pictures
with Santa.

In this quarter, MCSO Cadets participated in 14 different events. Cadets assisted and managed an
“Open to the public” multiagency K9 competition. This event had a massive public attendance and
was well-received by the community. Cadets handled security, monitoring of the K-9s, radio
communications, and other logistics. The Cadets also participated in 2 direct community events in the
form of Youngtown Gain event and the Gilbert area LEO Day hosted by Home Depot. In December,
MCSO Cadets hosted 6 toy drives and 2 food drives, including events in Gila Bend and Guadalupe.

The aforementioned community events are part of MCSO’s proactive approach and its continued
efforts to be involved with programs that generate positive relationships between law enforcement,

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young members of the community, school districts, and other community providers to offer diversions
and other methods of keeping young people out of the justice system.


Paragraph 109. The Monitor shall hold at least one public meeting per quarter to coincide with the
quarterly site visits by the Monitor in a location convenient to the Plaintiffs class. The meetings shall
be for the purpose of reporting the MCSO’ progress in implementing this Ord er. These meetings shall
be used to inform community members of the policy changes or other significant actions that the MCSO
has taken to implement the provisions of this Order. Summaries of audits and reports completed by
the MCSO pursuant to this Order shall be made available. The meetings shall be under the direction
of the Monitor and/or his designee. The Sheriff and/or the MCSO will participate in the meetings to
provide substantive comments related to the Melendres case and the implementation of the orders
resulting from it, as well as answer questions related to its implementation, if requested to do so by the
Monitor or the community. If the Sheriff is unable to attend a meeting due to other obligations, he shall
notify the Monitor at least 30 days prior to that meeting. The Monitor shall consult with Plaintiffs’
representatives and the Community Advisory Board on the location and content of the meetings. The
Monitor shall clarify for the public at these meetings that MCSO does not enforce imm igration laws
except to the extent that it is enforcing Arizona and federal criminal laws.

Paragraph 109 is not applicable to MCSO.

The Monitor did not hold a public meeting under this Paragraph in this quarter.


Paragraph 113. MCSO shall select or hire a Community Liaison who is fluent in English and Spanish.
The hours and contact information of the MCSO Community Outreach Division (“COD”) shall be
made available to the public including on the MCSO website. The COD shall be directly available to
the public for communications and questions regarding the MCSO.

MCSO remains in Full and Effective Compliance with Paragraph 113.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 114. The COD shall have the following duties in relation to community engagement:

       a. to coordinate the district community meetings described above in Paragraphs 109 to 112;
       b. to provide administrative support for, coordinate and attend meetings of the Community
          Advisory Board described in Paragraphs 117 to 118;
       c. to compile any complaints, concerns and suggestions submitted to the COD by members of
          the public about the implementation of this Order and the Court’s order of December 23,
          2011, and its findings of fact and conclusions of law dated May 24, 2013, even if they don’t
          rise to the level of requiring formal action by IA or other component of the MCSO, and to
          respond to Complainants’ concerns; and
       d. to communicate concerns received from the community at regular meetings with the

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           Monitor and MCSO leadership.

MCSO remains in Full and Effective Compliance with Paragraph 114.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 115. MCSO and Plaintiffs’ representatives shall work with community representatives to
create a Community Advisory Board (“CAB”) to facilitate regular dialogue between the MCSO and
the community, and to provide specific recommendations to MCSO and the Monitor about policies and
practices that will increase community trust and ensure that the provisions of this Order and other
orders entered by the Court in this matter are met. The MCSO shall cooperate with the Monitor to
assure that members of the CAB are given appropriate access to relevant material, documents, and
training so the CAB can make informed recommendations and commentaries to the Monitor.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 115.

MCSO understands the importance and value of open communication with the CAB, including
ensuring that MCSO is responsive to CAB inquiries. Previously, the Monitor had found MCSO out of
compliance with this Paragraph based on instances of slow response times to CAB inquiries. MCSO
has since taken steps to ensure that it timely responds to inquiries from the CAB, and those efforts have
had a positive effect: the Monitor found MCSO in compliance with this Paragraph in each of the past
three quarters. This improvement reflects MCSO’s ongoing efforts to ensure open communication with
the CAB, and MCSO is committed to maintaining that relationship.

In the Monitor’s recent quarterly reports, the Monitor indicated that he would “closely monitor the
measure to which MCSO facilitates a better working relationship with the CAB and make compliance
assessments accordingly.” (Doc. 2869 at 160.) Although MCSO fully supports a strong working
relationship with the CAB, it is concerned about a vague, subjective standard for assessing compliance
that is disconnected from the Order’s requirements. MCSO’s obligation under Paragraph 1 15 is to
“cooperate with the Monitor to assure that members of the CAB are given appropriate access to relevant
material, documents and training so the CAB can make informed recommendations and commentaries
to the Monitor.” Compliance assessments should be based on its performance of that responsibility,
and MCSO continues to fulfill that responsibility.

MCSO remains concerned that the CAB does not “facilitate regular dialogue between MCSO and the
community” as required by Paragraph 115 and hopes that this can be addressed with the Monitor’s
assistance. In any case, MCSO will continue to fulfill its responsibilities with regard to the CAB.


Paragraph 116. The CAB shall have five members, two to be selected by MCSO and two to be selected
by Plaintiffs’ representatives. One member shall be jointly selected by MCSO and Plaintiffs’
representatives. Members of the CAB shall not be MCSO Employees or any of the named class
representatives, nor any of the attorneys involved in this case. A member of the MCSO COD and at
least one representative for Plaintiffs shall attend every meeting of the CAB, but the CAB can request

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that a portion of the meeting occur without COD or the Plaintiffs’ representative. The CAB shall
continue for at least the length of this Order.

MCSO is in Phase 1 compliance with Paragraph 116. Based on the Monitor’s 34th Quarterly
Report, Phase 2 compliance is deferred.

Before moving to deferred status last quarter, MCSO had been in compliance with Paragraph 116 since
September 30, 2018. During this quarter, with consent of the Parties, the Monitor filled the joint
appointment on the CAB by selecting an applicant recommended by Plaintiffs. MCSO also filled a
vacancy on the CAB. Because those vacancies were filled, MCSO recommends that the Monitor
conclude that it is in compliance with this Paragraph.




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Section 12: Misconduct Investigations, Discipline, and Grievances

This section established comprehensive requirements for misconduct investigations, discipline and
grievances. Over the past several years, MCSO has worked to achieve compliance with these
requirements. It is committed to fair investigations and discipline and processes that have integrity.
Although PSB has succeeded in conducting quality investigations, a backlog of cases has developed
that is a significant concern. Addressing these problems are a priority for MCSO.


Paragraph 165. Within one month of the entry of this Order, the Sheriff shall conduct a comprehensive
review of all policies, procedures, manuals, and other written directive related to misconduct
investigations, employee discipline, and grievances, and shall provide to the Monitor and Plaintiffs
new policies and procedure or revise existing policies and procedures. The new or revised policies
and procedures that shall be provided shall incorporate all of the requirements of this Order. If there
are any provisions as to which the parties do not agree, they will expeditiously confer and attempt to
resolve their disagreements. To the extent that the parties cannot agree on any proposed revisions,
those matters shall be submitted to the Court for resolution within three months of the date of the entry
of this Order. Any party who delays the approval by insisting on provisions th at are contrary to this
Order is subject to sanction.

Phase 1 compliance for this Paragraph is not applicable. MCSO is in Phase 2 compliance with
Paragraph 165.

MCSO has been in compliance with this Paragraph since December 31, 2021.


Paragraph 167. The policies shall include the following provisions:

       a. Conflicts of interest in internal affairs investigations or in those assigned by the MCSO to
          hold hearings and make disciplinary decisions shall be prohibited. This provision requires
          the following:
          i. No employee who was involved in an incident shall be involved in or review a
               misconduct investigation arising out of the incident.
          ii. No employee who has an external business relationship or close personal relationship
               with a principal or witness in a misconduct investigation may investigate the
               misconduct. No such person may make any disciplinary decisions with respect to the
               misconduct including the determination of any grievance or appeal arising from any
               discipline.
          iii. No employee shall be involved in an investigation, whether criminal or administrative,
               or make any disciplinary decisions with respect to any persons who are superior in rank
               and in their chain of command. Thus, investigations of the Chief Deputy’s conduct,
               whether civil or criminal, must be referred to an outside authority. Any outside authority
               retained by the MCSO must possess the requisite background and level of experience of
               internal affairs investigators and must be free of any actual or perceived conflicts of
               interest.


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       b. If an internal affairs investigator or a commander who is responsible for making
          disciplinary findings or determining discipline has knowledge of a conflict of interest
          affecting his or her involvement, he or she should immediately inform the Commander of
          the Professional Standards Bureau or, if the holder of that office also suffers from a conflict,
          the highest-ranking, non-conflicted chief-level officer at MCSO or, if there is no non-
          conflicted chief-level officer at MCSO, an outside authority. Any outside authority retained
          by the MCSO must possess the requisite background and level of experience of internal
          affairs investigators and must be free of any actual or perceived conflicts of interest.
       c. Investigations into an employee’s alleged untruthfulness can be in itiated by the Commander
          of the Professional Standards Bureau or the Chief Deputy. All decisions not to investigate
          alleged untruthfulness must be documented in writing.
       d. Any MCSO employee who observes or becomes aware of any act of misconduct by another
          employee shall, as soon as practicable, report the incident to a Supervisor or directly to the
          Professional Standards Bureau. During any period in which a Monitor is appointed to
          oversee any operations of the MCSO, any employee may, without retaliation, repo rt acts of
          alleged misconduct directly to the Monitor.
       e. Where an act of misconduct is reported to a Supervisor, the Supervisor shall immediately
          document and report the information to the Professional Standards Bureau.
       f. Failure to report an act of misconduct shall be considered misconduct and may result in
          disciplinary or corrective action, up to and including termination. The presumptive
          discipline for a failure to report such allegations may be commensurate with the
          presumptive discipline for the underlying misconduct.
       g. No MCSO employee with a rank lower than Sergeant will conduct an investigation at the
          District level.

MCSO remains in Full and Effective Compliance with Paragraph 167.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 168. All forms of reprisal, discouragement, intimidation, coercion, or adverse action
against any person, civilian, or employee because that person reports misconduct, attempts to make or
makes a misconduct complaint in good faith, or cooperates with an investigation of misconduct
constitute retaliation and are strictly prohibited. This also includes reports of misconduct made
directly to the Monitor, during any period in which a Monitor is appointed to oversee any operations
of the MCSO.

MCSO remains in Full and Effective Compliance with Paragraph 168.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 169. Retaliating against any person who reports or investigates alleged misconduct shall
be considered a serious offense and shall result in discipline, up to and including termination.

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MCSO remains in Full and Effective Compliance with Paragraph 169.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 170. The Sheriff shall investigate all complaints and allegations of misconduct, including
third-party and anonymous complaints and allegations. Employees as well as civilians shall be
permitted to make misconduct allegations anonymously.

MCSO remains in Full and Effective Compliance with Paragraph 170.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 171. The MCSO will not terminate an administrative investigation solely on the basis that
the complainant seeks to withdraw the complaint, or is unavailable, unwilling, or unable to cooperate
with an investigation, or because the principal resigns or retires to avoid discipline. The MCSO will
continue the investigation and reach a finding, where possible, based on the evidence and investigatory
procedures and techniques available.

MCSO remains in Full and Effective Compliance with Paragraph 171.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 172. Employees are required to provide all relevant evidence and information in their
custody and control to internal affairs investigators. Intentionally withholding evidence or information
from an internal affairs investigator shall result in discipline.

MCSO remains in Full and Effective Compliance with Paragraph 172.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 173. Any employee who is named as a principal in an ongoing investigation of serious
misconduct shall be presumptively ineligible for hire or promotion during the pendency of the
investigation. The Sheriff and/or the MCSO shall provide a written justification for hiring or promoting
an employee or applicant who is a principal in an ongoing investigation of serious misconduct. This
written justification shall be included in the employee’s employment file and, during the period that the
MCSO is subject to Monitor oversight, provided to the Monitor.



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MCSO is in Phase 1 and Phase 2 compliance with Paragraph 173.

In the first quarter of 2022, MCSO asserted full and effective compliance with this Paragraph (Doc.
2782). The Monitor disagreed with that assertion, noting prior noncompliance warnings in 2017 and
2018, and one warning in 2020. Based on its review of 44 promotions during the last quarter, the
Monitor noted concern about promotions of employees with open misconduct investigations. Despite
the concerns, MCSO has maintained compliance with this Paragraph since March 31, 2018, and is
continuing work towards achieving full and effective compliance.


Paragraph 174. Employees’ and applicants’ disciplinary history shall be considered in all hiring,
promotion, and transfer decisions, and this consideration shall be documented. Employees and
applicants whose disciplinary history demonstrates multiple sustained allegatio ns of misconduct, or
one sustained allegation of a Category 6 or Category 7 offense from MCSO’s disciplinary matrices,
shall be presumptively ineligible for hire or promotion. MCSO shall provide a written justification for
hiring or promoting an employee or applicant who has a history demonstrating multiple sustained
allegations of misconduct or a sustained Category 6 or Category 7 offense. This written justification
shall be included in the employee’s employment file and, during the period that the MCSO is subject to
Monitor oversight, provided to the Monitor.

MCSO remains in Full and Effective Compliance with Paragraph 174.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 175. As soon as practicable, commanders shall review the disciplinary history of all
employees who are transferred to their command.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 175.

MCSO has been in compliance with this Paragraph since September 30, 2020. The Monitor’s 34th
Quarterly Report notes that MCSO’s compliance rate with this Paragraph for the third quarter of 2022
was 77.92%. MCSO continues to stress the importance of supervisor review of disciplinary history
when employees are transferred and devise strategies to ensure compliance with this Paragraph .


Paragraph 176. The quality of investigators’ internal affairs investigations and Supervisors’ reviews
of investigations shall be taken into account in their performance evaluations.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 176.

MCSO has been in compliance with this Paragraph since December 31, 2020.




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Paragraph 177. There shall be no procedure referred to as a “name-clearing hearing.” All
predisciplinary hearings shall be referred to as “pre-determination hearings,” regardless of the
employment status of the principal.

MCSO remains in Full and Effective Compliance with Paragraph 177.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 178. Within three months of the finalization of these policies consistent with ¶ 165 of this
Order, the Sheriff will have provided all Supervisors and all personnel assigned to the Professional
Standards Bureau with 40 hours of comprehensive trainin g on conducting employee misconduct
investigations. This training shall be delivered by a person with subject matter expertise in misconduct
investigation who shall be approved by the Monitor. This training will include instruction in:

       a. investigative skills, including proper interrogation and interview techniques, gathering and
          objectively analyzing evidence, and data and case management;
       b. the particular challenges of administrative law enforcement misconduct investigations,
          including identifying alleged misconduct that is not clearly stated in the complaint, or that
          becomes apparent during the investigation;
       c. properly weighing the credibility of civilian witnesses against employees;
       d. using objective evidence to resolve inconsistent statements;
       e. the proper application of the appropriate standard of proof;
       f. report-writing skills;
       g. requirements related to the confidentiality of witnesses and/or complainants;
       h. considerations in handling anonymous complaints;
       i. relevant MCSO rules and policies, including protocols related to administrative
          investigations of alleged officer misconduct; and
       j. relevant state and federal law, including Garrity v. New Jersey, and the requirements of this
          Court’s orders.

MCSO remains in Full and Effective Compliance with Paragraph 178.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 179. All Supervisors and all personnel assigned to the Professional Standards Bureau also
will receive eight hours of in-service training annually related to conducting misconduct investigations.
This training shall be delivered by a person with subject matter expertise in misconduct investigation
who shall be approved by the Monitor.




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MCSO remains in Full and Effective Compliance with Paragraph 179.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 180. Within three months of the finalization of these policies consistent with ¶ 165 of this
Order, the Sheriff will provide training that is adequate in quality, quantity, scope, and type, as
determined by the Monitor, to all employees on MCSO’s new or revised policies related to misconduct
investigations, discipline, and grievances. This training shall include instruction on identifying and
reporting misconduct, the consequences for failing to report misconduct, and the consequences for
retaliating against a person for reporting misconduct or participating in a misconduct investigati on.

MCSO remains in Full and Effective Compliance with Paragraph 180.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 32nd Quarterly Report (Doc. 2782-1).


Paragraph 181. Within three months of the finalization of these policies consistent with ¶ 165 of this
Order, the Sheriff will provide training that is adequate in quality, quantity, scope, and type, as
determined by the Monitor, to all employees, including dispatchers, to properly handle civilian
complaint intake, including how to provide complaint materials and information, and the consequences
for failing to take complaints.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 181.

MCSO has been in compliance with the requirements of Paragraph 181 since December 31, 2017.


Paragraph 182. Within three months of the finalization of these policies consistent with ¶ 165 of this
Order, the Sheriff will provide training that is adequate in quality, quantity, scope, and type, as
determined by the Monitor, to all Supervisors on their obligations when called to a scene by a
subordinate to accept a civilian complaint about that subordinate’s conduct and on their obligations
when they are phoned or emailed directly by a civilian filing a complaint against one of their
subordinates.

MCSO remains in Full and Effective Compliance with Paragraph 182.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 184. All findings will be based on the appropriate standard of proof. These standards will
be clearly delineated in policies, training, and procedures, and accompanied by detailed examples to
ensure proper application by internal affairs investigators.

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MCSO remains in Full and Effective Compliance with Paragraph 184.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 185. Upon receipt of any allegation of misconduct, whether internally discovered or based
upon a civilian complaint, employees shall immediately notify the Professional Standards Bureau.

MCSO remains in Full and Effective Compliance with Paragraph 185.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 186. Effective immediately, the Professional Standards Bureau shall maintain a centralized
electronic numbering and tracking system for all allegations of misconduct, whether internally
discovered or based upon a civilian complaint. Upon being notified of any allegation of misconduct,
the Professional Standards Bureau will promptly assign a unique identifier to the incident. If the
allegation was made through a civilian complaint, the unique identifier will be provided to the
complainant at the time the complaint is made. The Professional Standards Bureau’s centralized
numbering and tracking system will maintain accurate and reliable data regarding the number, nature,
and status of all misconduct allegations, from initial intake to final disposition, including investigation
timeliness and notification to the complainant of the interim status, if requested, and final disposition
of the complaint. The system will be used to determine the status of misconduct investigations, as well
as for periodic assessment of compliance with relevant policies and procedures and this Order,
including requirements of timeliness of investigations. The system also will be used to monitor and
maintain appropriate caseloads for internal affairs investigators.

MCSO remains in Full and Effective Compliance with Paragraph 186.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 187. The Professional Standards Bureau shall maintain a complete file of all documents
within the MCSO’s custody and control relating to any investigations a nd related disciplinary
proceedings, including pre-determination hearings, grievance proceedings, and appeals to the
Maricopa County Law Enforcement Merit System Council or a state court.

MCSO remains in Full and Effective Compliance with Paragraph 187.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).



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Paragraph 188. Upon being notified of any allegation of misconduct, the Professional Standards
Bureau will make an initial determination of the category of the alleged offense, to be used for the
purposes of assigning the administrative investigation to an investigator. After initially categorizing
the allegation, the Professional Standards Bureau will promptly assign an internal affairs investigator.

MCSO remains in Full and Effective Compliance with Paragraph 188.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 189. The Professional Standards Bureau shall administratively investigate :

       a. misconduct allegations of a serious nature, including any allegation that may result in
          suspension, demotion, or termination; and
       b. misconduct indicating apparent criminal conduct by an employee.

MCSO remains in Full and Effective Compliance with Paragraph 189.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733 -1).


Paragraph 190. Allegations of employee misconduct that are of a minor nature may be
administratively investigated by a trained and qualified Supervisor in the employee’s District .

MCSO remains in Full and Effective Compliance with Paragraph 190.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820 -1).


Paragraph 191. If at any point during a misconduct investigation an investigating Superviso r outside
of the Professional Standards Bureau believes that the principal may have committed misconduct of a
serious or criminal nature, he or she shall immediately notify the Professional Standards Bureau, which
shall take over the investigation.

MCSO remains in Full and Effective Compliance with Paragraph 191.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733 -1).


Paragraph 192. The Professional Standards Bureau shall review, at least semi-annually, all
investigations assigned outside the Bureau to determine, among the other matters set forth in ¶ 251
below, whether the investigation is properly categorized, whether the investigation is be ing properly

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conducted, and whether appropriate findings have been reached .

MCSO remains in Full and Effective Compliance with Paragraph 192.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 193. When a single act of alleged misconduct would constitute multiple separate policy
violations, all applicable policy violations shall be charged, but the most serious policy violation shall
be used for determining the category of the offense. Exoneration on the most serious offense does not
preclude discipline as to less serious offenses stemming from the same misconduct.

MCSO remains in Full and Effective Compliance with Paragraph 193.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 194. The Commander of the Professional Standards Bureau shall ensure that investigations
comply with MCSO policy and all requirements of this Order, including those related to training,
investigators’ disciplinary backgrounds, and conflicts of interest.

MCSO is in Phase 1 compliance with Paragraph 194. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

The Monitor based Phase 2 compliance with this Paragraph “by a review of completed misconduct
investigations conducted by MCSO, the review of attendance by internal investigators at required
Misconduct Investigative Training, the disciplinary backgrounds of internal investigators, and the
efforts being made by the PSB Commander to reach compliance.” (Monitor’s 34th Quarterly Report
(Doc. 2869) at 185.) The lack of compliance with this Paragraph primarily stems from the time it takes
to complete misconduct investigations. This remains a significant concern. The timeliness issue is
addressed in Paragraph 204, which establishes those requirements. MCSO continues to provide
training and supervision to support quality investigations.

Aside from timeliness issues, most of the concerns about quality relate to District investigations. For
further discussion of District investigations, refer to Paragraph 32. To the extent there have been
deficiencies in District investigations, they are typically identified in PSB’s review process. As in
previous quarters, the Monitor’s most recent Quarterly Report notes, “We continue to find that PSB
personnel are identifying and ensuring that corrections are made and all documentation is completed in
those cases they review.” (Monitor’s 34th Quarterly Report (Doc. 2869) at 186). For this Paragraph,
which addresses the PSB commander’s responsibilities, if PSB is identifying and correcting
deficiencies in District investigations, those investigations should be compliant. This Paragraph is not
an evaluation of the District’s work, but the work of the PSB Commander.



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Paragraph 195. Within six months of the entry of this Order, the Professional Standards Bureau shall
include sufficient trained personnel to fulfill the requirements of this Order.

MCSO is in Phase 1 compliance with Paragraph 195. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO has continued its efforts to hire civilian investigators and has contracted with an outside
consulting firm that is providing further investigative support. It has also been increasing its
administrative staff who support the investigators’ work. At the end of this quarter, PSB staff consisted
of 40 investigators, an increase from 33 investigators during the prior reporting period (excluding
criminal investigators and investigators utilized outside of MCSO). PSB continues to hire and fill
administrative support staff positions. PSB continues to assign additional administrative investigations
to Jensen Hughes for investigation. Filling sworn positions has been and continues to be difficult for
PSB and for MCSO officewide due to the current employment conditions.

The efforts to increase PSB staff and consultant support have been one part of MCSO’s effort to reduce
the backlog of administrative investigations that has developed while implementing the Orders. MCSO
believes that hiring more staff is part of the solution, but other issues also need to be addressed. On
November 8, 2022, the Court entered an order finding the Sheriff in civil contempt because of the
backlog of administrative investigations. (Third Order (Doc. 2827) at 1.) The Court’s Third Order
requires a minimum of 39 investigators in PSB. (Id. at ¶ 340.)

PSB has demonstrated that it conducts fair, impartial, th orough, and complete misconduct
investigations, and issues fair and equitable discipline when warranted. All investigators assigned to
PSB receive annual training to include the initial 40-hour Misconduct Investigations training and the
8-hour annual training for conducting misconduct investigations, as specified in Paragraphs 178 and
179.


Paragraph 196. Where appropriate to ensure the fact and appearance of impartiality, the Commander
of the Professional Standards Bureau or the Chief Deputy may refer a dministrative misconduct
investigations to another law enforcement agency or may retain a qualified outside investigator to
conduct the investigation. Any outside investigator retained by the MCSO must possess the requisite
background and level of experience of Internal Affairs investigators and must be free of any actual or
perceived conflicts of interest.

MCSO remains in Full and Effective Compliance with Paragraph 196.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 197. The Professional Standards Bureau will be headed by a qualified Commander. The
Commander of the Professional Standards Bureau will have ultimate authority within the MCSO for
reaching the findings of investigations and preliminarily determining any discipline to be imposed. If
the Sheriff declines to designate a qualified Commander of the Professional Standards Bureau, the

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Court will designate a qualified candidate, which may be a Civilian Director in lieu of a sworn officer.

MCSO remains in Full and Effective Compliance with Paragraph 197.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848-1).


Paragraph 198. To promote independence and the confidentiality of investigations, the Professional
Standards Bureau shall be physically located in a facility that is separate from other MCSO facilities,
such as a professional office building or commercial retail space. This facility shall be easily accessible
to the public, present a non-intimidating atmosphere, and have sufficient space and personnel for
receiving members of the public and for permitting them to file complaints .

MCSO remains in Full and Effective Compliance with Paragraph 198.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 199. The MCSO will ensure that the qualifications for service as an internal affairs
investigator shall be clearly defined and that anyone tasked with investigating employee misconduct
possesses excellent investigative skills, a reputation for integrity, the ability to write clear reports, and
the ability to be fair and objective in determining whether an employee committed misconduct.
Employees with a history of multiple sustained misconduct allegations, or one sustained allegation of
a Category 6 or Category 7 offense from MCSO’s disciplinary matrices, will be presumptively
ineligible to conduct misconduct investigations. Employees with a history of conducting deficient
investigations will also be presumptively ineligible for these duties.

MCSO remains in Full and Effective Compliance with Paragraph 199.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 200. In each misconduct investigation, investigators shall:

       a. conduct investigations in a rigorous and impartial manner designed to determine the facts;
       b. approach investigations without prejudging the facts and without permitting any
          preconceived impression of the principal or any witness to cloud the Investigation;
       c. identify, collect, and consider all relevant circumstantial, direct, and physical evidence,
          including any audio or video recordings;
       d. make reasonable attempts to locate and interview all witnesses, including civilian
          witnesses;
       e. make reasonable attempts to interview any civilian complainant in person;
       f. audio and video record all interviews;

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       g. when conducting interviews, avoid asking leading questions and questions that may suggest
          justifications for the alleged misconduct;
       h. make credibility determinations, as appropriate; and
       i. attempt to resolve material inconsistencies between employee, complainant, and witness
          statements.

MCSO remains in Full and Effective Compliance with Paragraph 200.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 201. There will be no automatic preference for an employee’s statement over a
nonemployee’s statement. Internal affairs investigators will not disregard a witness’s statement solely
because the witness has some connection to either the complainant or the employee or because the
witness or complainant has a criminal history, but may consider the witness’s criminal history or any
adjudicated findings of untruthfulness in evaluating that witness’s statement. In conducting the
investigation, internal affairs investigators may take into account the record of any witness,
complainant, or officer who has been determined to have been deceptive or untruthful in any legal
proceeding, misconduct investigation, or other investigation.

MCSO remains in Full and Effective Compliance with Paragraph 201.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 30th Quarterly Report (Doc. 2733-1).


Paragraph 202. Internal affairs investigators will investigate any evidence of potential misconduct
uncovered during the course of the investigation, regardless of whether the potential misconduct was
part of the original allegation.

MCSO remains in Full and Effective Compliance with Paragraph 202.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 203. If the person involved in the encounter with the MCSO pleads guilty or is found guilty
of an offense, internal affairs investigators will not consider that information alone to be determinative
of whether an MCSO employee engaged in misconduct, nor will it by itself justify discontinuing the
investigation. MCSO training materials and policies on internal investigations will acknowledge
explicitly that the fact of a criminal conviction related to the administrative investigation is not
determinative of whether an MCSO employee engaged in misconduct and that the mission of an internal
affairs investigator is to determine whether any misconduct 2 occurred .



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MCSO remains in Full and Effective Compliance with Paragraph 203.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 204. Internal affairs investigators will complete their administrative investigations within
85 calendar days of the initiation of the investigation (60 calendar days if within a Division). Any
request for an extension of time must be approved in writing by th e Commander of the Professional
Standards Bureau. Reasonable requests for extensions of time may be granted.

MCSO is in Phase 1 compliance with Paragraph 204. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO has a significant caseload of administrative investigations. Reducing that caseload and
shortening the time required to complete investigations is a priority. The caseloads and efforts to
manage and reduce them, while maintaining quality investigations, have been described in MCSO’s
previous reports, most recently its 33rd Quarterly Report (Doc. 2820-1).

MCSO initiated 1,028 Complaint investigations in 2017, 1,114 Complaint investigations in 2018, 1,111
Complaint investigations in 2019, 1,204 Complaint investigations in 2020, and 1,172 Complaint
investigations in 2021. In 2022, MCSO initiated 1,062 Complaint investigations. MCSO closed 628
investigations in 2017, 518 investigations in 2018, 727 investigations in 2019, 995 investigations in
2020, 1,021 investigations in 2021. In 2022, MCSO closed 843 investigations. The current average
caseload is down from 74 investigations per investigator at the end of 2021 to 65 investigations per
investigator at the end of this quarter. This “average caseload” matrix does not include in its calculation
any of the 10 contract investigators.

On November 8, 2022, the Court entered an order finding the Sheriff in civil contempt because of the
backlog of administrative investigations. (Third Order (Doc. 2827) at 1.) The Third Order established
a minimum required number of PSB investigators (¶ 340) and backlog reduction requirements (¶ 357),
and authorized policy changes to facilitate the reduction of the backlog (e.g. , ¶¶ 348 and 353). The
Order also transferred responsibility for intake and routing of complaints from MCSO to the Monitor
(¶ 346) and requires any extensions of investigative time to be approved by the Monitor (¶ 365).
Paragraph 365 of the Third Order specifically revoked the PSB Commander’s authority under this
Paragraph to grant extensions.

MCSO recognizes the need to comply with this Court’s Orders regarding timely investigations and
continues to attempt to do so. The tables below provide additional detail with respect to the number,
disposition, and timeframes associated with administrative cases closed during this quarter.




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The following three tables address cases completed in this quarter. The timelines in Tables 1-3 are
based on each complaint’s full administrative closure. They include more than the investigation time
that is relevant under Paragraph 204’s deadlines of 85 days for PSB investigations and 60 days for
District investigations.

Each table provides the minimum number of days to close a case, the maximum number of days to
close a case, the average number of days to close a case, and the median number of days to close a
case. The median number of days to close a case continued a downward trend, dropping by 30 days
from the previous quarter. Given the differing administrative processes required by the Court’s
Orders, and Arizona Revised Statutes for sustained cases versus cases with findings other than
sustained, they are differentiated in Table 1 and Table 2. Table 3 represents all cases closed for the
fourth quarter of 2022.

                 Table 1: 2022 – Q4
                 Sustained Cases (43 Cases - 43% of all cases)
                 Descriptive Statistic               Days to Completion
                 Minimum days                                                  44
                 Maximum days                                                2571
                 Average days                                                 714
                 Median days                                                  325


                 Table 2: 2022 – Q4
                 Other than Sustained Cases (55 Cases - 47% of all cases)
                 Descriptive Statistic               Days to Completion
                 Minimum days                                                  22
                 Maximum days                                                2041
                 Average days                                                 550
                 Median days                                                  312

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                 Table 3: 2022 – Q4
                 All Cases (117 Cases)
                 Descriptive Statistic               Days to Completion
                 Minimum days                                                   22
                 Maximum days                                                 2571
                 Average days                                                  620
                 Median days                                                   316




Paragraph 205. The Professional Standards Bureau shall maintain a database to track all ongoing
misconduct cases and shall generate alerts to the responsible investigator and his or her Supervisor
and the Commander of the Professional Standards Bureau when deadlines are not met .

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 205.

MCSO has been in compliance with this Paragraph since December 31, 2018.


Paragraph 206. At the conclusion of each investigation, internal affairs investigators will prepare an
investigation report. The report will include:

       a. a narrative description of the incident;
       b. documentation of all evidence that was gathered, including names, phone numbers, and
          addresses of witnesses to the incident. In situations in which there are no known witnesses,
          the report will specifically state this fact. In situations in which witnesses were present but
          circumstances prevented the internal affairs investigator from determining the
          identification, phone number, or address of those witnesses, the report will state the reasons
          why. The report will also include all available identifying in formation for anyone who
          refuses to provide a statement;
       c. documentation of whether employees were interviewed, and a transcript or recording of
          those interviews;
       d. the names of all other MCSO employees who witnessed the incident;
       e. the internal affairs investigator’s evaluation of the incident, based on his or her review of
          the evidence gathered, including a determination of whether the employee’s actions appear
          to be within MCSO policy, procedure, regulations, orders, or other standards of conduct
          required of MCSO employees;
       f. in cases where the MCSO asserts that material inconsistencies were resolved, explicit
          credibility findings, including a precise description of the evidence that supports or detracts
          from the person’s credibility;
       g. in cases where material inconsistencies must be resolved between complainant, employee,
          and witness statements, explicit resolution of the inconsistencies, including a precise
          description of the evidence relied upon to resolve the inconsistencies;
       h. an assessment of the incident for policy, training, tactical, or equipment concerns, including

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          any recommendations for how those concerns will be addressed;
       i. if a weapon was used, documentation that the employee’s certification and training for the
          weapon were current;
       j. documentation of recommendations for initiation of the disciplinary process; and
       k. in the instance of an externally generated complaint, do cumentation of all contacts and
          updates with the complainant.

MCSO remains in Full and Effective Compliance with Paragraph 206.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 207. In assessing the incident for policy, training, tactical, or equipment conc erns,
investigation reports will include an assessment of whether:

       a. the law enforcement action was in compliance with training and legal standards;
       b. the use of different tactics should or could have been employed;
       c. the incident indicates a need for additional training, counseling, or other non-disciplinary
          corrective actions; and
       d. the incident suggests that the MCSO should revise its policies, strategies, tactics, or
          training.

MCSO in Phase 1 and Phase 2 compliance with Paragraph 207.

MCSO has been in compliance with this Paragraph since June 30, 2017.


Paragraph 208. For each allegation of misconduct, internal affairs investigators shall explicitly
identify and recommend one of the following dispositions for each allegation of misconduct in an
administrative investigation:

       a. “Unfounded,” where the investigation determines, by clear and convincing evidence, that
          the allegation was false or not supported by fact;
       b. “Sustained,” where the investigation determines, by a preponderance of the evidence, that
          the alleged misconduct did occur and justifies a reasonable conclusion of a policy violation;
       c. “Not Sustained,” where the investigation determines that there is insufficient evidence to
          prove or disprove the allegation; or
       d. “Exonerated,” where the investigation determines that the alleged conduct did occur but
          did not violate MCSO policies, procedures, or training .

MCSO remains in Full and Effective Compliance with Paragraph 208.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848 -1).


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Paragraph 209. For investigations carried out by Supervisors outside of the Professional Standards
Bureau, the investigator shall forward the completed investigation report through his or her chain of
command to his or her Division Commander. The Division Commander must approve the investigation
and indicate his or her concurrence with the findings.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 209.

MCSO has been in compliance with this Paragraph since June 30, 2017.


Paragraph 210. For investigations carried out by the Professional Standards Bureau, the investigator
shall forward the completed investigation report to the Commander.

MCSO remains in Full and Effective Compliance with Paragraph 210.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 211. If the Commander—meaning the Commander of the PSB or the Commander of the
Division in which the internal affairs investigation was conducted—determines that the findings of the
investigation report are not supported by the appropriate standard of proof, th e Commander shall
return the investigation to the investigator for correction or additional investigative effort, shall
document the inadequacies, and shall include this documentation as an addendum to the original
investigation. The investigator’s Supervisor shall take appropriate action to address the inadequately
supported determination and any investigative deficiencies that led to it. The Commander shall be
responsible for the accuracy and completeness of investigation reports prepared by internal af fairs
investigators under his or her command.

MCSO is in Phase 1 compliance with Paragraph 211. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

MCSO continues to object to the Monitor’s method of assessment for compliance with Paragraph 211
because it far exceeds the actual requirements of Paragraph 211, and instead imports requirements from
other Paragraphs. For example, the Monitor’s assessment of compliance with Paragraph 211 includes
a timeline evaluation for completion of administrative investigations, which is a requirement of
Paragraph 204, not 211.

Paragraph 211 requires that (1) the Commander of the Division in which an administrative investigation
is conducted shall return investigations that have findings not supported by the appropriate standard of
proof for correction or additional investigation; (2) the Commander shall document the inadequacies
and include this documentation as an addendum to the original investigation; and (3) the investigator’s
Supervisor shall take action to address the deficiencies. MCSO’s Commanders and Supervisors
continue their efforts to comply with these requirements.



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The Monitor’s most recent quarterly report expressed concern about the quality of investigation
completed by contract or outside investigators. While the vendor and its current investigators were
recently expanded to assist the PSB, MCSO recognizes there is a learning curve to administrative
investigation compliance requirements. MCSO has been responsive to the feed back regarding the
investigations completed by the vendor, has implemented a tracking process to provide regular
feedback with the investigators, and initiated additional on-going training reviews of past completed
cases. These efforts continue with the additional contracted investigators to ensure the vendor is
responsive to compliance requirements.

The Monitor’s most recent quarterly report again confirms the quality of PSB investigations – finding
99% of the investigations closed to be “thorough” and the related investigative reports to be well -
written. (Doc. 2869 at 202.) The compliance problem is the lack of timely completion of the
investigations. It, however, also notes a higher level of deficiencies with District investigations and
the investigations that were outsourced.

Paragraph 212. Where an internal affairs investigator conducts a deficient misconduct investigation,
the investigator shall receive the appropriate corrective and/or discip linary action. An internal affairs
investigator’s failure to improve the quality of his or her investigations after corrective and/or
disciplinary action is taken shall be grounds for demotion and/or removal from a supervisory position
or the Professional Standards Bureau.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 212.

MCSO has been in compliance with this Paragraph since June 30, 2018.


Paragraph 213. Investigations of minor misconduct conducted outside of the Professional Standards
Bureau must be conducted by a Supervisor and not by line-level deputies. After such investigations,
the investigating Supervisor’s Commander shall forward the investigation file to the Professional
Standards Bureau after he or she finds that the misconduct investigation is complete, and the findings
are supported by the evidence. The Professional Standards Bureau shall review the misconduct
investigation to ensure that it is complete and that the findings are supported by the evidence. The
Professional Standards Bureau shall order additional investigation when it appears that there is
additional relevant evidence that may assist in resolving inconsistencies or improving the reliability or
credibility of the findings. Where the findings of the investigation report are not supported by the
appropriate standard of proof, the Professional Standards Bureau shall document the reasons for this
determination and shall include this documentation as an addendum to the original investigation.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 213.

MCSO has been in compliance with this Paragraph since June 30, 2017.


Paragraph 214. At the discretion of the Commander of the Professional Standards Bureau, a
misconduct investigation may be assigned or re-assigned to another Supervisor with the approval of
his or her Commander, whether within or outside of the District or Bureau in which the incident

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occurred, or may be returned to the original Supervisor for further investigation or analys is. This
assignment or re-assignment shall be explained in writing.

MCSO remains in Full and Effective Compliance with Paragraph 214.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 215. If, after an investigation conducted outside of the Professional Standards Bureau, an
employee’s actions are found to violate policy, the investigating Supervisor’s Commander shall direct
and ensure appropriate discipline and/or corrective action. Where the incident indicates policy,
training, tactical, or equipment concerns, the Commander shall also ensure that necessary training is
delivered and that policy, tactical, or equipment concerns are resolved.

MCSO remains in Full and Effective Compliance with Paragraph 215.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 216. If, after an investigation conducted by the Professional Standards Bureau, an
Employee’s actions are found to violate policy; the Commander of the Professional Standards Bureau
shall direct and ensure appropriate discipline and/or corrective action. Where the incident indicates
policy, training, tactical, or equipment concerns, the Commander of the Professional Standards Bureau
shall also ensure that necessary training is delivered and that policy, tactical, or equipment concerns
are resolved.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 216.

MCSO has been in compliance with this Paragraph since June 29, 2017.

The Monitor’s most recently quarterly report recognized that the PSB Commander is appropriately
identifying policy, training, tactical, and equipment concerns but expressed concern about the time
required to address those concerns. MCSO is following up to address the Monitor’s concerns.


Paragraph 217. The Professional Standards Bureau shall conduct targeted and random reviews of
discipline imposed by Commanders for minor misconduct to ensure compliance with MCSO policy and
legal standards.

MCSO remains in Full and Effective Compliance with Paragraph 217.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


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Paragraph 218. The Professional Standards Bureau shall maintain all administrative investigation
reports and files after they are completed for record-keeping in accordance with applicable law.

MCSO remains in Full and Effective Compliance with Paragraph 218.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 220. To ensure consistency in the imposition of discipline, the Sheriff shall review the
MCSO’s current disciplinary matrices and, upon approval of the parties and the Monitor , will amend
them as necessary to ensure that they:

       a.   establish a presumptive range of discipline for each type of violation;
       b.   increase the presumptive discipline based on an employee’s prior violations;
       c.   set out defined mitigating and aggravating factors;
       d.   prohibit consideration of the employee’s race, gender, gender identity, sexual orientation,
            national origin, age, or ethnicity;
       e.   prohibit conflicts, nepotism, or bias of any kind in the administration of discipline;
       f.   prohibit consideration of the high (or low) profile nature of the incident, including media
            coverage or other public attention;
       g.   clearly define forms of discipline and define classes of discipline as used in policies and
            operations manuals;
       h.   provide that corrective action such as coaching or training is not considered to be discipline
            and should not be used as a substitute for discipline where the matrix calls for discipline;
       i.   provide that the MCSO will not take only non-disciplinary corrective action in cases in
            which the disciplinary matrices call for the imposition of discipline;
       j.   provide that the MCSO will consider whether non-disciplinary corrective action is also
            appropriate in a case where discipline has been imposed;
       k.   require that any departures from the discipline recommended under the disciplinary
            matrices be justified in writing and included in the employee’s file; and
       l.   provide a disciplinary matrix for unclassified management level employees that is at least
            as demanding as the disciplinary matrix for management level employees.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 220.

MCSO has been in compliance with this Paragraph since September 30, 2020.


Paragraph 221. The Sheriff shall mandate that each act or omission that results in a sustained
misconduct allegation shall be treated as a separate offense for the purposes of imposing discipline.

MCSO remains in Full and Effective Compliance with Paragraph 221.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).

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Paragraph 222. The Sheriff shall also provide that the Commander of the Professional Standards
Bureau shall make preliminary determinations of the discipline to be imposed in all cases and shall
document those determinations in writing, including the presumptive range of discipline for the
sustained misconduct allegation, and the employee’s disciplinary history.

MCSO remains in Full and Effective Compliance with Paragraph 222.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 223. If the Commander of the Professional Standards Bureau makes a preliminary
determination that serious discipline (defined as suspension, demotion, or termination) should be
imposed, a designated member of MCSO’s command staff will conduct a pre-determination hearing
and will provide the employee with an opportunity to be heard.

MCSO remains in Full and Effective Compliance with Paragraph 223.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 224. Pre-determination hearings will be audio and video recorded in their entirety, and
the recording shall be maintained with the administrative investigation file.

MCSO remains in Full and Effective Compliance with Paragraph 224.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 225. If an employee provides new or additional evidence at a pre-determination hearing,
the hearing will be suspended and the matter will be returned to the internal affairs investigator for
consideration or further investigation, as necessary. If after any further investigation or consideration
of the new or additional evidence, there is no change in the determination of preliminary discipline,
the matter will go back to the pre-determination hearing. The Professional Standards Bureau shall
initiate a separate misconduct investigation if it appears that the employee intentionally withheld the
new or additional evidence during the initial misconduct investiga tion.

MCSO remains in Full and Effective Compliance with Paragraph 225.

MCSO remains in Full and Effective Compliance with this Paragraph. For more detailed information,
please refer to Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Paragraph 226. If the designated member of MCSO’s command staff conducting the pre-
determination hearing does not uphold the charges recommended by the Professional Standards
Bureau in any respect, or does not impose the Commander of the Professional Standards Bu reau’s
recommended discipline and/or non-disciplinary corrective action, the Sheriff shall require the
designated member of MCSO’s command staff to set forth in writing his or her justification for doing
so. This justification will be appended to the investigation file.

MCSO remains in Full and Effective Compliance with Paragraph 226.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848 -1).


Paragraph 227. The Sheriff shall promulgate MCSO policy which shall provide that the designated
member of MCSO’s command staff conducting a pre-determination hearing should apply the
disciplinary matrix and set forth clear guidelines for the grounds on which a deviation is permitted.
The Sheriff shall mandate that the designated member of MCSO’s command staff may not consider the
following as grounds for mitigation or reducing the level of discipline prescribed by the matrix:

       a. his or her personal opinion about the employee’s reputation;
       b. the employee’s past disciplinary history (or lack thereof), except as provided in the
          disciplinary matrix; and
       c. whether others were jointly responsible for the misconduct, except that the MCSO
          disciplinary decision maker may consider the measure of discipline imposed on other
          employees involved to the extent that discipline on others had been previously imposed and
          the conduct was similarly culpable.

MCSO remains in Full and Effective Compliance with Paragraph 227.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 228. The Sheriff or his designee has the authority to rescind, revoke or alter any
disciplinary decision made by either the Commander of the Professional Standards Bureau or the
appointed MCSO disciplinary authority so long as:

       a. that decision does not relate to the Sheriff or his designee;
       b. the Sheriff or his designee provides a thorough written and reasonable explanation for the
          grounds of the decision as to each employee involved;
       c. the written explanation is placed in the employment files of all employees who were affected
          by the decision of the Sheriff or his designee; and
       d. the written explanation is available to the public upon request.




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MCSO remains in Full and Effective Compliance with Paragraph 228.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 229. Whenever an internal affairs investigator or Commander finds evidence of misconduct
indicating apparent criminal conduct by an employee, the Sheriff shall require that the internal affairs
investigator or Commander immediately notify the Commander of the Professional Standards Bureau.
If the administrative misconduct investigation is being conducted by a Supervisor outside of the
Professional Standards Bureau, the Sheriff shall require that the Professional Standards Bureau
immediately take over the administrative investigation. If the evidence of misconduct pertains to
someone who is superior in rank to the Commander of the Professional Standards Bureau and is within
the Commander’s chain of command, the Sheriff shall require the Commander to provide the evidence
directly to what he or she believes is the appropriate prosecuting authority —the Maricopa County
Attorney, the Arizona Attorney General, or the United States Attorney for the District of Arizona —
without notifying those in his or her chain of command who may be the subject of a criminal
investigation.

MCSO remains in Full and Effective Compliance with Paragraph 229.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 230. If a misconduct allegation will be investigated criminally, the Sheriff shall require
that the Professional Standards Bureau not compel an interview of the principal pursuant to Garrity v.
New Jersey, 385 U.S. 493 (1967), until it has first consulted with the criminal investigator and the
relevant prosecuting authority. No other part of the administrative investigation shall be held in
abeyance unless specifically authorized by the Commander of the Professional Standards Bureau in
consultation with the entity conducting the criminal investigation. The Sheriff shall require the
Professional Standards Bureau to document in writing all decisions regarding compelling an interview,
all decisions to hold any aspect of an administrative investigation in abeyance, and all consultations
with the criminal investigator and prosecuting authority.

MCSO remains in Full and Effective Compliance with Paragraph 230.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 231. The Sheriff shall require the Professional Standards Bureau to ensure that
investigators conducting a criminal investigation do not have access to any statements by the principal
that were compelled pursuant to Garrity.



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MCSO remains in Full and Effective Compliance with Paragraph 231.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 232. The Sheriff shall require the Professional Standards Bureau to complete all such
administrative investigations regardless of the outcome of any criminal investigation, including cases
in which the prosecuting agency declines to prosecute or dismisses the criminal case after the initiation
of criminal charges. The Sheriff shall require that all relevant provisions of MCSO policies and
procedures and the operations manual for the Professional Standards Bureau shall remind members
of the Bureau that administrative and criminal cases are held to different standards of proof, that the
elements of a policy violation differ from those of a criminal offense, and that the purposes of the
administrative investigation process differ from those of the criminal investigation process.

MCSO remains in Full and Effective Compliance with Paragraph 232.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 233. If the investigator conducting the criminal investigation decides to close the
investigation without referring it to a prosecuting agency, this decision must be documented in writing
and provided to the Professional Standards Bureau. The Commander of the Professional Standards
Bureau shall separately consider whether to refer the matter to a prosecuting agency and shall
document the decision in writing.

MCSO remains in Full and Effective Compliance with Paragraph 233.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 234. If the investigator conducting the criminal investigation decides to refer the matter to
a prosecuting agency, the Professional Standards Bureau shall review the information provided to the
prosecuting agency to ensure that it is of sufficient quality and completeness. The Commander of the
Professional Standards Bureau shall direct that the investigator conduct add itional investigation when
it appears that there is additional relevant evidence that may improve the reliability or credibility of
the investigation. Such directions shall be documented in writing and included in the investigatory file.

MCSO remains in Full and Effective Compliance with Paragraph 234.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).



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Paragraph 235. If the prosecuting agency declines to prosecute or dismisses the criminal case after
the initiation of criminal charges, the Professional Standards Bureau shall request an explanation for
this decision, which shall be documented in writing and appended to the criminal investigation report.

MCSO remains in Full and Effective Compliance with Paragraph 235.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 236. The Sheriff shall require the Professional Standards Bureau to maintain all criminal
investigation reports and files after they are completed for record -keeping in accordance with
applicable law.

MCSO remains in Full and Effective Compliance with Paragraph 236.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 238. The Sheriff shall require the MCSO to accept all civilian complaints, whether
submitted verbally or in writing; in person, by phone, by mail, or online; by a complainant, someone
acting on the complainant’s behalf, or anonymously; and with or without a signature from the
complainant. MCSO will document all complaints in writing.

MCSO remains in Full and Effective Compliance with Paragraph 238.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 239. In locations clearly visible to members of the public at the reception desk at MCSO
headquarters and at all District stations, the Sheriff and the MCSO will post and maintain permanent
placards clearly and simply describing the civilian complaint process that is visible to the public at all
hours. The placards shall include relevant contact information, including telephone numbers, email
addresses, mailing addresses, and Internet sites. The placards shall be in both English and Spanish.

MCSO remains in Full and Effective Compliance with Paragraph 239.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 240. The Sheriff shall require all deputies to carry complaint forms in their MCSO vehicles.
Upon request, deputies will provide individuals with complaint forms and information about how to
file a complaint, their name and badge number, and the contact information, including telephone

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number and email address, of their immediate supervising offic er. The Sheriff must provide all
supervising officers with telephones. Supervising officers must timely respond to such complaints
registered by civilians.

MCSO asserts full and effective compliance with the requirements of Paragraph 240 in
accordance with Paragraph 13.

MCSO asserts that it has been in compliance with the requirements of Paragraph 240 for at least three
consecutive years. Phase 1 and Phase 2 compliance with Paragraph 240 was first achieved on March
31, 2017. MCSO achieved three consecutive years of Phase 1 and Phase 2 compliance with this
Paragraph on March 30, 2020.

Phase 1 compliance with the requirements of this Paragraph is demonstrated by EA-2 (Patrol Vehicles),
most recently revised on March 16, 2022, GE-4 (Use, Assignment, and Operation of Vehicles), most
recently amended on May 28, 2021, and GJ-24 (Community Relations and Youth Programs), most
recently revised on March 11, 2021.

Phase 2 compliance with the requirements of this Paragraph is demonstrated by the Monitor’s
verification that MCSO maintains adequate supplies of complaint forms for deputies to carry in their
vehicles, as well as deputies’ understanding of their obligation to provide individuals with complaint
forms and information on how to file a complaint. (Monitor’s 24th Quarterly Report (Doc. 2549) at
240.)


Paragraph 241. The Sheriff will ensure that the Professional Standards Bureau facility is easily
accessible to members of the public. There shall be a space available for receiving walk-in visitors
and personnel who can assist the public with filing complaints and/or answer an individual’s questions
about the complaint investigation process.

MCSO remains in Full and Effective Compliance with Paragraph 241.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848 -1).


Paragraph 242. The Sheriff will also make complaint forms widely available at locations around the
County including: the websites of MCSO and Maricopa County government; the lobby of MCSO’s
headquarters; each patrol District; and the Maricopa County government offices. The Sheriff will ask
locations, such as public library branches and the offices and gathering places of community groups,
to make these materials available.

MCSO asserts full and effective compliance with the requirements of Paragraph 242 in
accordance with Paragraph 13.

MCSO asserts that it has been in compliance with the requirements of Paragraph 242 for at least three
consecutive years. Phase 1 and Phase 2 compliance with Paragraph 242 was first achieved on March

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31, 2017. MCSO achieved three consecutive years of Phase 1 and Phase 2 compliance with this
Paragraph on March 30, 2020.

Phase 1 compliance with the requirements of this Paragraph is demonstrated by GJ-24 (Community
Relations and Youth Programs), most recently revised on March 11, 2021.

Phase 2 compliance with the requirements of this Paragraph is demonstrated by MCSO making
complaint forms available, in both English and Spanish, on the MCSO and Maricopa County websites,
as well as MCSO’s maintenance of a list of locations, including public locations, where MCSO attempts
to make the forms available in paper form.


Paragraph 243. The Sheriff shall establish a free, 24-hour hotline for members of the public to make
complaints.

MCSO remains in Full and Effective Compliance with Paragraph 243.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820-1).


Paragraph 244. The Sheriff shall ensure that the MCSO’s complaint form does not contain any
language that could reasonably be construed as discouraging the filing of a complaint, such as
warnings about the potential criminal consequences for filing false complaints.

MCSO remains in Full and Effective Compliance with Paragraph 244.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 245. Within two months of the entry of this Order, complaint forms will be made available,
at a minimum, in English and Spanish. The MCSO will make reasonable efforts to ensure that
complainants who speak other languages (including sign language) and have limited English
proficiency can file complaints in their preferred language. The fact that a complainant does not speak,
read, or write in English, or is deaf or hard of hearing, will not be grounds to decline to accept or
investigate a complaint.

MCSO remains in Full and Effective Compliance with Paragraph 245.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Paragraph 246. In the course of investigating a civilian complaint, the Professional Standards Bureau
will send periodic written updates to the complainant including:

       a. within seven days of receipt of a complaint, the Professional Standards Bureau will send
          non-anonymous complainants a written notice of receipt, including the tracking number
          assigned to the complaint and the name of the investigator assigned. The notice will inform
          the complainant how he or she may contact the Professional Standards Bureau to inquire
          about the status of a complaint;
       b. when the Professional Standards Bureau concludes its investigation, the Bureau will notify
          the complainant that the investigation has been concluded and inform the complainant of
          the Bureau’s findings as soon as is permitted by law; and
       c. in cases where discipline is imposed, the Professional Standards Bureau will notify the
          complainant of the discipline as soon as is permitted by law.

MCSO remains in Full and Effective Compliance with Paragraph 246.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848 -1).


Paragraph 247. Notwithstanding the above written communications, a complainant and/or his or her
representative may contact the Professional Standards Bureau at any time to determine the status of
his or her complaint. The Sheriff shall require the MCSO to update the complainant with the status of
the investigation.

MCSO remains in Full and Effective Compliance with Paragraph 247.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 248. The Professional Standards Bureau will track, as a separate category of complaints,
allegations of biased policing, including allegations that a deputy conducted an investigatory stop or
arrest based on an individual’s demographic category or used a slur based on an individual’s actual
or perceived race, ethnicity, nationality, or immigration status, sex, sexual orientation, or gender
identity. The Professional Standards Bureau will require that complaints of biased policing are
captured and tracked appropriately, even if the complainant does not so label the alleg ation.

MCSO remains in Full and Effective Compliance with Paragraph 248.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 249. The Professional Standards Bureau will track, as a separate category of complaints,
allegations of unlawful investigatory stops, searches, seizures, or arrests.
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MCSO remains in Full and Effective Compliance with Paragraph 249.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 250. The Professional Standards Bureau will conduct regular assessments of the types of
complaints being received to identify and assess potential problematic patterns and trends.

MCSO remains in Full and Effective Compliance with Paragraph 250.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 251. The Sheriff shall require the Professional Standards Bureau to produce a semiannual
public report on misconduct investigations, including, at a minimum, the following:

       a. summary information, which does not name the specific employees involved, about any
          sustained allegations that an employee violated conflict-of-interest rules in conducting or
          reviewing misconduct investigations;
       b. aggregate data on complaints received from the public, broken down by district; rank of
          principal(s); nature of contact (traffic stop, pedestrian stop, call for service, etc.); nature of
          allegation (rudeness, bias-based policing, etc.); complainants’ demographic information;
          complaints received from anonymous complainants or third parties; and principals’
          demographic information;
       c. analysis of whether any increase or decrease in the number of civilian complaints received
          from reporting period to reporting period is attributable to issues in the complaint intake
          process or other factors;
       d. aggregate data on internally-generated misconduct allegations, broken down by similar
          categories as those for civilian complaints;
       e. aggregate data on the processing of misconduct cases, including the number of cases
          assigned to Supervisors outside of the Professional Standards Bureau versus investigators
          in the Professional Standards Bureau; the average and median time from the initiation of
          an investigation to its submission by the investigator to his or her chain of command; the
          average and median time from the submission of the investigation by the investigator to a
          final decision regarding discipline, or other final disposition if no discipline is imposed; the
          number of investigations returned to the original investigator due to conclusions not being
          supported by the evidence; and the number of investigations returned to the original
          investigator to conduct additional investigation;
       f. aggregate data on the outcomes of misconduct investigations, including the number of
          sustained, not sustained, exonerated, and unfounded misconduct complaints; the number of
          misconduct allegations supported by the appropriate standard of proof; the number of
          sustained allegations resulting in a non-disciplinary outcome, coaching, written reprimand,
          suspension, demotion, and termination; the number of cases in which findings were changed
          after a pre-determination hearing, broken down by initial finding and final finding; the

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          number of cases in which discipline was changed after a pre-determination hearing, broken
          down by initial discipline and final discipline; the number of cases in which findings were
          overruled, sustained, or changed by the Maricopa County Law Enforcement Merit System
          Council, broken down by the finding reached by the MCSO and the finding reached by the
          Council; and the number of cases in which discipline was altered by the Council, broken
          down by the discipline imposed by the MCSO and the disciplinary ruling of the Council;
          and similar information on appeals beyond the Council; and
       g. aggregate data on employees with persistent or serious misconduct problems, including the
          number of employees who have been the subject of more than two misconduct investigations
          in the previous 12 months, broken down by serious and minor misconduct; the number of
          employees who have had more than one sustained allegation of minor misconduct in the
          previous 12 months, broken down by the number of sustained allegations; the number of
          employees who have had more than one sustained allegation of serious misconduct in the
          previous 12 months, broken down by the number of sustained allegations; and the number
          of criminal prosecutions of employees, broken down by criminal charge.

MCSO remains in Full and Effective Compliance with Paragraph 251.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764-1).


Paragraph 252. The Sheriff shall require the MCSO to make detailed summaries of completed internal
affairs investigations readily available to the public to the full extent permitted under state law, in
electronic form on a designated section of its website that is linked to directly from the MCSO’s home
page with prominent language that clearly indicates to the public that the link provides information
about investigations of misconduct alleged against MCSO employees.

MCSO remains in Full and Effective Compliance with Paragraph 52.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 253. The MCSO Bureau of Internal Oversight shall produce a semi-annual public audit
report regarding misconduct investigations. This report shall analyze a stratified random sample of
misconduct investigations that were completed during the previous six months to identify any
procedural irregularities, including any instances in which:

       a. complaint notification procedures were not followed;
       b. a misconduct complaint was not assigned a unique identifier;
       c. investigation assignment protocols were not followed, such as serious or criminal
          misconduct being investigated outside of the Professional Standards Bureau;
       d. deadlines were not met;
       e. an investigation was conducted by an employee who had not received required misconduct
          investigation training;

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       f. an investigation was conducted by an employee with a history of multiple sustained
          misconduct allegations, or one sustained allegation of a Category 6 or Category 7 offense
          from the MCSO’s disciplinary matrices;
       g. an investigation was conducted by an employee who was named as a principal or witness
          in any investigation of the underlying incident;
       h. an investigation was conducted of a superior officer within the internal affairs investigator’s
          chain of command;
       i. any interviews were not recorded;
       j. the investigation report was not reviewed by the appropriate personnel;
       k. employees were promoted or received a salary increase while named as a principal in an
          ongoing misconduct investigation absent the required written justification;
       l. a final finding was not reached on a misconduct allegation;
       m. an employee’s disciplinary history was not documented in a disciplinary recommendation;
          or
       n. no written explanation was provided for the imposition of discipline inconsistent with the
          disciplinary matrix.

MCSO remains in Full and Effective Compliance with Paragraph 253.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764-1).


Paragraph 254. The Sheriff shall initiate a testing program designed to assess civilian complaint
Intake. Specifically, the testing program shall assess whether employees are providing civilians
appropriate and accurate information about the complaint process and whether employees are
notifying the Professional Standards Bureau upon the receipt of a civilian complaint.

MCSO remains in Full and Effective Compliance with Paragraph 254.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 255. The testing program is not intended to assess investigations of civilian complaints,
and the MCSO shall design the testing program in such a way that it does not waste resources
investigating fictitious complaints made by testers.

MCSO remains in Full and Effective Compliance with Paragraph 255.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).

Paragraph 256. The testing program shall assess complaint intake for complaints made in person at
MCSO facilities, complaints made telephonically, by mail, and complaints made electronically by email
or through MCSO’s website. Testers shall not interfere with deputies taking law enforcement action.

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Testers shall not attempt to assess complaint intake in the course of traffic stops or other law
enforcement action being taken outside of MCSO facilities.

MCSO remains in Full and Effective Compliance with Paragraph 256.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 257. The testing program shall include sufficient random and targeted testing to assess the
complaint intake process, utilizing surreptitious video and/or audio recording, as permitted by state
law, of testers’ interactions with MCSO personnel to assess the appropriateness of responses and
information provided.

MCSO remains in Full and Effective Compliance with Paragraph 257.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 258. The testing program shall also assess whether employees promptly notify the
Professional Standards Bureau of civilian complaints and provide accurate and complete information
to the Bureau.

MCSO remains in Full and Effective Compliance with Paragraph 258.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 259. MCSO shall not permit current or former employees to serve as testers.

MCSO remains in Full and Effective Compliance with Paragraph 259.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sherriff Penzone’s 31st Quarterly Report (Doc. 2764 -1).


Paragraph 260. The MCSO shall produce an annual report on the testing program. This report shall
include, at a minimum:

       a. a description of the testing program, including the testing methodology and the number of
          tests conducted broken down by type (i.e., in-person, telephonic, mail, and electronic);
       b. the number and proportion of tests in which employees responded inappropriately to a
          tester;


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      c. the number and proportion of tests in which employees provided inaccurate information
         about the complaint process to a tester;
      d. the number and proportion of tests in which employees failed to promptly notify the
         Professional Standards Bureau of the civilian complaint;
      e. the number and proportion of tests in which employees failed to convey accurate
         information about the complaint to the Professional Standards Bureau;
      f. an evaluation of the civilian complaint intake based upon the results of the testing program;
         and
      g. a description of any steps to be taken to improve civilian complaint intake as a result of the
         testing program.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 260.

MCSO has been in compliance with this Paragraph since June 30, 2020.




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Section 13: Community Outreach and Community Advisory Board

Paragraph 261. The Community Advisory Board may conduct or retain a consultant to conduct a
study to identify barriers to the filing of civilian complaints against MCSO personnel.

Phase 1 and Phase 2 compliance are not applicable.


Paragraph 262. In addition to the administrative support provided for in the Supplemental Permanent
Injunction, (Doc. 670 ¶ 117), the Community Advisory Board shall be provided with annual funding to
support its activities, including but not limited to funds for appropriate research, outreach advertising
and website maintenance, stipends for intern support, professional interpretation and transla tion, and
out-of-pocket costs of the Community Advisory Board members for transportation related to their
official responsibilities. The Community Advisory Board shall submit a proposed annual budget to the
Monitor, not to exceed $15,000, and upon approval of the annual budget, the County shall deposit that
amount into an account established by the Community Advisory Board for that purpose. The
Community Advisory Board shall be required to keep detailed records of expenditures which are
subject to review.

Phase 1 and Phase 2 compliance are not applicable.




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Section 14: Supervision and Staffing

Paragraph 264. The Sheriff shall ensure that all patrol deputies shall be assigned to a primary, clearly
identified, first-line supervisor.

MCSO remains in Full and Effective Compliance with Paragraph 264.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 265. First-line patrol supervisors shall be responsible for closely and consistently
supervising all deputies under their primary command.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 26 5.

According to the Monitor’s 28th Quarterly Report, MCSO must attain compliance standards with
several requirements covered in other Paragraphs of the Court’s Orders. The Paragraphs listed by the
Monitor are: Paragraphs 83, 85, 89, 90, 91, 93, and 94. MCSO has been in compliance with Paragraphs
83, 85, 89, 90, 91, 93, and 94 in recent quarters.

MCSO continues to reinforce the necessity for quality and thoroughness in the supervisory reviews of
arrests to maintain compliance with this Paragraph. MCSO has been in compliance with this Paragraph
since September 30, 2021.


Paragraph 266. First-line patrol supervisors shall be assigned as primary supervisor to no more
persons than it is possible to effectively supervise. The Sheriff should seek to establish staffing that
permits a supervisor to oversee no more than eight deputies, but in no event should a supervisor be
responsible for more than ten persons. If the Sheriff determines that assignment complexity, the
geographic size of a district, the volume of calls for service, or other circumstances warrant an increase
or decrease in the level of supervision for any unit, squad, or shift, it shall explain such reasons in
writing, and, during the period that the MCSO is subject to the Monitor, shall provide the Monitor with
such explanations. The Monitor shall provide an assessment to the Court as to whether the reduced or
increased ratio is appropriate in the circumstances indicated.

MCSO remains in Full and Effective Compliance with Paragraph 266.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 267. Supervisors shall be responsible for close and effective supervision of deputies under
their command. Supervisors shall ensure that all deputies under their direct command comply with
MCSO policy, federal, state and local law, and this Court’s orders.

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MCSO is in Phase 1 and Phase 2 compliance with Paragraph 267.

To meet the requirements of this Paragraph, the Monitor requires that MCSO achieve compliance with
Paragraphs 83, 85, 89, 90, 91, 93 and 96. During the third quarter 2021, the Monitor determined that
MCSO complied with the necessary Paragraphs to achieve compliance with this Paragraph. MCSO
hopes that its efforts to train and communicate about these Paragraphs’ requirements and BIO’s internal
review processes will help enable MCSO remain in compliance.


Paragraph 268. During the term that a Monitor oversees the Sheriff and the MCSO in this action, any
transfer of sworn personnel or supervisors in or out of the Professional Standards Bureau, the Bureau
of Internal Oversight, and the Court Implementation Division shall require advanced approval from
the Monitor. Prior to any transfer into any of these components, the MCSO shall provide the Court,
the Monitor, and the parties with advance notice of the transfer and shall produce copies of the
individual’s résumé and disciplinary history. The Court may order the removal of the heads of these
components if doing so is, in the Court’s view, necessary to achieve compliance in a timely manner .

MCSO remains in Full and Effective Compliance with Paragraph 268.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34 th Quarterly Report (Doc. 2848-1).




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Section 15: Document Preservation and Production

Paragraph 269. The Sheriff shall ensure that when the MCSO receives a document preservation
document from a litigant, the MCSO shall promptly communicate that document preservation notice to
all personnel who might possibly have responsive documents.

MCSO is in Phase 1 compliance with Paragraph 269. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

The Monitor’s previous comments on this Paragraph focused on the indexing of files stored in the new
storage system, Qumulo, which MCSO addresses in the discussion of Paragraph 270. The Monitor had
previously deferred compliance of both Paragraphs 269 and 270 because of those issues, but it now
finds MCSO out of Phase 2 compliance.

MCSO has taken every step it can to ensure that its vendor, Open Axes, has the information and
infrastructure it needs to implement the necessary software changes and fixes necessary to ensure
MCSO can fully utilize its software. Because Open Axes does not have the functionality necessary for
the system MCSO envisions, MCSO has begun the process of identifying a new vendor. In the
meantime, however, MCSO’s standard, manual document retention policy ensures compliance with
preservation requests.

As the Monitor’s quarterly report notes (Doc. 2869 at 247-248), LLS provided document retention
notices to relevant custodians, which ensured that all relevant documents were preserved , and MCSO
employees timely returned, the Document preservation Questionnaire. Despite the technology
challenges, MCSO is complying with this Paragraph’s requirements. Because timely document
preservation notices are being provided, MCSO asserts that it is in compliance with Paragraph 269.


Paragraph 270. The Sheriff shall ensure that when the MCSO receives a request for documents in the
course of litigation, it shall:

       a. promptly communicate the document request to all personnel who might possibly be in
          possession of responsive documents;
       b. ensure that all existing electronic files, including email files and data stored on networked
          drives, are sequestered and preserved through a centralized process; and
       c. ensure that a thorough and adequate search for documents is conducted, and that each
          employee who might possibly be in possession of responsive documents conducts a thorough
          and adequate search of all relevant physical and electronic files.

MCSO is in Phase 1 compliance with Paragraph 270. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in Phase 2 compliance.

Because of a transition from legacy hardware, MCSO has been in the process of indexing the files
stored in the new storage array, Qumulo. At this point, the initial indexing of files in Qumulo has been
completed. Now, the system is in the process of refreshing that index. Indexing of files in Qumulo

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was completed at the end of last quarter, and the initial refresh began in April 2022. Open Axes will
continue to refresh moving forward.

Indexing is and has always been an on-going process. When new files are created or old files are
updated, it takes time for the index to update and be searchable through Open Axes. As a result, Open
Axes is and has always been a failsafe to ensure no documents are missed. MCSO is working with the
Open Axes vendor to address some outstanding issues with the search and tagging functions within the
system. Once those issues are resolved, MCSO will re-run all searches for all cases from August 2020
through June 2021.

Even if a document is not indexed and available to Open Axes, MCSO’s standard, manual document
retention policy is sufficiently robust to ensure preservation requests are complied with. LLS provides
document retention notices to relevant custodians even in the absence of an Open Axes search result,
which ensures that all relevant documents are preserved regardless of whether Open Axes located it.
As such, MCSO asserts that it remains in compliance with this Paragraph. The necessary protocols for
document preservation are in place and they are working.

If the Monitor continues to incorporate software matters into its assessment of this Paragraph, MCSO
asks that it be returned to deferred status while a vendor completes the necessary work.


Paragraph 271. Within three months of the effective date of this Order, the Sheriff shall ensure that
the MCSO Compliance Division promulgates detailed protocols for the preservation and production
of documents requested in litigation. Such protocols shall be subject to the approval of the Monitor
after a period of comment by the Parties.

MCSO is in Phase 1 and Phase 2 compliance with Paragraph 271.

MCSO asserts that it has been in compliance with the requirements of Paragraph 271 for at least three
consecutive years. Phase 1 and Phase 2 compliance with Paragraph 271 was first achieved on June 30,
2018. MCSO achieved three consecutive years of Phase 1 and Phase 2 compliance with this Paragraph
on June 29, 2021. In the previous quarter, MCSO asserted Full and Effective Compliance with this
Paragraph. The Monitor did not concur with that assertion because of issue s with Open Axes.
However, as the Monitor noted, MCSO’s manual processes for document preservation and production
are “thorough and in compliance with policy requirements.” Those policies are the protocols required
by this Paragraph, and MCSO has been thorough in its application of those protocols.


Paragraph 272. The Sheriff shall ensure that MCSO policy provides that all employees must comply
with document preservation and production requirements and that violators of this policy shall be
subject to discipline and potentially other sanctions.

MCSO remains in Full and Effective Compliance with Paragraph 272.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 33rd Quarterly Report (Doc. 2820 -1).

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Section 16: Additional Training
MCSO remains in Full and Effective Compliance with the Paragraphs in Section 16, Additional
Training.


Paragraph 273. Within two months of the entry of this Order, the Sheriff shall ensure that all employees
are briefed and presented with the terms of the Order, along with relevant background information
about the Court’s May 13, 2016 Findings of Fact, (Doc. 1677), upon which this Order is based.

MCSO remains in Full and Effective Compliance with Paragraph 273.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 17: Complaints and Misconduct Investigations Relating to Members
of the Plaintiff Class

Paragraph 276. The Monitor shall have the authority to direct and/or approve all aspects of the intake
and investigation of Class Remedial Matters, the assignment of responsibility for such investigations
including, if necessary, assignment to his own Monitor team or to other in dependent sources for
investigation, the preliminary and final investigation of complaints and/or the determination of whether
they should be criminally or administratively investigated, the determination of responsibility and the
imposition of discipline on all matters, and any grievances filed in those matters.

MCSO remains in Full and Effective Compliance with Paragraph 276.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703-1).


Paragraph 278. The Sheriff shall alert the Monitor in writing to all matters that could be considered
Class Remedial Matters, and the Monitor has the authority to independently identify such matters. The
Monitor shall provide an effective level of oversight to provide reasonable assurance that all Class
Remedial Matters come to his attention.

MCSO remains in Full and Effective Compliance with Paragraph 278.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 279. The Monitor shall have complete authority to conduct whatever review, research, and
investigation he deems necessary to determine whether such matters qualify as Class Remedial Matters
and whether the MCSO is dealing with such matters in a thorough, fair, consistent, and unbiased
manner.

MCSO remains in Full and Effective Compliance with Paragraph 279.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 281. Subject to the authority of the Monitor, the Sheriff shall ensure that the MCSO receives
and processes Class Remedial Matters consistent with: (1) the requirements of this Order and the
previous orders of this Court, (2) MCSO policies promulgated pursuant to this Order, and the manner
in which, pursuant to policy, the MCSO handles all other complain ts and disciplinary matters. The
Sheriff will direct that the Professional Standards Bureau and the members of his appointed command
staff arrive at a disciplinary decision in each Class Remedial Matter.


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MCSO is in compliance with Phase 1 of Paragraph 281. Based on the Monitor’s 34th Quarterly
Report, MCSO is not in compliance with Phase 2.

MCSO works closely with the Monitoring Team on CRMs. The Monitoring Team meets with PSB
every two weeks to track the progress of CRMs being investigated, reviewed, and finalized, with each
step of the process requiring approval by the Monitoring Team. MCSO acknowledges that DOJ has
expressed concerns with the investigation of certain CRMs that the Monitoring Team has reviewed.
The Monitoring Team continues to report that investigations involving CRMs are thorough and that
the findings of PSB are supported by the appropriate standard of proof. Despite the Monitoring Team
concurring with the findings of the PSB Commander in CRM cases, MCSO rec ognizes additional
scrutiny of these investigations may be warranted. As a result, and in addition to bi-weekly meetings
already in place, MCSO and the Monitoring Team continue to meet on a quarterly basis to explore
avenues to further ensure credibility assessments are made and documented, appropriate standards of
proof are documented, appropriate employee histories are reviewed and considered, and employee
specific patterns relative to CRMs are assessed and addressed where appropriate. The Monitor’s
evaluation under this Paragraph also considers the timeliness of the investigations’ completion and, as
noted in other sections, MCSO acknowledges that caseloads and the ability to timely close
investigations remain significant issues.


Paragraph 282. The Sheriff and/or his appointee may exercise the authority given pursuant to this
Order to direct and/or resolve such Class Remedial Matters, however, the decisions and directives of
the Sheriff and/or his designee with respect to Class Remedial Matters may be vacated or overridden
in whole or in part by the Monitor. Neither the Sheriff nor the MCSO has any authority, absent further
order of this Court, to countermand any directions or decision of the Monitor with respect to Class
Remedial Matters by grievance, appeal, briefing board, directive, or otherwise .

MCSO remains in Full and Effective Compliance with Paragraph 282.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848-1).


Paragraph 284. The Sheriff and the MCSO shall expeditiously implement the Monitor’s directions,
investigations, hearings, and disciplinary decisions. The Sheriff and the MCSO shall also provide any
necessary facilities or resources without cost to the Monitor to facilitate the Monitor’s directions
and/or investigations.

MCSO remains in Full and Effective Compliance with Paragraph 284.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848 -1).


Paragraph 286. Should the Monitor believe that a matter should be criminally investigated, he shall
follow the procedures set forth in ¶¶ 229–36 above. The Commander of the Professional Standards

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Bureau shall then either confidentially initiate a Professional Standards Bureau criminal investigation
overseen by the Monitor or report the matter directly and confidentially to the appropriate prosecuting
agency. To the extent that the matter may involve the Commander of the Professional Standards
Bureau as a principal, the Monitor shall report the matter directly and confidentially to the appropriate
prosecuting agency. The Monitor shall then coordinate the administrative investigation with the
criminal investigation in the manner set forth in ¶¶ 229–36 above.

MCSO remains in Full and Effective Compliance with Paragraph 286.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 34th Quarterly Report (Doc. 2848 -1).


Paragraph 287. Any persons receiving discipline for any Class Remedial Matters that have been
approved by the Monitor shall maintain any right they may have under Arizona law or MCSO policy
to appeal or grieve that decision with the following alterations:

       a. When minor discipline is imposed, a grievance may be filed with the Sheriff or his designee
          consistent with existing MCSO procedure. Nevertheless, the Sheriff or his designee shall
          immediately transmit the grievance to the Monitor who shall have authority to and shall
          decide the grievance. If, in resolving the grievance, the Monitor changes the disciplinary
          decision in any respect, he shall explain his decision in writing.
       b. Disciplined MCSO employee maintains his or her right to appeal serious discipline to the
          Maricopa County Law Enforcement Merit System Council to the extent the employee has
          such a right. The Council may exercise its normal supervisory authority over discipline
          imposed by the Monitor.

MCSO remains in Full and Effective Compliance with Paragraph 287.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 288. The Monitor’s authority over Class Remedial Matters will cease when both:

       a. The final decision of the Professional Standards Bureau, the Division, or the Sheriff, or his
          designee, on Class Remedial Matters has concurred with the Monitor’s independen t
          decision on the same record at least 95% of the time for a period of three years.
       b. The Court determines that for a period of three continuous years the MCSO has complied
          with the complaint intake procedures set forth in this Order, conducted appropriate internal
          affairs procedures, and adequately investigated and adjudicated all matters that come to
          its attention that should be investigated no matter how ascertained, has done so
          consistently, and has fairly applied its disciplinary policies and matrices with respect to all
          MCSO employees regardless of command level.

Phase 1 is not applicable. MCSO is in Phase 2 compliance with Paragraph 288.

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In the reporting period covered by the Monitor’s most recent quarterly report, the Monitor reviewed
four completed CRM investigations, and none had substantive deficiencies. MCSO continues to strive
to complete CRMs in a manner that complies with the Monitor’s expectations. PSB works with the
Monitor on all pending CRM investigations.


Paragraph 292. To make this assessment, the Monitor is to be given full access to all MCSO internal
affairs investigations or matters that might have been the subject of an internal affairs investigation by
the MCSO. In making and reporting his assessment, the Monitor shall take steps to comply with the
rights of the principals under investigation in compliance with state law. While the Monitor can assess
all internal affairs investigations conducted by the MCSO to evaluate their good faith compliance with
this Order, the Monitor does not have authority to direct or participate in the investigations of or make
any orders as to matters that do not qualify as Cla ss Remedial Matters.

MCSO remains in Full and Effective Compliance with Paragraph 292.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).


Paragraph 300. The following potential misconduct is not sufficiently related to the rights of the
members of the Plaintiff class to justify any independent investigation:

       a. Uninvestigated untruthful statements made to the Court under oath by Chief Deputy
          Sheridan concerning the Montgomery investigation. (Doc. 1677 at ¶ 385).
       b. Uninvestigated untruthful statements made to the Court under oath by Chief Deputy
          Sheridan concerning the existence of the McKessy investigation. (Id. at ¶ 816).
       c. Chief Deputy Sheridan’s untruthful statements to Lieutenant Seagraves made during the
          course of an internal investigation of Detective Mackiewicz to the effect that an
          investigation into the overtime allegations against Detective Mackiewicz had already been
          completed. (Id. at ¶ 823).
       d. Other uninvestigated acts of misconduct of Chief Deputy Sheridan, Captain Bailey,
          Sergeant Tennyson, Detective Zebro, Detective Mackiewicz, or others that occurred during
          the McKessy investigation. (Id. at ¶¶ 766–825).

Phase 1 is not applicable. Phase 2 is deferred.

MCSO’s independent investigator continues to investigate and evaluate the four subsections of this
Paragraph for misconduct. These allegations have been added to MCSO IA2015-0849.


Paragraph 337. Nevertheless, when discipline is imposed by the Independent Disciplinary Authority,
the employee shall maintain his or her appeal rights following the imposition of administrative
discipline as specified by Arizona law and MCSO policy with the following ex ceptions:

       a. When minor discipline is imposed, a grievance may be filed with the Sheriff or his designee

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         consistent with existing MCSO procedure. Nevertheless, the Sheriff or his designee shall
         transmit the grievance to the Monitor who shall have authority to decide the grievance. If
         in resolving the grievance the Monitor changes the disciplinary decision in any respect, he
         shall explain his decision in writing.
      b. A disciplined MCSO employee maintains his or her right to appeal serious discipline to the
         Maricopa County Law Enforcement Merit System Council to the extent the employee has
         such a right. The Council may exercise its normal supervisory authority over discipline
         imposed by the Independent Disciplinary Authority with one caveat. Arizona law allows
         the Council the discretion to vacate discipline if it finds that the MCSO did not make a good
         faith effort to investigate and impose the discipline within 180 days of learning of the
         misconduct. In the case of any of the disciplinary matters considered by the Independent
         Disciplinary Authority, the MCSO will not have made that effort. The delay, in fact, will
         have resulted from MCSO’s bad faith effort to avoid the appropriate imposition of discipline
         on MCSO employees to the detriment of the members of the Plaintiff class. As such, the
         Council’s determination to vacate discipline because it was not timely imposed would only
         serve to compound the harms imposed by the Defendants and to deprive the members of the
         Plaintiff class of the remedies to which they are entitled due to the constitutional violations
         they have suffered at the hands of the Defendants. As is more fully explained above, such a
         determination by the Council would constitute an undue impediment to the remedy that the
         Plaintiff class would have received for the constitutional violations inflicted by the MCSO
         if the MCSO had complied with its original obligations to this Court. In this rare instance,
         therefore, the Council may not explicitly or implicitly exercise its discretion to reduce
         discipline on the basis that the matter was not timely investigated or asserted by the MCSO.
         If the Plaintiff class believes the Council has done so, it may seek the reversal of such
         reduction with this Court pursuant to this Order.

MCSO remains in Full and Effective Compliance with Paragraph 337.

MCSO remains in Full and Effective Compliance with this Paragraph. For additional information,
please see Sheriff Penzone’s 29th Quarterly Report (Doc. 2703 -1).




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Section 18: Third Order Paragraphs
On November 8, 2022, the Court entered a Third Order resolving several competing legal motions filed
by MCSO and the parties. (Doc. 2827). The Court entered the amended version of this Order, the
Amended Third Supplemental Permanent Injunction/Judgment Order (Doc. 2830) (Third Order) on
November 30, 2022. The Third Order contains an additional 20 Paragraphs focused on reducing the
backlog of administrative misconduct investigations. Because the Third Order was entered in this
quarter, MCSO addresses its efforts to date here.


Paragraph 368. Within 14 days from the date of this order, MCSO will calculate and provide the Court
and the parties with the dollar amount required to recruit, hire, train and compensate for one year a
single PSB budgeted sergeant position.

MCSO provided this information to the Court and the parties through a November 11, 2022, filing.
(Doc. 2829.) As such, MCSO has fulfilled the requirements of this Paragraph.


Paragraph 339. MCSO must not reduce the staffing levels at PSB below the minimum investigator
staffing number identified in ¶ 340 while a backlog in investigations remains.

On January 6, 2023, MCSO notified the Court and Parties that it had filled vacant positions and satisfied
the minimum staffing requirements set forth in Paragraph 340. (Defendant Paul Penzone’s Notice of
Compliance with Paragraphs 340-342 of Amended Third Supplemental Permanent Injunction Order,
Doc. 2844.)

The minimum investigator staffing number required by Paragraph 340 is 39. By January 6, 2023, the
total number of investigators working in PSB, excluding criminal investigators, was 41, which included
12 sworn investigators, 12 civilian investigators and 17 detention investigators. (Doc. 2844 at 4.) As
set forth in Mr. Gennaco’s report (Doc. 2790) and in MCSO’s January 6, 2023 court filing, in April
2022, PSB employed 32 investigators, excluding criminal investigators. Those 32 investigators
included 11 sworn investigators, 15 detention investigators, and 6 civilian investigators.

As noted elsewhere in this Report, the total number of investigators within PSB at the end of this quarter
was 40. MCSO was in compliance with the minimum investigator staffing number by the end of this
quarter.


Paragraph 340. Within 60 days from the date of this order, MCSO will fill the seven currently
budgeted, yet vacant, positions at PSB referred to in Mr. Gennaco’s report, through hiring or internal
transfers. (Doc. 2790 at 15.) The staffing referred to by Mr. Gennaco, together with the full staffing
of the vacant positions, is 39 investigators. This is the minimum investigator staffing number. If MCSO
fails to fill any one of the seven vacant budgeted staffing positions with an AZPOST sworn investigator
who is approved by the Monitor within 60 days of the date of this order, MCSO and/or Maricopa
County will pay into a PSB Staffing Fund three times the amount identified by PSB in ¶ 338 above for
each vacancy remaining at the MCSO for budgeted investigators. It shall, thereafter on a monthly

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basis pay into the Staffing Fund three times the amount identified in ¶ 338 above for every month the
number of PSB investigators falls below the minimum investigator staffing number .

On January 6, 2023, MCSO notified the Court that it had filled the positions required by this Paragr aph.
(Doc. 2844.) As of that date, MCSO had hired 10 new civilian investigators, 7 of whom had already
begun their employment. In addition to filling those positions budgeted, yet vacant, positions referred
to in Mr. Gennaco’s report and this Paragraph, PSB has continued to fill other positions within PSB as
they have become open through retirements, resignations, or transfers. (Doc. 2844 at 3-4.)

As described in MCSO’s January 6, 2023, filing with the Court, MCSO is in compliance with the
requirements of Paragraph 340. It timely filled the 7 budgeted yet vacant positions in PSB described
in Mr. Gennaco’s report and exceeded the minimum investigator staffing number.

In December, the Monitoring Team suggested that MCSO seek guidance from the Court regarding
whether detention investigators were included in the 39 minimum number of PSB investigators.
Because MCSO did not see any lack of clarity regarding whether detention investigators in PSB were
included in the 39 minimum required PSB investigators, MCSO did not seek clarification from the
Court. Instead, its January 6, 2023 filing provided notice to the Court and the Parties regarding
MCSO’s understanding of its PSB staffing obligations under the Third Order. Detention investigators
are an integral part of PSB and have been since the entry of the Court’s Second Order, have always
been counted by the Monitor as part of the investigator total, and they were included in MCSO’s
January 6, 2023 Court filing. No party objected to MCSO’s explanation in its January 6, 2023, filing.


Paragraph 341. If MCSO desires to fill the positions with new civilian investigators in lieu of sworn
officers, it may do so to the extent that it is authorized to do so, consistent with state law. Should it fail
to fill any one of the seven vacant positions within 60 days of the date of this order, MCSO and/or
Maricopa County will pay into a PSB Staffing Fund three times the amount identified by PSB in ¶ 338
above for each vacancy remaining at the MCSO for budgeted investigators. It shall, thereafter on a
monthly basis pay into the Staffing Fund three times the amount identified in ¶ 338 above for every
month the number of PSB investigators falls below the minimum staffing number.

See MCSO’s comments to Paragraph 340 and Doc. 2844 regarding its compliance with this requirement
to fill the seven budgeted, yet vacant, positions referred to in Mr. Gennaco’s report.


Paragraph 342. If the MCSO attempts to fill these open positions with a mix of qualified sworn
personnel and civilian investigators, it may do so to the extent that it can, consistent with state law.
Nevertheless, if it fails to fill any one of the seven vacant positions within 60 days, the MCSO and/or
Maricopa County will pay into the PSB Staffing Fund three times the amount identified in ¶ 338 above
for each vacancy remaining. It shall, thereafter on a monthly basis pay three times the amount identified
in ¶ 338 above for every month that the number of PSB investigators falls below the minimum staffing
number.

See MCSO’s comments to Paragraph 340 and Doc. 344 regarding its compliance with this Paragraph
to fill the seven budgeted, yet vacant, positions referred to in Mr. Gennaco’s report.

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Paragraph 343. MCSO is authorized to conduct PSB investigations through app roved private
contractors if it can do so consistent with state law.

PSB continues to utilize contract investigators. Currently, nine contract investigators are conducting
administrative investigations, which brings the total number of investigators to 49.


Paragraph 344. MCSO must demonstrate that it is using overtime and other administrative tools to
increase the personnel hours committed to investigate all types of complaints. MCSO shall report its
use of these tools to the Monitor on a monthly basis.

MCSO continued to utilize overtime to increase personnel hours committed to investigating complaints
and has been providing the reports required by this Paragraph.


Paragraph 345. MCSO and/or Maricopa County shall hereby establish a PSB Staffing Fund, which
shall be a separate account of the MCSO. The amounts set forth in ¶¶ 340-42 shall be paid directly
into this account. The MCSO, however, is only authorized to withdraw funds from this account for the
hiring and payment of PSB investigators or private investigators contracted with PSB who are in
compliance with the requirements of state law. The fund may also be used to hire necessary additional
PSB administrative staff and necessary additional PSB supervisory staff only, and for no other purpose.
MCSO is not permitted to offset the amount of any fine from PSB’s existing budget or use it to subsidize
the number of PSB staff and investigators existing at the time of this Order. MCSO shall provide an
accounting of the PSB Staffing Fund on a monthly basis to the Monitor and the Court. But, if necessary,
MCSO is permitted to augment and/or exceed the salary and incentives normally paid PSB
investigators to hire and/or maintain sufficient investigators, whether sworn or civilian, to reduce the
backlog.

On December 7, 2022, the Maricopa County Board of Supervisors established the PSB Staffing Fund.
Throughout this quarter, the balance of the PSB staffing fund was $0.00.


Paragraph 346. The Court hereby vests the Monitor, Robert Warshaw, with the supplemental
authorities set forth in this Order. The Monitor therefore has immediate authority to oversee all of
MCSO’s complaint intake and routing. The Court hereby vacates any previous order that conflicts
with this Order, including but not limited to ¶ 292 of the Second Order (Doc. 1765). In consultation
with the PSB Commander, the Monitor shall make determinations and establish policy decisions
pertaining to backlog reduction regarding, by way of example, which complaints should be (a)
investigated by PSB; (b) sent to the Districts for investigation or other interventions; or (c) handled
through other methods, to include diversion and/or outsourcing of cases. The Monitor must consult
with the PSB Commander about these policy decisions but maintains independent authority to make
the ultimate decision. The authority granted to the Monitor in this paragraph shall not be applicable
when there is no backlog. If the backlog is eliminated and then arises again while the Defendants are
still subject to monitoring, this authority will be renewed in the Monitor.



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This Paragraph imposes duties on the Monitor, rather than MCSO. As such, MCSO asserts that there
is no compliance metric to measure MCSO under this Paragraph. That said, the PSB Commander
consults with the Monitor regarding issues within the scope of this Paragraph .


Paragraph 347. The Monitor shall revise and/or formalize MCSO’s intake and routing processes. The
Monitor’s authorities shall include, but not be limited to, the power to audit and review decisions made
with respect to individual cases and, if necessary, to change such desig nations. The Sheriff and the
MCSO shall expeditiously implement the Monitor’s directions or decision with respect to intake and
routing, and any other issues raised by the Monitor pertaining to backlog reduction and any other
authority granted the Monitor under the Court’s orders. The Monitor must consult with the PSB
Commander about these processes but maintains independent authority to make the ultimate decision.
The authority granted to the Monitor in this paragraph shall not be applicable when there i s no
backlog. If the backlog is eliminated and then arises again while the Defendants are still subject to
monitoring, this authority will be renewed in the Monitor.

This Paragraph imposes affirmative duties on the Monitor. MCSO implements the Monitor’s decisions
as this Paragraph requires.


Paragraph 348. The Monitor will evaluate PSB’s current investigative practices. The PSB, under the
authority of the Monitor, shall create, and submit for the Monitor’s approval, policies and procedures
that:

       (a) Identify and eliminate unnecessary investigative requirements that may be removed from
           particular classes of cases;
       (b) Provide for the establishment of an investigative plan for each investigation to eliminate
           unnecessary steps for the investigation of the complaint at issue;
       (c) Establish formal internal scheduling expectations and requirements for supervisory
           interventions;
       (d) Establish expectations on the timeline for each step of the review process. The formulated
           expectations will be consistent with the timeline requirements of this Court’s previous
           orders;
       (e) Assess current use of IA Pro as a case management/tracking tool.

In this quarter, MCSO began its work on policies described by this Paragraph.


Paragraph 349. The authority granted to the Monitor in this paragraph shall not be applicable when
there is no backlog. If a backlog is eliminated and then arises again wh ile the Defendants are still
subject to monitoring, this authority will be renewed in the Monitor. Given that the parties have
provided the Monitor with feedback on these issues, the Monitor is directed to consider the input
already articulated by the parties on these issues and determine, at his discretion, to adopt them or not.
The Monitor may choose, but will not be required, to seek additional input from the parties in the
development of the above stated policies. The Monitor shall finalize and submit such policies to the
Court within four months of the date of this order. The parties shall have two weeks thereafter to

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provide the Court with any comments on the Monitor’s final proposed policies. The Court will, if
necessary thereafter, make determinations as to the final policies.

This Paragraph imposes affirmative duties on the Monitor, rather than MCSO.


Paragraph 350. The Monitor will assess MCSO’s compliance with the investigative requirements of
this order and shall determine whether training on investigative planning and supervision is needed
and implement such training.

MCSO believes that the Monitor’s assessment under this Paragraph will overlap with other Paragraphs
of the Court’s Orders. As the Monitor has consistently noted, PSB investigators conduct high quality
investigations. Changes to investigative planning will be implemented as required by policy changes
adopted pursuant to this Order.


Paragraph 351. The Monitor has the authority to make recommendations to the Court concerning the
revision of the Court’s orders as it pertains to the investigation of complaints where, in its opinion,
such revisions would increase efficiency without impinging on investigations necessary to the operation
of a fair and unbiased law enforcement agency.

This Paragraph imposes affirmative duties on the Monitor, rather than MCSO.


Paragraph 352. The Monitor may intervene in the course of any investigation for the purpose of
facilitating the appropriate operation of the PSB and/or the reduction of the backlog, if he deems it
appropriate, and will document his actions in a quarterly report to be submitted to the Court. The
authority granted to the Monitor in this paragraph shall not be applicable when there is no backlog. If
the backlog is eliminated and then arises again while the Defendants are still subject to monitoring,
this authority will be renewed in the Monitor.

This Paragraph expands the Monitor’s authority. As noted in the Monitor’s quarterly report regarding
the Third Order, the Monitor did not use this authority during this reporting period.


Paragraph 353. The Monitor shall recommend to the Court adjustments in the investigations of the
following categories of cases according to the following procedure:

MCSO shall, upon the approval of the Monitor:

       (a) Create, formalize, and implement a policy regarding whether investigations are necessary
           when the complaint was submitted to the MCSO more than a year after the last instance of
           the underlying alleged misconduct reported, or when the MCSO employee involved left
           MCSO’s employ prior to the filing of the complaint.



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       (b) Create, formalize, and implement a policy regarding when investigations are necessary if
           the initial complainant is unwilling or unable to cooperate, or if the initial complainant is
           anonymous.

       (c) Create, formalize, and implement a policy regarding when MCSO may investigate health
           related in-custody jail deaths by County medical staff.

       (d) Create, formalize, and implement a policy regarding when an entity other than PSB may
           investigate internal allegations emanating from workplace relationships.

       (e) Create, formalize, and implement a policy regarding when, in cases in which external
           evidence establishes a violation, the PSB Commander has the discretion to offer principals
           a mitigated penalty if they accept responsibility. The mitigated penalty shall be no lower
           than the minimum discipline within the applicable discipline matrix range for the charged
           offenses.

       (f) Create, formalize, and implement a policy regarding when the PSB commander is authorized
            to handle the alleged minor misconduct through supervisory intervention in lieu of
            investigation. MCSO shall submit to the Monitor within 15 days, a list of the minor
            misconduct within the GC-17 (Disciplinary Matrix) which it deems should be considered by
            the Monitor to be handled as a supervisory intervention. MCSO’s list shall exclude
            allegations concerning the Plaintiff class and allegations of bias.

In proposing such policies to the Monitor, the MCSO shall fully and openly consult with the other
parties to this litigation. All parties shall move expeditiously to formulate, consult with, and approve
these policies MCSO and the parties shall complete and submit to the Monitor for approval all such
proposed policies within three months of this order. As to those issues on which the parties cannot
obtain consensus, they shall each submit their proposals to the Monitor. The Monitor shall then,
promptly present to the Court the final proposed policies he deems best. The parties will have two
weeks thereafter to provide the Court with any comments on the Monitor’s final proposed policies. The
Court will, thereafter, make determinations as to the final policies.

During this quarter, MCSO worked to develop policies described in this Paragraph in consultation with
the parties and the Monitor.


Paragraph 354. To the extent that the policies require implementation plans or address deadlines, the
Court shall approve these after they are submitted by the Monitor.

This Paragraph does not impose an affirmative responsibility on MCSO.


Paragraph 355. The Monitor and the PSB shall review the cases in the current backlog that are eligible
to be diverted from PSB investigations by ¶ 353 of this order. It is the expectation of the Court that the
diverted cases shall reduce the current backlog.


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Once the policies are approved by the Court, MCSO will work with the Monitor to conduct the review
envisioned by this Paragraph.


Paragraph 356. Within five business days of the elimination of these cases from the backlog, the
Monitor shall certify to the parties and the Court the number of administrative investigations remaining
in the backlog that are open and have not been completed within the time limits required by the Court.
At the beginning of each month, the number of open cases whose investigations have e xceeded the time
by which Doc. 1765 ¶ 204 required that they be completed shall be the remaining backlog. This
backlog shall not include any cases for which the Monitor has granted an extension of the investigative
deadline pursuant to ¶ 365 of this Order.

The process that this Paragraph requires will be completed after relevant policies are approved and the
process described in Paragraph 355 is completed.


Paragraph 357. The cases in this remaining backlog should be identified by year, giving priority to
the oldest cases, i.e., the cases that were filed first. The expectation should be to address the oldest
cases first, without ignoring the continuing caseload. For each month in which the PSB cannot reduce
the remaining backlog by 20 cases from the previous month’s number, the MCSO and/or Maricopa
County shall pay into the PSB Staffing Fund two times the amount identified in ¶ 338 above.

The process described in this Paragraph applies after the processes described in Paragraphs 355 and
356 are completed.


Paragraph 358. Maricopa County has requested that the Court relax its investigative timeline to be
consistent with state law. The Court shall only consider doing so, when significant progress is made
towards the reduction of the backlog.

MCSO continues to work to reduce the backlog.


Paragraph 359. The MCSO and/or Maricopa County shall pay all reasonable costs of the Monitor,
consistent with ¶ 123 of the Supplemental Permanent Injunction. The Monitor is free from any liability
for such matters as set forth in ¶ 144 of the Supplemental Permanent Injunction.

This Paragraph adds no new compliance criteria, but only reiterates the provisions of other Paragraphs.
As such, there is no compliance assessment to be made under this Paragraph.


Paragraph 360. The Monitor shall submit a quarterly progress report to the Court and parties
describing the rationale for each type of investigative diversion approved, the result of each diversion
type, the backlog tally, the number of completed cases, unresolved issues, and further actions required
to address the backlog and staffing levels at PSB.


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This Paragraph imposes a duty on the Monitor, rather than MCSO.


Paragraph 361. Under the direction of the Court, MCSO shall commission an independent study to
determine: (1) the most efficient way for MCSO to allocate its personnel in light of existing authorized
staffing levels, the requirements and expectations of its served communities, the requirements of this
Court’s Orders, the timely elimination of the existing backlog of PSB investigations, and state law; (2)
the necessary staffing level for MCSO to fulfill these obligations regardless of the existing staffing
level; and (3) the PSB staffing level required to maintain the timely completion of PSB investigations
in compliance with the Orders of this Court and state law. MCSO shall (1) provide a draft Request for
Proposals to the Court, the Monitor, and the parties; (2) disclose credible bids to the Court, the
Monitor, and the parties; and (3) obtain Court approval of the methodology for the study. MCSO must
ensure that the study is completed within one year of the entry of this Order.

In the third quarter of 2022, Maricopa County contracted with the Center for Public Safety
Management, LLC (“CPSM”), to conduct a staffing study related to MCSO’s allocation of sworn
deputies and related resources. After the Court issued the Third Order, Maricopa County worked with
CPSM to modify the scope of work of the original study to more specifically address the requirements
of this Paragraph. CPSM’s work continues and is on track to be completed by the deadline set in this
Paragraph.


Paragraph 362. The Court is aware that the MCSO has already engaged a consultant to undertake a
similar evaluation. Nevertheless, while the Court will consider both the qualifications of the consultant
already hired by MCSO and the outcome of that study, the work of that consultant must comply with
the Court’s requirements, supra and will not be deemed to satisfy the terms of this Order absent the
approval of this Court. If MCSO wishes to obtain Court approval of the consultant it has already hired,
it must, as a prerequisite, provide the contracting documents to the Court, the Monitor, and the parties
within five business days of the entry of this Order; and it must submit the consultant’s draft
methodology to the Court, the Monitor, and the parties within 30 days of the entry of this Order.

As noted, Maricopa County coordinated with CPSM to expand its original scope of work to include
specific focus on the provisions of Paragraph 361. MCSO complied with the requirements in this
Paragraph to submit the consultant’s contracting documents (Doc. 2828) and the methodology (Doc.
2832).


Paragraph 363. MCSO is required to provide access to personnel, documents, and facilities as
mandated by ¶ 145 of Doc. 606 so that the Monitor can perform his newly expanded duties.

MCSO has been providing the Monitor access as required by this Paragraph.


Paragraph 364. To keep the parties and the Court informed, the MCSO shall report monthly on the
size of the backlog to the Monitor, the parties, and the Court. The Monitor’s quarterly progress report
will further assess the status of the backlog.

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MCSO began its monthly reporting of the backlog in the first quarter of 2023. The backlog number on
December 31, 2022, was 2,074 (Doc. 2868).


Paragraph 365. The authority for MCSO to grant itself extensions in investigation deadlines granted
in ¶ 204 of Doc. 1765 is revoked. The Monitor shall be authorized to grant reasonable extensions upon
reviewing requests submitted to him by the Sheriff.

MCSO developed procedures so that the process for requesting extensions complies with this
Paragraph.


Paragraph 366. At any time after the Monitor’s submittal of its second quarterly progress report, the
Court may revisit the contents of this order and make any changes it deems appropriate.

This Paragraph does not impose a duty on MCSO.


Paragraph 367. Should the Sheriff perceive any conflict between this order and the requirements of
state law, the Sheriff shall immediately raise the potential conflict with the Court by motion.

At this time, MCSO perceives no conflicts.


Paragraph 368. MCSO will continue to pay into the PSB Staffing Fund pursuant to ¶ 357 until MCSO
reports for twelve continuous months that it has no open investigations that have exceeded the time by
which Doc. 1765 ¶ 204 required that they be completed. At that time, MCSO may petition the Court to
dissolve the PSB Staffing Fund.

This Paragraph imposes no obligation on MCSO for this quarter.




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Section 19: Conclusion
This Report covers the fourth quarter of 2022 (October 1, 2022 – December 31, 2022) and highlights
MCSO’s compliance efforts and achievements during this specific rating period.

The backlog of administrative investigations, the timeline to complete administrative investigations,
and PSB staffing continue to be a significant issue, as reflected in this Court’s Third Order. PSB
continues to work to address those issues and comply with all relevant Court’s Orders.

The TSMR pilot concluded this quarter, and MCSO continues its monthly evaluations of traffic stop
data for Deputies and appropriate interventions outside of the pilot program.

In this Report, MCSO asserted Full and Effective Compliance with 4 additional Paragraphs of the
Court’s Orders. Should the Monitor agree with these assertions, MCSO will have achieved Full and
Effective Compliance with a total of 156 Paragraphs. These compliance achievements demonstrate
MCSO’s consistency and dedication.




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                                               APPENDIX 1

          MCSO Training Division CORT Unit CPP Projects and Classes Reference Guide


Table 1: CORT Training Classes and Briefings Created Annually
                          Governing Court Order      Intended Students and
       Class Title                                                                 Important Considerations
                          ¶’s and Topics Covered              Use
                                                                                   Bias-Free Policing has been
                                                                                   bifurcated in recent years
                        ¶48 & 49 - 6 hours of                                      to alternate and cover
                        training – Topics to         Continuing Education for      each sub-paragraph every
 Annual Combined
                        include Implicit Bias,       All Sworn Deputies and        other year to allow for
 Training (ACT)
                        Racial Profiling,            Supervisors, Reserve          more time to teach on
 Implicit Bias
                        Procedural Justice,          Deputies, DSA’s and Posse     topics in their assigned
                        Community Policing etc.                                    year. Bi-furcation of LP
                                                                                   was approved for
                                                                                   deployment in 2022.
                                                                                   Search and Seizure case
                                                     Continuing Education for
                        ¶50 & 51 – 4 hours of                                      law is fairly consistent year
                                                     All Sworn Deputies and
 Annual Combined        training – Topics to                                       to year, therefore content
                                                     Supervisors, Reserve
 Training (ACT) 4th and include search and seizure                                 does not change
                                                     Deputies, DSA’s and
 14th Amendment         of persons, equal                                          drastically, but new
                                                     Posse. This class is always
                        protection clause etc.                                     learning activities are
                                                     taught by an attorney.
                                                                                   incorporated.
                                                                                   SRELE has been bifurcated
                                                                                   in recent years to alternate
                        ¶52 & 53 – 4 hours of
                                                                                   and cover each sub-
 Supervisor             training – Topics to
                                                                                   paragraph every other year
 Responsibilities for   include supervision tools,   Continuing Education for
                                                                                   to allow for more time to
 Effective Law          review of written reports,   All Sworn Supervisors
                                                                                   teach on topics in their
 Enforcement (SRELE)    community partnerships
                                                                                   assigned year. Bi-furcation
                        etc.
                                                                                   of LP was approved for
                                                                                   deployment in 2020.
                                                     Continuing Education for
                        ¶179 – 8 hours of training                                 Non-PSB Supervisors
                                                     All Sworn Supervisors and
                        – Topics to include                                        attend this course annually
 PSB 8 External                                      anyone who conducts
                        conducting misconduct                                      after attending the PSB-40
                                                     misconduct investigations
                        investigations.                                            the first year.
                                                     for the Office.

                                                                                   This course is limited to
                        ¶179 – 8 hours of training
                                                     Continuing Education for      current PSB assigned
                        – Topics to include
 PSB 8 Internal                                      All personnel assigned to     investigators. The class is
                        conducting misconduct
                                                     PSB.                          vendor driven with a
                        investigations.
                                                                                   specific topic focus.



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                         Policy CP-8 Reminders                                       Briefing that covers the
 CP-8 Semi Annual        regarding MCSO’s Policy      Continuing Education for       entire policy but has a
 Briefing                regarding Bias-Free          all Office personnel           focus on a particular sub-
                         policing                                                    section for a deeper dive.



Table 2: CORT Classes Requiring Annual Updates
                         Governing Court Order         Intended Students and
       Class Title                                                                   Important Considerations
                         ¶’s and Topics Covered                 Use
                        ¶80 MCSO Supervisors
                                                      This is initial training for
                        shall be trained in and
                                                      NEW Supervisors. This
                        required to use EIS to
                                                      class is used during the       This is teaching for newly
                        ensure that each
                                                      80-hour Supervisor             promoted individuals only
 EIS for Supervisors    Supervisor has a
                                                      orientation and is             and covers the basics of
                        complete and current
                                                      foundational for teaching      the systems.
                        understanding of the
                                                      new Supervisors how to
                        employees under the
                                                      use Blue Team and EI Pro.
                        Supervisor’s command.
                        This class provides an       This is an introductory
                        overview of Blue Team        class provided to all newly
 Blue Team
                        and its application to       hired civilian and
 1 Hour
                        civilian and detention       detention staff as part of
                        staff.                       orientation training.
                        This class provides an       This is an introductory
                        overview of Blue Team        class for all Sworn
 Blue Team
                        and its application to       Deputies and DSA’s, post
 2 Hour
                        Sworn staff from the end     academy graduation and
                        user perspective.            prior to going on patrol.
                                                     This is an initial
                         This class provides an
                                                     introductory class for all
                         overview of TraCS and its
                                                     Sworn Deputies and DSA’s
 TraCS                   applications, MCSO
                                                     post academy graduation
                         Policies, and practical use
                                                     and prior to going on
                         to Sworn staff.
                                                     patrol.
                         This class focuses on the
                         different responsibilities This class is for Newly
 TraCS for Supervisors
                         and access from a           promoted Supervisors.
                         supervisory level.
                                                     This is for all new
 Complaint Intake        ¶181 & 182
                                                     employees of the Office.
                                                     This initial class is for all
                         ¶48 & 49 – 12 hours of
                                                     Sworn Deputies and DSAs         This lesson plan was
                         training - Topics to
 Implicit Bias                                       to attend after academy         revised and approved in
                         include Implicit Bias
 12 Hour                                             graduation and prior to         2022, to include the History
                         Racial Profiling,
                                                     going on patrol, as well as     of Melendres video.
                         Community Policing etc.
                                                     all new Posse members


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                     Governing Court Order        Intended Students and
      Class Title                                                                Important Considerations
                     ¶’s and Topics Covered                    Use
                                                 This initial class is for all
                                                 Sworn Deputies and DSAs
                     ¶50 & 51 – 8 hours of
                                                 to attend after academy
                     training – Topics to
4th and 14th                                     graduation and prior to
                     include search and
8 hours                                          going on patrol, as well as
                     seizure of persons, equal
                                                 all new Posse members
                     protection clause etc.
                                                 This class is taught by an
                                                 attorney.
                     ¶178 This class covers
                                                 This class is for newly
                     conducting misconduct
PSB                                              promoted Supervisors and
                     related investigations,
40 Hour                                          anyone who will be
                     service Complaints,
                                                 conducting investigations.
                     findings, etc.
                                                 This initial class is for
                     ¶98 This class focuses on   newly promoted
                     MCSO Policy GC-4 and        Supervisors who may
                     the performance             supervise Detention or
EPA
                     evaluations, discussions,   Civilian staff regarding
                     and systems related to      properly completing EPAs
                     Performance Appraisals.     for these employee
                                                 classifications.
                     Founded on MCSO Policy
                                                 This initial class is for
Effective Employee   GC-4(S) Employee
                                                 newly promoted Sworn
Performance (EEPM)   Performance
                                                 Supervisors.
                     Management.
                                                 This class is for all Sworn
                     It focuses on the           Deputies and DSA’s to
Body Worn Camera     operations and policies     attend after academy
                     related to BWC.             graduation and prior to
                                                 going on patrol.




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Table 3: CPP Related Training Requirements
                          Governing Court Order         Intended Students and
       Class Title                                                                    Important Considerations
                          ¶’s and Topics Covered                 Use
                                                       This is continuing
                                                       education for all Sworn
                                                       employees and reserves.
                                                       At the time of
                                                                                      The content in this series of
                                                       deployment, it will be
                                                                                      classes is demonstrably
 Enhanced Implicit                                     assigned to everyone’s
                           ¶70 The CPP is the Office                                  different from other MCSO
 Bias & Cultural                                       HUB profile. Additionally,
                           response to disparate                                      offerings and is driven by
 Competency Training                                   as classes are created for
                           outcomes in the TSAR                                       what the communities’
                                                       particular communities
                           Report                                                     experience and what the
 Goals 3 & 5                                           anytime an employee is
                                                                                      community wants us to
                                                       assigned to that area past
                                                                                      know.
                                                       classes can be added to
                                                       their profile to increase
                                                       awareness of the areas
                                                       they serve.
                                                       The video library is a
                                                       curation of videos and
                                                       discussion points available
                                                       to Supervisors for use in
                                                       training scenarios and         These are not Training
                                                       TSMR interventions.            Classes or HUB
 Video Library             ¶70 The CPP is the Office
                                                                                      presentations. They are
 Submissions               response to disparate
                                                       As of end of 2022 the          simply being added to be a
                           outcomes in the TSAR
                                                       video library includes         resource for Supervisor
 Goals 3, 4, 5             Report
                                                       videos in the following        lead interventions and
                                                       categories:                    discussions.
                                                       ▪ CP-8 – 3 Videos
                                                       ▪ Cultural Competency – 8
                                                       ▪ FIDM – 12
                                                       ▪ Implicit Bias – 16
                                                                                      This is not a HUB training
                                                       A roll call briefing will be
                                                                                      class and is time sensitive.
                                                       conducted in each third of
                                                                                      These briefings are usually
                                                       the year to coincide with
                                                                                      a short video and
                                                       either Goal 3, 4, or 5
                                                                                      Supervisor lead discussion
 Roll Call Briefing with   ¶70 The CPP is the Office   covering each topic once
                                                                                      points that must fit within
 Discussion Points         response to disparate       throughout the year. To
                                                                                      approx. a 15-minute pre-
                           outcomes in the TSAR        be given to all Sworn,
                                                                                      shift briefing. They serve
 Goals 3, 4, 5             Report                      Reserves, DSAs by a
                                                                                      as continuing education
                                                       Supervisor and document
                                                                                      and as continuous
                                                       in Blue Team with the
                                                                                      reminders of MCSO’s
                                                       Notes - CPP Briefing
                                                                                      commitment to CPP Goals
                                                       Allegation.
                                                                                      3, 4, and 5.


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        Figure 1: Annual Training for all Sworn Deputies
                                                   (13.50 Hours)




                                                                              ACT - 4th & 14th
                                                                               Amendment
                                                                                    4.00
                                                                                    29%
                       ACT - Implicit Bias
                              6.00                                                                                CPP Roll Call
                                                                                                                   Briefing -
                              44%
                                                                                                                  Implicit Bias
                                                                                                                      0.25
                                                                                                                       2%



                                                                                                                  CPP Captain's
                                                                                                                    Briefing -
                                                                                                                   Implicit Bias
                                                             CPP Enhanced                                             0.25
                                                             Implicit Bias &                                           2%
                                                          Cultural Competency
                                                              (Community
                                                                Focused)
                                                                                                           CPP Roll Call Briefing
                                                                   1.50
                                                                                                             - Fair & Impartial
                                                                   11%
CP-8 Annual Briefing                                                                                         Decision-Making
  (Sheriff Video)                                                                                                   0.25
       0.25                                                                                                          2%
        2%                    CP-8 Semi Annual
                              Briefing (Training        CPP Captain's          CPP Roll Call
                                  Division)           Briefing - Cultural   Briefing - Cultural CPP Captain's Briefing - Fair &
                                     0.25                Comptency              Comptency        Impartial Decision-Making
                                      2%                     0.25                  0.25                     0.25
                                                              2%                    2%                       2%




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            Figure 2: Annual Training for all Sworn Supervisors
                                             (27.50 Hours)
                                                                                          CPP Roll Call Briefing -
                                                                                               Implicit Bias
                                                                                                   0.25
                                                                                                    1%
                                                                                                               CPP Captain's
   CP-8 Annual Briefing                                                                                          Briefing -
      (Sheriff Video)                                                                                           Implicit Bias
           0.25                                                                                                    0.25
            1%                                                                                                      1%
                                                     ACT - 4th & 14th
                                                      Amendment
                                                           4.00                                      CPP Roll Call Briefing
                                                           14%                                         - Fair & Impartial
  CP-8 Semi                                                                                            Decision-Making
Annual Briefing               ACT - Implicit Bias                                                             0.25
   (Training                         6.00                                                                      1%
   Division)                         22%
      0.25
      1%



                                                              PSB 8
                                                              8.00
                                                              29%
                                     SRELE
                                     6.00
CPP Enhanced                          22%
Implicit Bias &
   Cultural
 Competency
 (Community
   Focused)
     1.50
      5%



                                                                                                    CPP Captain's Briefing -
                                                                                                   Fair & Impartial Decision-
                          CPP Captain's Briefing -    CPP Roll Call Briefing - Cultural
                                                                                                            Making
                           Cultural Comptency                   Comptency
                                                                                                             0.25
                                   0.25                             0.25
                                                                                                              1%
                                    1%                               1%




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            Figure 3: Initial Trainings for New Hired
                         Sworn Deputies
                                              (38.00 Hours)




                                                               ACT - 4th & 14th
                                                                Amendment
                                                                     8.00
                        ACT - Implicit Bias                          21%
                              12.00
                               32%



                                                                           TraCS
                                                                           8.00
                                                                            21%

    Complaint Intake                    Body Worn
      & Reception                         Camera               Blue
         2.00                                                  Team
                                           6.00
          5%                                                   2.00
                                           16%
                                                                5%




                       Figure 4: Initial Trainings for New
                               Sworn Supervisors
                                               (74.00 Hours)

                                                   EIS for
                                                 Supervisors
                                                                    EEPM
                                                    8.00            8.00
                                                    11%              11%

                                                                                   EPA
                                                                                   8.00
                                                                                   11%



                                                                                           TraCS for
                                                                                          Supervisors
                                                                                             4.00
                                              PSB 40                                          5%
                                                                           SRELE
                                              40.00
                                                                           6.00
                                               54%
                                                                            8%




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                                             APPENDIX 2

                                         Traffic Stop Studies

The following traffic stop studies have been completed to comply with the Court’s Orders. All are
available to the public on the MCSO/BIO website at TRAFFIC STOP REPORTS | mcso-bio
(mcsobio.org).

Traffic Stop Annual Reports (TSAR)

These annual reports provide an agency-wide analysis of disparate outcomes based on race and ethnicity
in traffic stops. The analysis is conducted by an outside consultant using MCSO traffic stop data.

Traffic Stop Quarterly Reports (TSQR)

These quarterly reports focus on specific issues that often relate to issues identified in a TSAR. Topics
and the related methodologies are approved by the Monitor, following review and input by all Parties.

   •   TSQR 1 (May 2020) – Supervisor Review Findings and Recommendations
   •   TSQR 2 (September 2020) – Supervisor Survey of TSAR 3 Intervention
   •   TSQR 3 (March 2021) – Extended Traffic Stop Indicator Use
   •   TSQR 4 (June 2021) – Long Non-Extended Traffic Stops
   •   TSQR 5 (October 2021) – District Analysis
   •   TSQR 6 (March 2022) − 2020 Citations and Warnings
   •   TSQR 7 (June 2022) – 2019-2021 Arrest Activity
   •   TSQR 8 (September 2022) – Disparities Over Time
   •   TSQR 9 (December 2022) – Special Assignments

Traffic Stop Monthly Reports (TSMR)

These reports are monthly statistical analyses of traffic stop outcomes and driver race and ethnicity. A
more detailed review of traffic stops of selected Deputies is conducted. Where appropriate, interventions
with Deputies are conducted. This is a non-disciplinary process that is part of the Early Identification
System. The TSMR began as a pilot in April 2021 and beginning in the fourth quarter 2022 continues a
routine monthly process within MCSO.




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